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                EXHIBIT A
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                                                                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                                                               September 12, 2018 Quarterly Issue Tracker - TPA Final Audit Findings (Major Non-Conformities)

                                                                                                                                                                                                                                                                              Status of Corrective
    Row                    Location Name                                                                                                                                                                                                                                         & Preventive
   Number                   (Audit Date)                            ECP Section                                                      Final Audit Finding                                                      Corrective & Preventive Action Plan                                 Action Plan
     1.                    MS Amsterdam                          ECP Section VIII.B.1                  On January 6, 2018, while anchored near Grand Cayman Island and while             Root Cause Analysis indicated on the morning of January 6, 2018 an issue            Complete
                            (01.04.2018)                                                               the ECP Auditors were onboard, approximately 3 liters of oil accidentally         with the cooler was identified, requiring a replacement of the cooler unit
                                                                                                       discharged into the sea via a tender boat when the tender was taken on a test     with a new OEM part retained onboard the vessel. The item was correctly
                                                                                                       run. During the test run, the internal seals of the new cooler failed to allow    fitted as per OEM guidelines, however, due to the boat requiring to be
                                                                                                       oil to leak into the cooling water and subsequently discharge over the side.      waterborne for the test, could not be tested prior to launch. Upon startup of
                                                                                                       The tender was stopped and returned to the vessel.                                the engine, the leak was identified, and the boat was removed from the water
                                                                                                                                                                                         to prevent any further leakage. Due to the seal being internal, it was not
                                                                                                                                                                                         possible for the vessel to foresee this incident. The tender was immediately
                                                                                                                                                                                         returned to the blocks and hoisted back on board. The sheen rapidly
                                                                                                                                                                                         dissipated due to high winds and no cleanup actions were possible. An
                                                                                                                                                                                         inspection determined that approximately three liters of biodegradable oil
                                                                                                                                                                                         were lost overboard. The internal seals in the new gearbox cooler had failed
                                                                                                                                                                                         and the oil was discharged into the sea along with the cooling water of the
                                                                                                                                                                                         engine.
        2.                 MS Amsterdam                          ECP Section VIII.B.1                  The ship’s incinerator is out of operation due to requiring replacement parts     Root Cause Analysis indicated thermal overloads are not designated as               Complete
                            (01.04.2018)                                                               to Equipment Issue befitted. Waste is being stored in the garbage room and        critical spare parts. The Company retained a reputable third party, DNV-
                                                                                                       the marshaling area as there is no available space in the cold room to store      GL, to facilitate the determination the designation of “critical spares.” A
                                                                                                       any waste. The ship only has nine cubic meters of cold storage space and no       cross-brand working group worked together with DNV-GL over a matter of
                                                                                                       designed storage space outside of the garbage room. Solid waste offloads are      several months to complete the review. The thermal overload that failed on
                                                                                                       being conducted but the garbage builds up rapidly when the incinerator is         the Amsterdam was not included in the critical spares listed because (i) it
                                                                                                       not functioning. The current estimated time to repair and re-commissioning        was determined not to be included in the normal preventive, predictive or
                                                                                                       of the incinerator is unknown.                                                    corrective maintenance to promote the reliability of the equipment; and (ii)
                                                                                                                                                                                         the part does not have sufficiently high and predictable demand rate to be
                                                                                                                                                                                         suitable for carriage as an onboard spare. Spare parts for Incinerator to be
                                                                                                                                                                                         replenished and repairs to be made. Technical to review incinerator failures
                                                                                                                                                                                         fleet wide to determine appropriate quantity of spare parts based on failure
                                                                                                                                                                                         rates.
        3.                 MS Amsterdam                          ECP Section VIII.B.1                  While alongside in Benoa, Indonesia, a shell door was opened to check the         Root Cause Analysis indicated that during the maintenance job on the                Complete
                            (01.04.2018)                                                               operation of the tender platform. A small amount (less than five milliliters)     hydraulic hoses oil spilled into the gutter of the recess. Due to the restrictive
                                                                                                       of biodegradable hydraulic oil dripped into the water in violation of             location and design of the arrangements the oil was not seen and thus not
                                                                                                       MARPOL Annex I. A very small sheen was observed but dissipated quickly            cleaned up at the time of the maintenance. The ship reviewed maintenance
                                                                                                       and was unrecoverable. It was assessed that during maintenance on the             procedures for hydraulic hoses in the area to prevent recurrence.
                                                                                                       hydraulic hoses some oil spilled into the gutter of the recess and, due to the
                                                                                                       restrictive location and design of the arrangements, the oil was not seen and
                                                                                                       thus not cleaned up at the time.
        4.                 MS Amsterdam                          ECP Section VIII.B.1                  On or about December 21, 2017, the Engineering department had dismantled          The incident is under investigation by RAAS. The report is forthcoming. The         Complete - Pending
                            (01.04.2018)                                                               the turbocharger to diesel generator #5. Several parts were placed in a plastic   Director of HESS-MS will close this finding when the report is issued. The          Verification
                                                                                                       bag with fresh water to soak for further cleaning. Later those parts were         Investigation ongoing and Root Causes Analysis will follow.
                                                                                                       removed from the bag and the contaminated water place in a 55-gallon drum
                                                                                                       for disposal ashore. On December 22nd, the Staff Chief Engineer discovered
                                                                                                       a crewmember (Wiper: Hernawan Adi Tama) emptying the water from the
                                                                                                       drum into a sink using a bucket. The Staff Chief stopped the crewmember at

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                                                                                                       once. It was determined that 3 buckets of containment water had been
                                                                                                       disposed of down the sink drain leading to the grey water system.
        5.                   Sun Princess                      ECP Section VIII.B.2.g                  Deck cleaning chemicals, Deck Clean NP and Metal Brite HD, are being            Root Cause Analysis indicated that there was not a strong enough control           Complete - Pending
                             (11.05.2017)                                                              used onboard to clean decks, discharging directly overboard through deck        system on what constitutes a deck cleaner and where it can be used. Upon           Verification
                                                                                                       scuppers while in port and underway. The discharge is being logged in the       notification of this finding, the Company immediately took steps to ensure
                                                                                                       Garbage Record Book as “Operational Waste” as per the Garbage                   that all deck cleaning with Deck Clean NP and Metal Brite HD was
                                                                                                       Management Plan. The manufacturer, Wilhelmsen Chemicals, states the             discontinued while in port and at sea as the Company conducted its review
                                                                                                       cleaning agents meet the criteria as not being harmful to the environment,      of the finding. Specifically, within the first 24 hours, the Company directed
                                                                                                       however, in reviewing the Material Safety Data Sheets, it states the material   all Covered Vessels to discontinue all deck cleaning in port and to permit the
                                                                                                       is corrosive and must be disposed of as “Hazardous Waste,” and the product      use of only fresh water to clean decks while in international waters. Soon
                                                                                                       should not be discharged into drains or the environment; disposal should be     after, the Company notified all Interested Parties regarding its initial review,
                                                                                                       in accordance with local, state or national legislation. No documentation was   which included a review of Company policies and procedures and
                                                                                                       provided from Government Authorities stating these deck chemicals are safe      notifications to the fleet. It was ultimately determined that Metal Brite HD
                                                                                                       for discharge into the environment while in port or underway.                   is not intended to be used in open deck washing in VGP waters and is not
                                                                                                                                                                                       approved for such use by any Operating Line, and while historically it has
                                                                                                                                                                                       not been utilized by the Company for such use, the Company made clear
                                                                                                                                                                                       notification of this requirement to all Operating Lines via Must See
                                                                                                                                                                                       Messages. However, Deck Clean NP is determined to comply with VGP
                                                                                                                                                                                       requirements and thus can be used in U.S. waters for its intended uses,
                                                                                                                                                                                       unless otherwise limited by local law. Ultimately, it was determined that all
                                                                                                                                                                                       deck washing while in port is to be done with fresh water only unless the
                                                                                                                                                                                       applicable Brand has approved specific products for in port use. Deck
                                                                                                                                                                                       washing outside 12 nautical miles is to be done with chemicals that the
                                                                                                                                                                                       manufacturer has confirmed meet MARPOL Annex V standards. All deck
                                                                                                                                                                                       washing chemicals are being re-evaluated before approval to reinstate use is
                                                                                                                                                                                       given, and in all instances, ships must confirm with local port authorities that
                                                                                                                                                                                       deck/side shell or hull cleaning is allowed within the given port in which
                                                                                                                                                                                       such operations are to be conducted. The Corporation is currently drafting a
                                                                                                                                                                                       procedure to memorialize all requirements stated in the Must See Message
                                                                                                                                                                                       and instill a process for future approval of chemicals. In the meantime, HA-
                                                                                                                                                                                       Group has issued an Operational Directive OD ENV/09/17 (updated list of
                                                                                                                                                                                       approved chemicals) that lists all chemicals approved to be used in specified
                                                                                                                                                                                       locations. Further, the Company requires that when a chemical is used, the
                                                                                                                                                                                       person using the chemical should check with the bridge for permission and
                                                                                                                                                                                       once permission is granted, a start time and end time is recorded into the
                                                                                                                                                                                       NAPA E-log with the chemical name and quantity used. Additionally, all
                                                                                                                                                                                       must always follow MARPOL and ENV/09/17. The Company is working to
                                                                                                                                                                                       develop a process to verify that deck wash products meet MARPOL Annex
                                                                                                                                                                                       V requirements and requires that employees also refer to the latest update of
                                                                                                                                                                                       ENV/09/17 dated 25th January 2018.
        6.                   Sun Princess                                    N/A                       On June 26, 2017, it was reported that the COWS was missing a solenoid          Director of HESS-MS to attach investigation report into the incident, which        Complete - Pending
                             (11.05.2017)                                                              valve from the bilge sample line. The investigation into the June 26, 2017      will include lessons learned, root cause analysis, and preventive action.          Verification
                                                                                                       incident of the missing solenoid valve from the bilge water sample line on
                                                                                                       the COWS is not complete. The corrective action from Carnival Corporation
                                                                                                       was to send out Environmental Compliance Notice (08-2017) to all

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                                                                                                       operating brands. When discussing with the Master and the Environmental
                                                                                                       Officer about the incident and what corrective actions were done, it was
                                                                                                       noted that they knew of the disciplinary actions that were taken against the
                                                                                                       First Engineer and knew of no other corrective action that had been
                                                                                                       implemented by Carnival Corporation. Auditors asked the corporate
                                                                                                       representative, Ed Ramaekers, if there were any corrective actions taken as a
                                                                                                       result of the investigation. He knew about the disciplinary actions and also
                                                                                                       pointed out the Environmental Compliance Notice (08-2017).
        7.                   Star Princess                     ECP Section VIII.B.2.d                  Upon auditor’s arrival, we were made aware of operating issues with Static        Root Cause Analysis indicated a lack of maintenance and frequency of pipe          In Progress
                             (01.03.2018)                                                              OWS. The problem was found to be excess back-pressure on Static OWS               cleaning/renewal. Discharge pipework between Static Oily Water Separator
                                                                                                       output, lifting the three-way valve to recirculate process water. After trouble   and BDCB to be renewed and blockages removed.
                                                                                                       tracing by ship’s engineers and corporate office approval, a temporary
                                                                                                       modification was done and the unit was run satisfactorily. OWS was run for
                                                                                                       one hour, with positive 2.6-m3/hr throughput @ 2ppm. The modification
                                                                                                       was not approved by Class or the Flag State prior to its operation.
        8.               Carnival Splendor*                                  N/A                       The ship reported that on 2/3/18, during hull maintenance when berthed in         Root Cause Analysis indicated procedures were not followed. Incident was           Complete
                            (04.28.2018)                                                               the Port of Long Beach, CA, approximately seven (7) ounces of paint spilled       reported to all concerned external agencies. Painting procedures were
                                                                                                       from a bucket that was tied to a floating platform. The paint dissipated and      rewritten to ensure clarity and redistributed to the fleet. Staff Captain
                                                                                                       could not be recovered. The release was reported to the USCG NRC and the          oversight to be reinforced during painting to ensure that all precautions are
                                                                                                       Port Authority. An initial investigation found that a combination of human        taken accordingly.
                                                                                                       error, ineffective oversight, and ineffective preparation were factors
                                                                                                       contributing to the incident.
        9.               Carnival Splendor*                                  N/A                       The ship reported that on 1/27/18 when berthed in the Port of Long Beach,         Root Cause Analysis indicated multiple breakdowns in procedures. Such              In Progress
                            (04.28.2018)                                                               CA, ballast water was discharged in violation of California’s “Marine             major relocations must be planned in advance with support from shoreside
                                                                                                       Invasive Species Program” regulations and the required ballast water              teams, specifically to check if technical modifications are needed to meet
                                                                                                       reporting forms were not sent on time to the National Ballast Information         any environmental requirements. Lessons learned note to be sent out to the
                                                                                                       Clearinghouse or the California State Lands Commission. An initial                fleet to raise ships awareness regarding this issue. This note will also include
                                                                                                       investigation found there was inadequate voyage planning for the relocation       the importance of voyage planning and the correct process to develop and
                                                                                                       cruise.                                                                           communicate a complete voyage plan and environmental schedule. CCL to
                                                                                                                                                                                         develop a more robust ballast water management training program to ensure
                                                                                                                                                                                         that all officers and engineers are well educated in regards to ballast water
                                                                                                                                                                                         requirements and ENV 1501. CCL to develop a short presentation on how a
                                                                                                                                                                                         comprehensive voyage overview should be conducted to meet the
                                                                                                                                                                                         requirements of ENV 1001 and MAR 1301. Handovers of key personnel
                                                                                                                                                                                         must be avoided during such relocations. If that is not possible, sufficient
                                                                                                                                                                                         handover time must be allocated to ensure that important info is passed on.
                                                                                                                                                                                         The Company will consider counseling EO and Staff Captain directly
                                                                                                                                                                                         responsible for multiple breakdowns in procedures and failure to verify
                                                                                                                                                                                         compliance.
       10.               Carnival Splendor*                                  N/A                       The ship reported that while docked in Isla Roatan, Honduras on 9/7/17, an        Root Cause Analysis indicated corrosion of pipe due to weather. Lifeboat           Complete
                            (04.28.2018)                                                               oil leak was reported to be coming from a lifeboat. A high-pressure               davits hydraulic pumps were promptly stopped and the leakage immediately
                                                                                                       hydraulic pipe was found to have failed, spilling oil down the ship’s hull.       stopped. Hydraulic Oil pressure pipe joint was welded, hydraulic pumps
                                                                                                       Approximately 0.5 liters of oil was estimated to have been spilled with a         restarted and no leakage noted. Pipe and system were put back in service.
                                                                                                       small proportion of this volume entering the water. No oil sheen was              More frequent supervision will serve as a preventive measure.
                                                                                                       observed. The Port Authority was notified via the Port Agent. The pipe was

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                                                                                                       welded and successfully tested. The davit system and lifeboat were put back
                                                                                                       in service. A ‘G’ entry was made in the oil record book.
       11.               Carnival Splendor*                                  N/A                       The ship reported that on several occasions that Non ODS refrigerant gas         Root Cause Analysis indicated wear and tear of the seal. Vacuum leak test        Complete
                            (04.28.2018)                                                               leaked from the system: On 7/3/17, 267 kg of refrigerant gas leaked from an      performed, the system was refilled with Non-ODS Freon R 134A and put
                                                                                                       air conditioning system due to a faulty flange. The flange was repaired and      back in service. More frequent monitoring will serve as a preventive
                                                                                                       the system was put back in service. On 7/5/17, 260 kg of refrigerant gas         measure.
                                                                                                       leaked from various provision systems due to general age related
                                                                                                       deterioration. The systems were refilled and were put back in service.
       12.               Carnival Splendor*                                  N/A                       The ship reported that on 7/15/17, treated black water was discharged within     Root Cause Analysis indicated a human error. Awareness refresher                 Complete
                            (04.28.2018)                                                               12NM of the Bahamian Coast due to accidentally opening the overboard             orientation was conducted with the Engineer who reiterated the applicable
                                                                                                       discharge valve. The ship reported that the valve was closed within 10           regulation with which all concerned Bridge and Engine Officers must be in
                                                                                                       minutes.                                                                         compliance. Proper awareness of applicable regulations serves as a
                                                                                                                                                                                        preventive measure.
       13.               Carnival Triumph*                                   N/A                       The ship reported that on 21 Jan 18, it had no functional oily water separator   Root Cause Analysis indicated improper planning. A contingency plan was          Complete
                           (05.03.2018)                                                                (OWS) while a new OWS was installed. The second OWS was dismantled               put in place and all bilge water was offloaded to shore. In the future, proper
                                                                                                       prior to fully commissioning the new unit. A contingency plan was                planning for such projects will be done in advance.
                                                                                                       developed to manage the bilge on board and offload to a shoreside reception
                                                                                                       facility in New Orleans, LA. An entry was made in the ORB. The U.S. Coast
                                                                                                       Guard, ship’s Classification Society and ship’s Flag Administration were
                                                                                                       informed. The new OWS was commissioned working on 25 January.
       14.               Carnival Triumph*                                   N/A                       The ship reported that on 10 Apr 18, approximately 110 cubic meters of           Root Cause Analysis indicated the hole developed in the Emergency Ballast        In Progress
                           (05.03.2018)                                                                water, some of which was bilge water from a stabilizer room bilge well,          DB# 6 C Tank steel plate due to corrosion which contributed to bilge water
                                                                                                       leaked into an emergency ballast tank due to corroded plates between tanks.      accumulation in the tank. Review the ballast tank inspection routines
                                                                                                       Water from this ballast tank had been discharged overboard before                currently being performed with a goal to: a) Include effective work
                                                                                                       discovering that part of the source of the leak was from a bilge well.           instructions and specify expectations within the PMS system to ensure an
                                                                                                                                                                                        effective inspection; and b) Stagger the Classification Society and shipboard
                                                                                                                                                                                        ballast tank testing/inspection program, to ensure they are evenly spread out
                                                                                                                                                                                        over the five year inspection/testing cycle. Update Captain’s Standing
                                                                                                                                                                                        Orders fleet-wide to ensure that weekly tank soundings are completed
                                                                                                                                                                                        correctly. This should include: a) Having the Sounding Assistant double-
                                                                                                                                                                                        check and confirm water tank soundings; b) The use of water paste when
                                                                                                                                                                                        sounding water tanks; c) The importance of ensuring the Stability Officer
                                                                                                                                                                                        and the Staff Captain/Captain is fully aware of any abnormal readings that
                                                                                                                                                                                        are found; and d) The importance of informing the EO and containing the
                                                                                                                                                                                        contents of the tank until the source of the water can be confirmed. ABG to
                                                                                                                                                                                        consider updating the purpose and/or scope of EMR-1402 to ensure ship’s
                                                                                                                                                                                        officers and crew understand that these procedures should be followed
                                                                                                                                                                                        whenever the ship’s stability capabilities have been impaired, which could
                                                                                                                                                                                        include when a double-bottom tank is unexpectedly compromised. CCL to
                                                                                                                                                                                        issue a memorandum to ensure that all CCL shipboard staff are fully aware
                                                                                                                                                                                        of the inherent dangers when a ballast tank is compromised. This
                                                                                                                                                                                        memorandum should highlight the company requirements with regards to
                                                                                                                                                                                        reporting, the importance of working as a team and the sharing of
                                                                                                                                                                                        information across departments. EMR-1402 should be referenced for
                                                                                                                                                                                        guidance. Watchkeeping Engineers should be formally reminded of their

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                                                                                                                                                                                    duties with regards to understanding what works are being performed within
                                                                                                                                                                                    the technical spaces while they are on watch. This should include
                                                                                                                                                                                    understanding: a) Why non-technical personnel are inside the technical
                                                                                                                                                                                    spaces and the works that are being performed: b) What Permits to Work are
                                                                                                                                                                                    open in the technical spaces and their expected completion time; and c) The
                                                                                                                                                                                    importance of ensuring that this information is included on the handover
                                                                                                                                                                                    sheet and an effective handover is completed. By 30 September 2018,
                                                                                                                                                                                    Maritime Policy and Analysis will amend ENV 1008 and ENV 1203 to
                                                                                                                                                                                    ensure that EOs check the Portable Pump Logs whenever they visit the
                                                                                                                                                                                    Engine Room and question why portable pumps have been signed. Issue a
                                                                                                                                                                                    fleet-wide memorandum, to CCL ships, reiterating the contents of MAR-
                                                                                                                                                                                    1501 – Intact Stability Management – and the significance of ensuring that
                                                                                                                                                                                    the ship always sails within the required stability conditions. This memo
                                                                                                                                                                                    should highlight the importance of: a) Accurately conducting the weekly
                                                                                                                                                                                    tank soundings; b) Promptly verifying the accuracy of tank level sensors; c)
                                                                                                                                                                                    Immediately reporting any unexpected tank levels; d) Ensuring that the
                                                                                                                                                                                    correct levels are entered into the tanks prior to departure; e) Verifying any
                                                                                                                                                                                    erroneous visual draft readings: and f) Conducting an effective review of the
                                                                                                                                                                                    stability calculations prior to acknowledging and signing the stability
                                                                                                                                                                                    condition printouts.

                                                                                                                                                                                    It is also recommended that the following officers attend CSMART for
                                                                                                                                                                                    additional training/assessment prior to their next appointments on board:
                                                                                                                                                                                    a) Engine watchkeeping officers, Staff Chief Engineer and Chief Engineer –
                                                                                                                                                                                    Engine Resource Management; b) Captain and Staff Captain – Stability; and
                                                                                                                                                                                    c) Captain, Staff Captain, Chief Engineer and Staff Chief Engineer –
                                                                                                                                                                                    Environmental Officer Training, and Deck and Engine Professional Training
                                                                                                                                                                                    and Continuous Development.
       15.              Caribbean Princess*                    ECP Section VIII.B.2.w                  On November 30, 2017, approximately 77 cubic meters of ballast water was     Root Cause Analysis indicated the Company reported this incident to the          In Progress
                           (02.06.2018)                                                                discharged overboard through the ballast water treatment system while in     CAM. The manufacturer is assisting with the installation of audible alarms
                                                                                                       alongside in Fort Lauderdale, Florida. It was discovered the water was       to ensure operators are aware if certain parameters are out of compliance.
                                                                                                       treated with a UV intensity below the 70% minimum threshold.                 The respective crew members were retrained on the use of the ballast water
                                                                                                                                                                                    treatment system. Confirm that the audible alarms have been fitted to the
                                                                                                                                                                                    Ballast Water Treatment system to ensure that ballast water cannot be
                                                                                                                                                                                    discharged with an intensity below the 70% threshold. Confirm that this
                                                                                                                                                                                    change has been implemented fleet wide and that Chief Engineers on these
                                                                                                                                                                                    ships have conducted refresher/familiarization of the procedures for
                                                                                                                                                                                    managing ballast water discharges.
       16.              Caribbean Princess*                    ECP Section VIII.B.2.d                  On July 21, 2017, while anchored in South Queensferry, Scotland, a tender    Root Cause Analysis indicated the cause was a mechanical failure of the          In Progress
                           (02.06.2018)                                                                was lowered in the water for testing following routine maintenance. When     diesel cooler. The engine immediately stopped, boat recovered. Diesel
                                                                                                       the engine started, a discoloration was noted in the water and the engine    Cooler replaced with a spare. Diesel Coolers on remaining tenders were
                                                                                                       immediately stopped. The cause was noted to be a mechanical failure of the   checked and no defects were found. It will be confirmed that an AMOS Job
                                                                                                       diesel cooler.                                                               exists to inspect the Diesel cooler for the boat and that it has not been
                                                                                                                                                                                    postponed/canceled. The Company will conduct a review of the age of the


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                                                                                                                                                                                        spare Diesel Cooler and associated parts fleetwide to determine if they are
                                                                                                                                                                                        past their shelf life date or should be replaced due to their age.
       17.              Caribbean Princess*                    ECP Section VIII.B.2.d                  On July 9, 2017, during tender operations in South Queensferry, Scotland,        Root Cause Analysis indicated the engine stopped, boat recovered. Steyr          In Progress
                           (02.06.2018)                                                                the tender main engine had a defective fuel pump resulting an oily sheen on      Engine Technician attended and corrected engine timing. It will be
                                                                                                       the water. The engine was immediately stopped.                                   confirmed that an AMOS job exists to inspect the Diesel Cooler for the boat
                                                                                                                                                                                        and that it has not been postponed/canceled. The Company will conduct a
                                                                                                                                                                                        review of the age of the spare Fuel Pump (if held) and associated parts
                                                                                                                                                                                        fleetwide to determine if they are past their shelf life date or should be
                                                                                                                                                                                        replaced due to their age.
       18.               Emerald Princess*                     ECP Section VIII.B.2.g                  The ship reported that on December 25, 2017, a waterproof canvas lifeboat‐       Root Cause Analysis indicated inattention to detail by the deck crew. An         Complete - Pending
                           (05.23.2018)                                                                hook cover fell into the water and could not be retrieved. The cover had not     entry was made in the Garbage Record Book, and the local agent was               Verification
                                                                                                       been properly secured and was blown overboard by strong winds.                   informed of the violation of MARPOL Annex V. All similar covers were
                                                                                                                                                                                        checked for secure fitment. The need to properly secure E17 covers and
                                                                                                                                                                                        other items on deck was reiterated to deckhands.
       19.               Emerald Princess*                     ECP Section VIII.B.2.g                  The ship reported that on January 25, 2018, during tender operations, a          Root Cause Analysis indicated inattention to detail by the crew while on         Complete - Pending
                           (05.23.2018)                                                                handheld UHF radio was accidentally dropped into the water from the              deck by not utilizing lanyards. Vessel requires lanyards for all hand-held       Verification
                                                                                                       starboard pontoon.                                                               portable radios, instruct the crew to use lanyards while on deck. ECN
                                                                                                                                                                                        Number 16 reminds ship staff of the importance of due care and attention
                                                                                                                                                                                        regarding items which may be loose and fall into the sea.
       20.               Emerald Princess*                     ECP Section VIII.B.2.g                  The ship reported that on February 9, 2018, a wooden flagpole and flag were      Root Cause Analysis indicated inattention to changing weather patterns and       Complete - Pending
                           (05.23.2018)                                                                detached from a tender by the wind, fell into the water, and could not be        insufficient planning by the crew. Securing was not sufficient in the weather    Verification
                                                                                                       recovered.                                                                       conditions and flags were removed from all other tenders for the remainder
                                                                                                                                                                                        of the tender operations. The securing issue is being addressed and will be
                                                                                                                                                                                        standardized across the fleet. The local agent was advised of the MARPOL
                                                                                                                                                                                        Annex V violation, and an entry was made in the Garbage Record Book. All
                                                                                                                                                                                        HA Group ships received instructions on securing tender flagpoles by fitting
                                                                                                                                                                                        or welding two small eyelets, one on the flagpole and one on the deck. When
                                                                                                                                                                                        in use, this tether will prevent the pole from being lost overboard should it
                                                                                                                                                                                        come free of its bracket.
       21.               Emerald Princess*                     ECP Section VIII.B.2.g                  The ship reported that on March 6, 2018, one of the “Keep 50 meters Clear”       Root Cause Analysis indicated inattention to changing weather patterns and       Complete - Pending
                           (05.23.2018)                                                                plastic tarpaulin banners was blown into the water where it sank                 insufficient planning by the crew. The security team has been instructed to      Verification
                                                                                                       immediately. The banner was removed, then folded and placed on a storage         properly secure objects during similar operations. The Port Agent was
                                                                                                       box near the rails. The wind lifted the banner of the storage box and into the   informed of the MARPOL Annex V violation, and an entry was made in the
                                                                                                       water. The banner was not properly secured.                                      Garbage Record Book. ECN 16 reminds ship staff of the importance of due
                                                                                                                                                                                        care and attention regarding items which may be loose and fall into the sea.
                                                                                                                                                                                        Additionally, the security team received training conducted by the
                                                                                                                                                                                        Environmental Officer on the best practices to prevent recurrence.
       22.                 Costa Atlantica*                    ECP Section VIII.B.2.c                  The food pulper system has been out of service for several months as             Root Cause Analysis indicated poor performance of an external contractor.        In Progress
                            (06.15.2018)                                                               reported in Flash Report dated 22 November 2017. The vessel is not               Despite the fact that the replacement of the system was planned in advance
                                                                                                       outfitted with equipment or procedures to properly dispose of food waste at      and the funds secured. The maker failed to identify all aspects of the job and
                                                                                                       sea in the event it cannot be landed ashore.                                     this prevented the job to be completed during the dry dock as planned. The
                                                                                                                                                                                        maker of the food processing system is expected onboard in August to
                                                                                                                                                                                        perform all the necessary work to have the system back in operation. The
                                                                                                                                                                                        Company will inform all interested parties about the issues encountered in
                                                                                                                                                                                        order not to have other incurring the same.

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                                                                                                                                                                                                                                                                             Status of Corrective
    Row                    Location Name                                                                                                                                                                                                                                        & Preventive
   Number                   (Audit Date)                            ECP Section                                                      Final Audit Finding                                                     Corrective & Preventive Action Plan                                 Action Plan
     1.                     Shore - ABG                          ECP Section III.B.1.b                 As per the ECP section III.B.1.b., the Risk Advisory and Assurance Service       Root Cause Analysis indicated ineffective Procedure (the process is open to        In Progress
                            (08.18.2017)                                                               (“RAAS”) department shall investigate covered vessel casualties and oil          interpretation). The Company will now require that a monthly update on the
                                                                                                       pollution incidents in accordance with Carnival’s incident investigation         status of all Severity 3 investigations in progress at all brands be provided to
                                                                                                       policy. Reference is to the HESS‐MS Procedure HMP‐1303 – Event                   the RAAS Director of Investigations in order to ensure that all issues are
                                                                                                       Investigation (Level 3 and 4), Section 3.3 which states that “with all level 3   being reviewed and resolved in a timely manner. The first update is to be
                                                                                                       investigations, the lead investigator must routinely update the VP RAAS          provided by November 30, 2017. RAAS will update HMP 1303 to define:
                                                                                                       (Maritime) and the appropriate legal department on the status of these           (1) Operating Line progress report frequency based on the investigation’s
                                                                                                       investigations”. At the time of the audit, multiple level 3 investigations       complexity (Severity 1 to 4); (2) the VP of RAAS Maritime will be required
                                                                                                       relevant to pollution incidents have occurred from September 2016 to             to discuss Severity 4 investigations during the quarterly EVP meetings; and
                                                                                                       July 2017, 24 investigations were found to still remain open. Evidence was       (3) VP of RAAS Maritime will provide a factual statement on the incident to
                                                                                                       provided by the RAAS Director of Investigation showing where he has              the MPA within 15 days of commencing a Severity 4 investigation. Overall,
                                                                                                       requested follow up from the Lead Investigators residing at the Line level on    the Company acknowledges the difficulties observed by the TPA and is
                                                                                                       a regular basis. However, no recent feedback or investigation updates had        revising its HESS investigation procedure to ensure more timely
                                                                                                       been provided to the RAAS Director of Investigations at the time of this         investigation results.
                                                                                                       audit.
        2.                   Shore - ABG                        ECP Section III.B.1.b;                 As per the ECP section III.B.1.b., the Risk Advisory and Assurance Service       Root Cause Analysis indicated ineffective Procedure. MPA Issued ECN #10            In Progress
                             (08.18.2017)                        HESS: HMP‐1303                        (“RAAS”) department shall investigate covered vessel casualties and oil          (22nd August 2017) to specifically address the Bahamas Baseline incidents.
                                                                                                       pollution incidents in accordance with Carnival’s incident investigation         The Safety and Environmental Awareness Bulletin were also used for
                                                                                                       policy. Reference is to the HESS‐MS Procedure HMP‐1303 – Event                   communicating lessons learned. Working group established to identify non-
                                                                                                       Investigation (Level 3 and 4), Section 6, which states that during the course    shoreline claims. Preventive RAAS will update HMP 1303 to define: 1)
                                                                                                       of an investigation MPA has to circulate information learned from the            Operating Line progress report frequency based on the investigation
                                                                                                       investigation to all Operating Lines. Incidents in violation of Marpol Annex     complexity (Severity 1 to 4); 2) require that the VP of RAAS Maritime
                                                                                                       IV and V regulations and company procedure ENV 1001 due to discharge             discuss Severity 4 investigations during the quarterly EVP meetings; and 3)
                                                                                                       overboard of comminuted food waste and treated black water inside 12             require that the VP of RAAS Maritime provide a factual statement on the
                                                                                                       nautical miles of the Bahamas baseline were reported on the vessel Carnival      incident to MPA within 15 days of commencing a Severity 4 investigation.
                                                                                                       Elation on voyages between June 4 and June 16, 2017. Reference is to the
                                                                                                       environmental incident report 005_2017‐EL. Further investigation revealed
                                                                                                       the existence of similar reports issued to other Carnival Cruise Line vessels
                                                                                                       (Carnival Freedom, Carnival Liberty, Carnival Magic, Carnival Conquest,
                                                                                                       Carnival Splendor and Carnival Vista). At the time of the audit, the
                                                                                                       investigation of these incidents was found open. The HESS‐MS procedure
                                                                                                       ENV 1001 was found revised and containing additional information to the
                                                                                                       vessel to avoid future similar incidents. A copy of the internal Carnival
                                                                                                       Cruise Line internal communication sent to the Line fleet requiring Masters
                                                                                                       and Chief Engineers to confirm awareness and updates of the procedure was
                                                                                                       also provided. However the information learned from the ongoing
                                                                                                       investigation, including the notification of procedure change, has not been
                                                                                                       circulated to all the Operating Lines as required by the HESS‐MS Procedure.
        3.              Shore - Carnival UK                     ECP Section III.B.1.b.;                ECP section III.B.1.b. requires casualties and oil pollution incidents to be     Root Cause Analysis in progress by Carnival UK. A review will be carried           Complete
                           (09.15.2017)                          HESS: HMP‐1301                        investigated in accordance with CARNIVAL’s incident investigation policy         out of investigation resources to determine whether there are any gaps in this
                                                                                                       HMP‐1301. All three (3) ECP related incidents below were reviewed in             area. A procedure will be developed to ensure that documentary evidence is
                                                                                                       detail through examination of incident reports and interviews with report        received and saved which clearly shows that adequate corrective action has

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                                                                                                                                                                                                                                                                          Status of Corrective
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   Number                   (Audit Date)                               ECP Section                                                   Final Audit Finding                                                    Corrective & Preventive Action Plan                               Action Plan
                                                                                                       owners. Interviews were conducted with the responsible persons for each          been taken with respect to accidents and near misses. The current incident
                                                                                                       incident investigations, namely: 1) Mathew Andow for incident: 3 March 17,       report form to be revised to ensure that sections showing immediate
                                                                                                       VENTURA, Oil Spill in Bilge 2) Rob Ross for incident: 22 April 17,               corrective action, root cause analysis, and preventative measures are clearly
                                                                                                       QUEEN MARY 2, Unable to Process bilge water 3) Chris Crossley for                identified. A procedure to be developed to ensure that incidents are
                                                                                                       incident: 1 May 17, ARCADIA, Missing ORB Pages. Lotus Notes is the               consistently documented, tracked, and to ensure verification of corrective
                                                                                                       electronic application in which Carnival UK documents and tracks                 and preventative actions. A review to be done of resources to determine if
                                                                                                       incidences reports to closure. Both the Lotus Notes reports and the physical     CUK currently has the correct headcount to adequately manage the
                                                                                                       incident investigation files were reviewed. Inconsistencies were found           investigation process.
                                                                                                       related to properly documenting closed incidents with verifiable
                                                                                                       documentary evidence. Of the two incident reports documented within the
                                                                                                       Lotus Notes application, only one indicated evidence of immediate
                                                                                                       corrective action, neither documented clear root cause analysis or indicated a
                                                                                                       clear preventive action to prevent reoccurrence. The nonconformity in this
                                                                                                       section goes to two parts: 1) A failure to consistently document ECP
                                                                                                       incidents following established practice, policy, and procedure. 2) A failure
                                                                                                       to consistently document, track, implement, and verify corrective and
                                                                                                       preventative actions.
        4.              Shore - Carnival UK                   ECP Section III.C.1 and 2                As per the ECP Section III C 1 and 2, the ECP specifically tasks the             Review company policy to ensure that “near miss” is properly defined.            Complete
                           (09.15.2017)                                                                Maritime Policy and Analysis (MP&A) department to manage an                      Review HMP 1302 and 1303 to ensure that near-miss reporting procedures
                                                                                                       environmental near miss program that ensures the reporting, documentation,       are specified. Re-Assigned to John Haeflinger (MPA): The CUK office audit
                                                                                                       and tracking of near‐miss incidents having a grade of low to high risk of        was conducted while the replacement policy for CS001 was being finalized.
                                                                                                       impact. It was discovered that very few environmental near misses reports        COM-1101 “Reporting of HESS and Operational Events, Near Misses and
                                                                                                       are received by MP&A due to the procedure requiring only high level near         Ship Inspections” was issued on November 1, 2017, and became effective on
                                                                                                       misses to be reported to MP&A. Out of 103 vessels, it was found that only 6      January 1, 2018. It reflects a rewrite of CS001 with a greater emphasis on
                                                                                                       reports were submitted from July l to Sept 4, 2017, (4 from CUK vessels)         near miss reporting and alignment with the business requirements defined in
                                                                                                       and no reports were received from the April to June time period across all       our agreement with a third party to build a single HESS event reporting
                                                                                                       operating lines. Upon investigation, it was found that there is no specific      system for the Corporation, which is now in progress. The objective of
                                                                                                       procedure relating to near miss reporting, and nowhere in the procedures         COM-1101 is as follows: “The reporting of HESS and Operational Events,
                                                                                                       (Corporate or HESS) is the term “Near Miss” defined. In the footnote to          Near Misses, and certain external Ship Inspections is an important part of
                                                                                                       HMP 1302 and 1303 Appendix A1, the term “near hit” is used, but there is         measuring and improving our Health, Environmental, Safety, Security
                                                                                                       no specific procedure regarding near misses reporting in HMP 1302 or 1303.       (HESS) and Technical performance, ensuring the safety and security of our
                                                                                                       The term near miss is used in Annex 1 of CS 001 and indicates that               guests and crew, and protecting the environment. The identification and
                                                                                                       reportable items to MP&A are any near miss that could have resulted in any       tracking of incident rate trends and root causes at Brand and Group levels, as
                                                                                                       of the aforementioned (in the table E1 – E5) reportable incidents. E1 to E5      well as the sharing of lessons learned, are key to identifying best practices,
                                                                                                       consists of reportable items such as Violations of MARPOL, violations of         reducing risks and improving performance. This procedure applies to any
                                                                                                       Corporate Environmental Standards, situations that result in or could result     Event (as defined by the criteria below) that occurs on board any ship or port
                                                                                                       in a spill or discharge of pollutants into the environment, and operating        facility owned and operated by Carnival Corporation and plc. It also applies
                                                                                                       personnel misconduct. CS 001 also points to another procedure Carnival           to passenger and crew injuries and public health events that occur on board
                                                                                                       Corporation & plc Accounting Policy Section 3.2.6 “Reporting of                  or ashore. This procedure does not apply to Events that occur in office
                                                                                                       Significant Events” which requires reporting of “Serious Pollution” and          buildings utilized by Carnival Corporation and plc. to conduct business,
                                                                                                       indicates reporting of “Hazardous Situations and Near Misses” may need to        regardless of their location. Note that this procedure replaces Corporate
                                                                                                       be shared across the Company. Due to the lack of specific procedures             Standard 001 in its entirety.” COM-1101 makes near miss reporting
                                                                                                       regarding near miss reporting, near-miss reporting is to be done in the same     requirements more explicit and encompassing than CS001 did. The
                                                                                                       fashion as incident investigation and experiences the same circumstances of      procedure defines a “near miss” as follows: “For the purpose of this
                                                                                                       the non‐conformities 01 and 02 issued during this audit for incident             procedure, a “near miss” is defined as an event or situation that could have

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                                                                                                       investigation. As per ECP Section II C 2, a summary of near-miss incidents      resulted in a HESS Event, but did not, either by chance, through timely
                                                                                                       involving pollution prevention equipment is to be provided quarterly to         intervention or because preventive measures were in place.” The Appendix
                                                                                                       shipboard Covered Personnel. The Health, Environmental, Safety and              to the procedure defines the types of HESS events that are reportable to
                                                                                                       Security (HESS), Technical, Regulatory and Sustainability Report Second         MP&A and provides the following guidance, with the near miss language
                                                                                                       Quarter, FY2017 report, also referred to as the HESS Board of Directors         emphasized with an underlined text: “This Appendix 1 outlines event types
                                                                                                       (BOD) Report was sampled and found to have no environmental near misses         to be reported in accordance with COM 1101. It is not intended to specify
                                                                                                       listed. The M P&A near-miss database was queried and also found that no         each and every incident or near miss that should be reported. Operating
                                                                                                       environmental near miss reports were submitted across all operating lines for   Lines should always report an event if there is any doubt as to whether the
                                                                                                       the same time period.                                                           event meets the requirements of this Appendix. All associated near misses
                                                                                                                                                                                       are also to be reported. Unless otherwise noted in this Appendix, all
                                                                                                                                                                                       reportable events require immediate notification to MP&A. Immediate
                                                                                                                                                                                       notification means as soon as possible after the incident is reported from the
                                                                                                                                                                                       ship to the responsible shore side department.” Since the issuance of the
                                                                                                                                                                                       COM-1101 procedure, near miss reporting has increased significantly. In the
                                                                                                                                                                                       first two months the procedure was in force (January 1 through February 28,
                                                                                                                                                                                       2018), 24 near miss reports were made to MP&A. MP&A produces a
                                                                                                                                                                                       quarterly Safety & Environmental Awareness Bulletin to the fleet and shore
                                                                                                                                                                                       personnel which highlights select safety and environmental incidents and
                                                                                                                                                                                       near-miss events, identifies their root causes and discusses lessons learned. It
                                                                                                                                                                                       is intended to be a training tool for the fleet to reinforce requirements and
                                                                                                                                                                                       help reduce the risk of similar events occurring. This bulletin had been
                                                                                                                                                                                       issued for several years as a safety bulletin. Environmental incidents were
                                                                                                                                                                                       included beginning Q2 2017.
        5.                 Pacific Princess                     ECP Section VIII.B.2.i                 During the review of the Oil Record Book, two pages were found not signed       Root Cause Analysis indicated insufficient attention to detail by persons          Complete
                            (10.07.2017)                                                               by the Captain. Two entries in the ORB were also found edited but with no       responsible for completing the log books and insufficient oversight by EO.
                                                                                                       signature made after the correction. A total of four (4) missing signatures     Ship to confirm and provide evidence of missing Captain’s signatures and
                                                                                                       were found.                                                                     correcting signatures. Create a daily HESS-MS task directing the EO to
                                                                                                                                                                                       review ORB and verify all required signatures are present or to collect
                                                                                                                                                                                       missing signatures.
        6.                     Shore-CCL                      ECP Section I.B., Persons                Not all Persons who have routine responsibilities with operational duties of    Root Cause Analysis indicated misinterpretation of the definition of Covered       Complete
                              (11.06.2017)                    to Whom Applicable and                   Marine Environmental Protection Management were identified as a                 Personnel due to no formal procedure or protocol in place for defining
                                                                ECP Section V.A.1.,                    Shoreside Covered Person within the Carnival Cruise Line Organization. It       Covered Personnel. All employees in the CCL Environmental Operations
                                                                 Shore side Covered                    was found during a spot interview with an Environmental Analyst that her        team were placed on the Covered Personnel list and received the ECP Shore
                                                               Personnel, Operations,                  job description and job scope function aligned with the requirements            Side Covered Personnel training (TRG-2307). Specifically, Environmental
                                                               Maintenance and Repair                  consistent with being a Covered Person as required under the ECP. This          Analyst and Contractor were added to the CCL Covered Personnel list,
                                                                     Personnel                         Environmental Analyst was not on the Covered Person roster and did not          registered for a GLADIS account, and completed all four modules of the
                                                                                                       complete all ECP required training.                                             TRG-2307 ECP shore side training by November 10, 2017. CLL will
                                                                                                                                                                                       develop a standard protocol for identifying Shore Side Covered Personnel.
                                                                                                                                                                                       Once that is in place, Carnival Cruise Line will conduct a review of all Shore
                                                                                                                                                                                       Side positions to determine if any positions have been added or positions
                                                                                                                                                                                       that should be included were not on the original list. Furthermore, all
                                                                                                                                                                                       positions within the CCL Marine Operations department will be reviewed to
                                                                                                                                                                                       determine if any additional employees should be identified as Shore Side
                                                                                                                                                                                       Covered Personnel and therefore be required to take the ECP Shore Side
                                                                                                                                                                                       Training.

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     7.                      Shore-CCL                           ECP Sections V.B.2,                   A requisition by the CARNIVAL BREEZE crew done on May 20, 2017,                    Root Cause Analysis indicated the system is not configured to alert for        In Progress
                            (11.06.2017)                               V.B.3                           was found having a wrong code associated to the part (non-ECP code). The           incorrect coding. Configure the system to alert personnel that a wrong
                                                                                                       original requisition was done for multiple items and included ECP and non-         budget code has been selected for an ECP critical part.
                                                                                                       ECP spare parts. On July 18, 2017, the purchase order was eventually
                                                                                                       processed for the ECP spare part only but its code was not corrected in the
                                                                                                       INFOSHIP system causing further delay. At the time of the audit, the spare
                                                                                                       part was expected for delivery on January 9th, 2017.
        8.                     Shore-CCL                          ECP Section III.B.2                  A Corrective Actions was raised by the Internal RAAS Audit of Carnival             Root Cause Analysis indicated a lack of oversight. The Company is              In Progress
                              (11.06.2017)                                                             Cruise Lines dated 09 June 2017. No evidence of this action being                  developing a formal plan to send all SME’s for incident investigation
                                                                                                       completed was provided which noted that all personnel identified as SMEs           training. This will also include refresher courses for all SMEs who have
                                                                                                       who may act as assigned investigators have received Incident Investigation         already been trained. Once training has been developed and implemented, a
                                                                                                       Training.                                                                          formal tracking system will be used to ensure that all SMEs receive incident
                                                                                                                                                                                          investigation training before being assigned to an investigation.
        9.                  Crown Princess                        ECP Section IX.B.1                   The ship has identified their vulnerabilities but has not sealed all of them. It   Root Causes Analysis indicated a misinterpretation of ECP requirements.        In Progress
                             (11.18.2017)                                                              is the practice of the ship that some vulnerability points need a portable         The controls of portable pump usage are currently under review.
                                                                                                       pump and hoses to make them a vulnerability. According to the ship
                                                                                                       unauthorized usage of portable pumps is prevented by controlling pump
                                                                                                       usage as per their companies OD ENV/02/16. Portable pump usage is also
                                                                                                       regulated by ENV-1203. Using this pump control method might be seen as a
                                                                                                       virtual lock but this does not meet the requirements of the ECP for tags, seals
                                                                                                       or locks. A reassessment of all vulnerable connections that are not tagged
                                                                                                       because of the use of the portable pump control directive needs to be done
                                                                                                       and seals, tags, locks or welded clips need to be installed to meet the ECP
                                                                                                       requirement.
       10.                  Crown Princess                        ECP Section IX.B.1                   A quick connect fitting was found attached to the overboard discharge (near        Root Cause Analysis indicated the finding was not identified in the            Complete
                             (11.18.2017)                                                              the pump) piping for each of the waste food tanks (2) in the incinerator           vulnerability assessment. The connections in the VVA to be identified,
                                                                                                       room. Both fittings do not have ECS tags nor were they identified in the           updated ECS log and fit ECS tags. Liaise with ABG with the intention of
                                                                                                       vessels vulnerability assessment.                                                  conducting a review of vulnerability requirements.
       11.                     Rotterdam                       ECP Section X.A.1,                      Environmental Management System - Procedures related to exhaust gas                Root Cause Analysis indicated current published policy is poorly written. A    Complete
                              (12.03.2017)                   MEPC Res. 259(68), ENV                    cleaning systems sampling are not clear. ENV 1102 paragraph 4.4 states             suggestion to revise ENV 1102 paragraph 4.4 has been submitted to Carnival
                                                                     1102                              that wash water sampling must be carried out once per year after the first         Corporation to remove the requirement to conduct the annual testing 3
                                                                                                       year of operation. In addition, the procedure indicates that sampling must be      months prior to annual survey since it is not required by regulation and
                                                                                                       carried out within 3 months of the annual survey. The MARPOL                       places an unnecessary burden on the vessel to comply.
                                                                                                       requirement only references sampling for the ship’s IAPP renewal survey.
       12.                     Rotterdam                           ECP Section IX.M                    Documentation from equipment manufacturers regarding the use of non-               Root Cause Analysis indicated lack of oversight of the policy requiring the    Complete - Pending
                              (12.03.2017)                                                             EAL lubricants in the oil to sea interfaces for three (3) thrusters, the CPP       documentation to be available. As noted in the finding, documentation was      Verification
                                                                                                       system, and the two (2) stern tube seals not present on board. When asked,         received from the equipment manufacturers prior to completion of the audit.
                                                                                                       crew indicated that Thrusters #1, 2, and 3, the CPP systems and the two            Chief Engineer to attach any relevant documentation to this finding and
                                                                                                       propeller shaft seals were not utilizing EAL lubricants. No documentation          close. To be added to the annual review of the VGP, and to ensure
                                                                                                       from the equipment/seal manufacturers were evident to indicate that EAL            documentation on board from each of the applicable equipment
                                                                                                       use was not feasible for the existing seals. Documentation was received from       manufacturers regarding the use of non-EAL lubricants in the oil to sea
                                                                                                       the equipment manufacturers prior to completion of the audit.                      interfaces.
       13.                  Regal Princess                        ECP Section IX.F.1                   Found no ECS seals on blank flanges on LT coolers seawater outlet lines            Root Cause Analysis indicated the finding was not identified in the            In Progress
                             (11.19.2017)                                                              which were listed on the ship’s vulnerability assessment.                          vulnerability assessment. Identify blank flanges in the VVA, update ECS


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                                                                                                                                                                                        log, and fit ECS tags. Liaise with ABG with the intention of conducting a
                                                                                                                                                                                        review of vulnerability requirements.
       14.                  Royal Princess                     ECP Section IV.A.2.j.ii                 Global HESS-MS document ENV-1008-A3 Weekly Environmental                         Root Cause Analysis indicated no current procedure exists to describe how        Complete
                             (12.10.2017)                                                              Compliance Report. Specifically, Unannounced Machinery Space. The form           or where these visits are recorded. Neither the current procedure, nor form
                                                                                                       needs to be updated to properly document machinery space visits that would       ENV-1008-A3, specifies how machinery space visits will be recorded, so
                                                                                                       ensure the requirements of the ECP are being met.                                there can be no corrective action for the forms that were filled out
                                                                                                                                                                                        previously. The EO is aware of this suggested best practice and will record
                                                                                                                                                                                        more detail of the date and time going forward. HA Group is developing
                                                                                                                                                                                        HESS-MS tasks to document work activities done by the Environmental
                                                                                                                                                                                        Officer in alignment with the requirements specified in ENV-1008.
                                                                                                                                                                                        Recording the unannounced visits will be one of the tasks that will soon have
                                                                                                                                                                                        a specific task that can be reviewed for objective evidence that the visit was
                                                                                                                                                                                        conducted.
       15.                  Royal Princess                        ECP Section X.B.1                    The vulnerabilities on board were identified by the third-party survey.          Root Cause Analysis indicated that in order to mitigate the risk of              In Progress
                             (12.10.2017)                                                              Vulnerabilities were marked with a bright Green Circle. Not all                  vulnerabilities, items requiring the addition of a portable pump to create a
                                                                                                       vulnerabilities had a tag or a seal. By securing all portable pumps, this does   vulnerability were addressed by securing and tracking portable pumps in
                                                                                                       not address the gap in tag/seal/lock coverage required by the ECP.               locked cages. The controls of portable pump usage are currently under
                                                                                                                                                                                        review.
       16.           Carnival Maritime Office                     ECP Section V.B.2                    The current INFOSHIP system allows crew members to create and modify             Root Cause Analysis indicated finding was due to the technical limitations of    In Progress
                             Hamburg                                                                   ECP critical spare parts. However, the company developed a system to             the current version of PMS. PMS Department will inform the OLCM on a
                           (10.23.2017)                                                                identify Critical Environmental Equipment and Critical Environmental             monthly basis if alterations to the ECP critical spare parts database were
                                                                                                       Components through a review of the ECP critical parts database performed         made. A change request has been issued to the Provider, requesting an
                                                                                                       on a regular basis by the Maintenance Development team. The methodology          “Office Reserved” function to be implemented. PMS Department will
                                                                                                       of this system used to cross-check parts validation was demonstrated to the      monitor the implementation and communicate once the feature is active.
                                                                                                       audit team. The current system allows crew members to modify this list
                                                                                                       which may lead to incorrect parts being added to the database. It is also
                                                                                                       understood that shore-side personnel is working with the software provider
                                                                                                       to update the system and get full administrative control by January 2018 to
                                                                                                       avoid future unauthorized modification by crew members.
       17.                    Sun Princess                        ECP Section X.A.1                    In Global HESS, for the Environmental Officer Responsibilities, ENV-1008,        Root Cause Analysis indicated lack of a complete procedure. A document           Complete
                              (11.05.2017)                                                             there are no applicable guidelines as stated for ENV-1008-A5, Processed          revision form has been submitted December 14, 2017, to Carnival to amend
                                                                                                       Bilge Water Overboard Discharge Variance Check, instead a form to                the tasking in 1008 and in the variation worksheet. Carnival to update tier II
                                                                                                       complete is downloaded with no instructions.                                     language to define expectations for this worksheet.
       18.                   Star Princess                     ECP Section IV.A.2.j.ii                 HESS-MS Procedure ENV-1008-A3 Weekly Environmental Compliance                    Root Cause Analysis indicated no existing requirement. There currently is        Complete - Pending
                             (01.03.2018)                                                              Report. Specifically, Unannounced Machinery Space visits 1 & 2. Further          no specific requirement to log this information so there is no way to correct    Verification
                                                                                                       information needs to be provided in the comments (exact dates and times EO       the previous entries of this suggested best practice. The vessel is aware of
                                                                                                       witnessed the start and stop of OWS) section to ensure the requirements of       the need to provide more detailed record keeping and will note the date and
                                                                                                       the ECP are met.                                                                 time of entries on the weekly environmental compliance report ENV-1008-
                                                                                                                                                                                        A3. Jon Turvey is developing HESS tasks to document specific inspection
                                                                                                                                                                                        items mandated by the ECP. The recording of the unannounced visits can be
                                                                                                                                                                                        a specific task that EO completes following each inspection.
       19.                   Star Princess                        ECP Section X.A.1                    HESS-MS Procedure ENV-1008 Environmental Officers Roles and                      Root Cause Analysis indicated there is no requirement to record the              Complete - Pending
                             (01.03.2018)                                                              Responsibilities, section 2.4.3, (At least twice weekly) is missing the          information as noted in the finding. ECP Dept. Director to clarify the intent    Verification
                                                                                                       requirement stated in the ECP for the EO to “observe the start and stop          of the wording within ENV-1008, with reference to ECP Section IV.2.j.
                                                                                                       times” of the OWS and OCM.

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     20.                    Star Princess                       ECP Section VIII.B.2.i                 The Hazardous Waste Log (Red Bags) for the hospital was found with three        Root Cause Analysis indicated lack of awareness of the record-keeping            Complete
                            (01.03.2018)                                                               (3) entries that had been pre-signed by the Garbage/Incinerator room            procedure. Garbage supervisor to cross out the empty entries that were
                                                                                                       operator for receiving hazardous waste, although nothing had been filled in     written in the book and going forward will only fill out the log as new
                                                                                                       by the hospital staff in those blocks.                                          medical waste is delivered. Staff Engineer in coordination with the EO is to
                                                                                                                                                                                       provide refresher training to the Technical Dept. personnel who operate the
                                                                                                                                                                                       incinerator to highlight the importance of proper record keeping.
       21.                   Star Princess                      ECP Section VIII.B.2.i                 The Hazardous Waste Log for the Garbage room was found with numerous            Root Cause Analysis indicated that due to two recent new hires, these entries    Complete - Pending
                             (01.03.2018)                                                              entries missing the Environmental Officer’s verification signature for          had been overlooked. Review the hazardous waste log signing requirements         Verification
                                                                                                       offload. Eleven (11) in June 2017, Nine (9) in November 2017, and Two (2)       and ensure the requirements of hazardous waste entries are reiterated during
                                                                                                       in December 2017.                                                               handovers. ECP Dept. Director to submit a request for a HESS-MS task to
                                                                                                                                                                                       be created to include checking and inspection of logbook entries.
       22.           Holland America Group                      ECP Section III.B.1.b;                 Investigations Process does not follow HMP 1303, Para 4 - Reports: RAAS         This finding refers to the RAAS team to return their review within 5 days.       Complete
                      Offices Seattle/Santa                      Risk Advisory and                     group does not consistently return a review of Investigations within five (5)   The review process has been streamlined within RAAS. RAAS needs to
                             Clarita                             Assurance Service                     working days of Holland America Group reporting. Examples of ECP                formally confirm that Richard Firth not only reviews but also signs off on
                          (01.15.2018)                              Department                         related incidences among numerous other examples include:                       the investigations reports on behalf of RAAS.

                                                                                                       VE20170036 Report 8/28/17 Reply 9/5/17 9 days 7 working days
                                                                                                       KP20170009 Report 7/19/17 Reply 8/14/17 31 days 24 working days
                                                                                                       OS20170038 Report 9/5/17 Reply 9/25/17 20 days 12 working days
       23.           Holland America Group                      ECP Section III.B.1.b;                 Incident Investigation Reports and Process do not always follow                 Root Cause Analysis indicated that the incident that occurred did not fall       Complete
                      Offices Seattle/Santa                      Risk Advisory and                     requirements within HMP 1303 Procedure and referenced documents:                within the scope of COM1101 or HMP-1302-A1. Senior management
                             Clarita                             Assurance Service                     Example, in the HOTLINE event of CARIBBEAN PRINCESS on 30 Nov                   elevated the investigation of this allegation on an ad-hoc basis and the
                          (01.15.2018)                              Department                         2017, the Investigation Report and process failed to: 1) Follow the report      investigation was conducted by RAAS. The head of Audit for HA Group
                                                                                                       template, 2) Include Recommendations, 3) Adequately analyze identified          will liaise with ABG and RAAS to evaluate investigation flow and report
                                                                                                       findings, 4) Raise an incident report as required in the Severity Matrix and    content as per HMP 1302 & 1303. The objective of the action is to
                                                                                                       COM-1101-A1, and 5) List corrective actions that were based on                  encourage greater collaboration between teams. Any report that is generated
                                                                                                       recommendations.                                                                from an HA Group investigation will be reviewed by the Manager Maritime
                                                                                                                                                                                       Investigations to ensure compliance with applicable HMP procedures. This
                                                                                                                                                                                       process will be confirmed as implemented after 3 months of review.
       24.           Holland America Group                     ECP Section III.C.1;                    The Near Miss Reporting Program fails to consistently document and track        Root Cause Analysis indicated the procedure was not clearly written to           Complete - Pending
                      Offices Seattle/Santa                     Maritime Policy &                      Corrective and Preventative Actions in accordance with guiding procedures,      address Environmental near misses. Each near miss form has corrective and        Verification
                             Clarita                         Analysis Department; ECP                  objectives and ISM Code: 1) There is no requirement within “AIR-04, Near        preventive action built into it. Only when there are further shoreside actions
                          (01.15.2018)                        Attachment 2, Section                    Miss Incidents” to document or track Corrective and Preventive Actions; 2)      are those to the database in the Action Notes section. Additionally, for
                                                             Corrective and Preventive                 The HA Group Near Miss Report and ACCESS Data base does not allow for           certain near misses that require investigations by the investigation team are
                                                                      Action                           specific documentation of Corrective and Preventive Actions; 3) GLOBAL          not tracked in the near-miss database. It would not be practical to require
                                                                                                       HESS AUDIT TOOL does allow Near Miss Corrective or Preventive                   those teams to provide that detail because they keep it in their own systems.
                                                                                                       Actions to be recorded or tracked; 4) While the ECP requires the MP&A           It is also not practical to ask those teams every time there is a near miss if
                                                                                                       Department to manage the Environmental Near Miss Program, the procedure         they are doing extra investigations. This type of tracking will be more
                                                                                                       “COM-1101, Reporting of HESS and Operational Events, near Misses and            practical within SeaEvent. There’s no reason AIR-04 can’t be adjusted to
                                                                                                       Ship Inspections” delegates the management of Near Misses to Groups and         specifically note corrective and preventive action requirements. The
                                                                                                       Brands and does not specifically require Corrective and Preventive Actions;     “Immediate Action” and “Recommendations” section on the form provides
                                                                                                       5) “HMP-1105, Non-Conformities, deficiencies, Corrective and Preventive         corrective and preventive actions for each near miss. This covers the
                                                                                                       Actions “ identifies the ISM Code, but fails to identify Near Miss              majority of near misses and no further action is required. Global HESS is not
                                                                                                       occurrences as a means for identifying findings; 6) ISM Code Element 9          designed to track near-miss data. This will be resolved within SeaEvent due
                                                                                                       requires hazardous situations (which can be identified by near miss             for release at the end of 2018 or the beginning of 2019. Preventive Action is

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                                                                                                       observations) to be investigated for corrective action to prevent              to review if COM 1101 or AIR 04 needs to be updated to reflect the
                                                                                                       reoccurrence.                                                                  concerns in the audit finding.
       25.           Holland America Group                        ECP Attachment 3,                    Not all Ship-Board Personnel were found to have completed all ECP training     Root Cause Analysis indicated shipboard and shoreside personnel work             Complete - Pending
                      Offices Seattle/Santa                       Employee Training                    as required. On random sampling, six (6) crew members on one (1) vessel        continuously to ensure that all crew is trained as required by ECP TRGs and      Verification
                             Clarita                                  Program                          had not completed the training before assuming their duties or within seven    that the training is properly recorded. Ships create paper rosters to record
                          (01.15.2018)                                                                 (7) days of reporting on board as required by the ECP.                         sessions and transfer that information into the electronic databases using a
                                                                                                                                                                                      variety of methods depending on the fleet. Shoreside personnel sends
                                                                                                                                                                                      training completion summaries to each fleet on a daily basis Monday-Friday.
                                                                                                                                                                                      Shipboard and shoreside personnel work collaboratively to ensure that all
                                                                                                                                                                                      personnel is trained and that the training is recorded as required.
       26.           Holland America Group                        ECP Attachment 2,                    Upon the implementation of GLOBAL-HESS in September 2017, each                 Root Cause Analysis indicated a failure to manage the implementation of the      Complete
                      Offices Seattle/Santa                       Document Control                     Operating Line (OL) lost the authority to assign primary owners to new and     Corporate-wide SMS. All revisions and updates are available in the HESS
                             Clarita                                                                   revised procedures. At that time, that responsibility was transferred to       as monthly updates. The individual tagging for each procedure started with
                          (01.15.2018)                                                                 Carnival Corporate. However, it was found that the tagging process had         the ENV procedures in mid-January 2018. The AG team is tagging all
                                                                                                       been not in place for the period between September 2017 and January 2018.      individual procedures by section. The MED and the MAR procedures will
                                                                                                       As a consequence, Company personnel did not receive updates in their “My       be tagged next. It is expected that all procedures will be tagged within 2
                                                                                                       Primary Document Updates” page within Global HESS. Primary owners              months.
                                                                                                       were found not added into the most recent update of GLOBAL-HESS
                                                                                                       procedure “ENV 1502, Bio-fouling Management” (updated on Oct 27,
                                                                                                       2017). Primary Owners were found added on January 11, 2018, for HA
                                                                                                       Group and on January 16 for all brands into the most recent update of
                                                                                                       GLOBAL-HESS procedure “ENV-1001, Worldwide Cruising
                                                                                                       Environmental Standards” (December 12, 2017). Evidence was provided
                                                                                                       showing that Carnival Corp, Maritime Compliance, is currently in the
                                                                                                       process of reviewing all HESS-MS procedures and retagging them with the
                                                                                                       correct positions.
       27.           Holland America Group                        ECP Section V.B.3                    The PO 4751-00688 issued on Oct 14th, 2016, with regard to an ECP spare        Root Cause Analysis indicated the item was ordered alongside other items         Complete
                      Offices Seattle/Santa                                                            part for the ship KONINGSDAM, was found 462 days overdue. The order            which were not ECP critical and resulted in the ordering process being
                             Clarita                                                                   was approved on Feb 24th, 2017 but due to issues with the vendor and           delayed. All items have been delivered and received onboard. PO 4751-
                          (01.15.2018)                                                                 subsequent change of supplier in August 2017, the procurement department       00688 was located, and either the audit expedited to the vessel or a
                                                                                                       was able to order the parts on Oct 25th, 2017. As per the most recent          replacement PO raised. PO was received in full on 2/7/2018 with exception
                                                                                                       information in the AMOS system, the expected delivery date onboard was         of line item # 1 filter element o-ring seal $2.72 which has since been
                                                                                                       January 24th, 2018.                                                            delivered as well.
       28.           Holland America Group                        Non-compliance to                    On June 1, 2016, the Company entered into a contract with the Waste            Root Cause Analysis indicated Senior Director of Environmental Operations        In Progress
                      Offices Seattle/Santa                      Company procedures                    Service provider Stericycle for Waste Management Services to all HAG’s         conducted meetings with Stericycle in the HA Group offices, along with Port
                             Clarita                                                                   ships. GLOBAL HESS procedure “ENV1004, Environmental Management                Ops in March 2017. This was considered as de facto due diligence activity
                          (01.15.2018)                                                                 of Waste Vendors” requires that an assessment program for waste vendors        at the time because ENV-1004 did not provide clear guidelines for what this
                                                                                                       has to be done by using the “Due Diligence Audit for Waste Vendors” form.      type of inspection should consist of. Stericycle conducted another visit
                                                                                                       No evidence was provided that the due diligence audit was conducted before     November 28 to begin discussions regarding the option year (beginning
                                                                                                       entering into the agreement with Stericycle.                                   6/1/18) in our agreement along with possible extensions. Senior Director
                                                                                                                                                                                      Environmental to attach proposal submitted for inclusion in ENV-1004 as
                                                                                                                                                                                      per PAP. Carnival Corp is in the process of updating ENV 1004
                                                                                                                                                                                      Management of Waste Vendors and both the Environmental and Port Ops
                                                                                                                                                                                      team submitted comments to improve the procedure. The current procedure
                                                                                                                                                                                      is not prescriptive about the roles and expectations so this will be clarified

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                                                                                                                                                                                        going forward including the worksheet that will be used to document this
                                                                                                                                                                                        diligence occurred. As this revision is under Carnival Corp significant time
                                                                                                                                                                                        should be provided to allow time for review and publication.
       29.                      Arcadia                           ECP Section IX.H.2                   Newly commissioned (January 20, 2017) Static OWS sample line did not             Root Cause Analysis indicated this event occurred because the                     Complete
                              (01.21.2018)                                                             have a seal.                                                                     Project/Commissioning Protocol did not contain the work step to apply the
                                                                                                                                                                                        appropriate controls to the new system. Seal to be fitted to sample line.
                                                                                                                                                                                        Project/Commissioning Protocol updated to include placing appropriate
                                                                                                                                                                                        seal/s on OWS.
       30.                      Arcadia                           ECP Section IX.H.2                   OWS Bilge overboard valve is padlocked but not tamper proof. Valve               Root Cause Analysis indicated the risk of removing the valve handle was not       Complete
                              (01.21.2018)                                                             handle could be removed without unlocking padlock and replaced with a            identified during the initial vulnerability assessment. The nut on top of valve
                                                                                                       different handle to open the valve.                                              handle has been welded shut. All handles on overboard valves checked and
                                                                                                                                                                                        spot welded to prevent tampering.
       31.                      Arcadia                           ECP Section IX.D.2                   Signs above the Bilge-Main Cross Connection do not have 3” lettering as          Root Cause Analysis indicated the requirements of the ECP were not strictly       Complete
                              (01.21.2018)                                                             required by the ECP. The letters on the display sign of these valves were        adhered to, most likely due to the overall sign being a reasonable size to fit
                                                                                                       found to be about 2” only.                                                       the space in which it was fitted. Signage replaced with compliant
                                                                                                                                                                                        dimensions. Fleet-wide notification issued to remind fleet of the 3-inch rule.
       32.                      Arcadia                        ECP Section VIII.B.2.g                  HAZMAT waste storage area in the garbage room was found to be unlocked           Root Cause Analysis indicated the procedure not followed and the key left in      Complete
                              (01.21.2018)                                                             and unattended. Auditor opened HAZMAT storage space and informed EO              an unsecured place. Waste Operators reminded to ensure hazardous waste
                                                                                                       that space was unsecured and unattended. Auditor waited with EO for              store is locked when not in use. Review the feasibility of installing keypads
                                                                                                       garbage room supervisor to secure room. Found further evidence of lacking        for entry into hazmat store, providing each waste operator with a key or
                                                                                                       adherence to procedures; key hooks across from HAZMAT storage area               providing a “key safe” outside the room.
                                                                                                       labeled for hanging the key unattended.
       33.                      Arcadia                           ECP Section IX.I.1                   Separator backwash tank XA/429 was not included in the daily sounding log        Root Cause Analysis indicated a lack of oversight and the requirement was         Complete
                              (01.21.2018)                                                             and no record of any transfers coming into this tank.                            not identified. The Backwash Tank is listed on the IOPPC. The tank
                                                                                                                                                                                        contents are to be logged daily, and any transfers are to be recorded in the
                                                                                                                                                                                        ORB.
       34.                      Arcadia                           ECP Section IX.B.1                   Found three (3) entries of the Critical Valves and Tank Hatches Lock Log         Root Cause Analysis indicated the format of the log is not conducive to ease      Complete
                              (01.21.2018)                                                             not properly entered. A log entry was made for the locking of a valve or         of use which has led to a lack of clarity. All Engineering Officers reminded
                                                                                                       tank without an entry that it was unlocked or an entry was made stating a        of the requirement to correctly record the opening and closing of tanks and
                                                                                                       valve or tank was unlocked without an entry indicating it was locked.            valves of controlled items. Ship to segregate log to allow a single sheet to be
                                                                                                                                                                                        used for each locked item.
       35.                      Arcadia                           ECP Section IX.C.6                   Black water overboard line – intermediate flange has no seals.                   Root Cause Analysis indicated the Vulnerability Assessment failed to              Complete
                              (01.21.2018)                                                                                                                                              identify the flanges on the black water overboard line. Black water
                                                                                                                                                                                        overboard intermediate flange to be controlled. Black water overboard line
                                                                                                                                                                                        reviewed to ensure that all appropriate controls are in place and added to the
                                                                                                                                                                                        vulnerability study.
       36.                      Arcadia                           ECP Section IX.F.1                   Test valves on the black and grey water testing lines have seals, but they are   Root Cause Analysis indicated the Vulnerability Assessment failed to              Complete
                              (01.21.2018)                                                             not tamper proof (black/grey water testing lines).                               identify the sample cock/stub piece as a vulnerability. Pipe fitting has been
                                                                                                                                                                                        welded shut. Appropriate controls ensured to be in place and added to
                                                                                                                                                                                        vulnerability study.
       37.                      Arcadia                           ECP Section IX.B.1                   Boiler blowdown overboard valve is not sealed.                                   Root Cause Analysis indicated the Vulnerability Assessment failed to              Complete
                              (01.21.2018)                                                                                                                                              identify the boiler blowdown overboard valve as a vulnerability. Breakable
                                                                                                                                                                                        seals applied to the boiler blowdown valve. Preventive action is to check
                                                                                                                                                                                        that Boiler system is adequately controlled.


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     38.                 Caribbean Princess                    ECP Section VIII.B.2.a                  The number 3 stern thruster shaft seal is leaking lube oil that is gathering in   Root Cause Analysis indicated seal positioning allowed leakage of oil inside    Complete
                           (02.06.2018)                                                                the bilge aft of the thruster motor and requires frequent cleanup. The repair     the vessel into the bilge. OEM contacted to assess leakage and re-position or
                                                                                                       is scheduled at the next dry-dock in 2018.                                        replace the seal. OEM to repair or replace seal if necessary.
       39.               Caribbean Princess                     ECP Section VIII.B.2.i                 Hazardous waste log for Red Bags/Biohazardous waste indicates there               Root Cause Analysis indicated three red bags were either miscounted or not      Complete
                           (02.06.2018)                                                                should be 2 bags in the hazardous waste locker but there are 5.                   logged in the red bag/biohazard log. Staff Engineer reviewed proper log
                                                                                                                                                                                         entries for a period of 1 month. Task Manager duty for Garbage
                                                                                                                                                                                         Reconciliation in the HESS-MS implemented.
       40.                     Prinsendam                      ECP Section IV.A.2.j.ii.                During the interview with the Environmental Officer, the reports “ENV-            Root Cause Analysis indicated there is no specified location currently          Complete
                              (03.12.2018)                                                             1008-A3–Weekly Environmental Compliance Report” prepared by the                   documented on where or how these inspections will be logged or procedure
                                                                                                       vessel’s EO and submitted to the Master and Chief Engineer via email were         in place to review the ER alarm printouts relevant to waste management.
                                                                                                       sampled and reviewed. It was noted that in the reports there is no evidence       The EO to log the date and time of the completion of these inspection items
                                                                                                       that the EO: 1) Observed the operation of the OWS and OCM for a period of         in the comment section of their weekly assessment 1008-A3 until another
                                                                                                       one (1) hour including the start and stop; and 2) Reviewed Engine Control         more formal process is developed. Carnival Corp is rewriting the 1008-A3
                                                                                                       Room data relevant to waste management and ER alarm printout as per the           form to provide a location for recording the weekly test of the OWS.
                                                                                                       ECP requirements.                                                                 Additionally, this duty has been requested to be added to the HESS-MS Task
                                                                                                                                                                                         Manager by the Director ECP. The recording of the ECR data has not been
                                                                                                                                                                                         discussed yet so will be brought to the attention of the OLCM to determine a
                                                                                                                                                                                         solution.
       41.                     Prinsendam                      ECP Section VIII.B.2.h                  The Company/vessel has decided some vulnerabilities to unauthorized               Root Cause Analysis indicated that due to interpretation differences between    Complete
                              (03.12.2018)                                                             disposal of oily waste are only vulnerable if a portable pump and hoses are       HA Group and ABSG with regards to identifying vulnerabilities, this item
                                                                                                       used. As per the Company’s Operational Directive OD ENV/02/16, since on           requires clarification of the ECP. OLCM to liaise with CCM and ABSG
                                                                                                       the ship unauthorized usage of portable pumps is prevented by controlling         during the meeting in mid-April 2018.
                                                                                                       pump usage, the feeling is that enforcing this policy then controls these
                                                                                                       vulnerabilities. The ECP states to “seal, tag, or lock a vulnerability,” but it
                                                                                                       does not say it is OK to use a virtual lock instead.
       42.               Carnival Splendor*                       ECP Section IX.H.2                   There is no seal on the OCM sample line that monitors the condensate              Root Cause Analysis indicated oversight by RINA and Lloyds teams who            Complete
                            (04.28.2018)                                                               collection tank discharge.                                                        conducted the Vulnerability assessments. The seal was placed on the sample
                                                                                                                                                                                         line and all the other OCM sample lines on board the ship will be checked
                                                                                                                                                                                         for similar vulnerabilities, and corrected if needed.
       43.               Carnival Splendor*                       ECP Section IX.H.1                   The OCM sample line for the condensate collection tank is not completely          Root Cause Analysis indicated oversight by the RINA and Lloyds teams            Complete
                            (04.28.2018)                                                               painted a bright color.                                                           who conducted the Vulnerability assessments. The OCM samples line was
                                                                                                                                                                                         painted a bright color and all OCM samples lines on the ship will be checked
                                                                                                                                                                                         to determine if similar issues exist.
       44.               Carnival Splendor*                       ECP Section IX.D.3                   A bilge crossover valve was not sealed. The valve appears to be not readily       Root Cause Analysis indicated oversight by the RINA and Lloyds teams            Complete
                            (04.28.2018)                                                               reachable and may contribute to this non-conformity. The bilge crossover          who conducted the vulnerability assessment. The crossover valve was
                                                                                                       valve was not logged by the EO in the ECS log as to the current position or       sealed and all other crossover valves will be checked on the ship and ensured
                                                                                                       history of the valve.                                                             that they have been sealed or controlled.
       45.               Carnival Splendor*                       ECP Section IX.D.3                   Auxiliary boiler blowdown overboard valves: There were no seals placed on         Root Cause Analysis indicated ineffective procedure. The ECP does not           In Progress
                            (04.28.2018)                                                               overboard valves and flanges.                                                     clearly identify the boiler blowdown valve. Cross brand working group
                                                                                                                                                                                         meet at the end of August 2018 to discuss streamlining and standardizing
                                                                                                                                                                                         interpretation of the vulnerability controls. CAM team will also be attending
                                                                                                                                                                                         the meeting. Controlling of Boiler blowdown valves will be discussed
                                                                                                                                                                                         during that meeting. The boiler blowdown valves will be controlled
                                                                                                                                                                                         depending upon decisions taken at the working group. Fleet wide actions
                                                                                                                                                                                         will be taken accordingly.

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     46.                 Carnival Triumph*                      ECP Section VIII.B.2.t                 Procedures and Equipment Related to Oil Transfers. The Oil Bunkering              Root Cause Analysis indicated procedures were not followed due to                  Complete
                           (05.03.2018)                                                                Procedures records were found to be missing and incomplete. Specifically,         oversight. All officers and engineers will be retrained on how to complete
                                                                                                       the Bunker Plans were not completed properly. The signatures of the               the checklists related to the procedure. A fleet-wide CMS notice was sent
                                                                                                       Stability Officer and the Chief Engineer were missing from many bunker            out highlighting the importance of completing all checklists related to the
                                                                                                       plans. Additionally, bunker plans were not always being retained with the         procedure.
                                                                                                       bunkering checklists, delivery notes, and other documentation as required.
                                                                                                       Bunker Checklist TEC-1402-A2 is not properly filled out or completed as
                                                                                                       prescribed in policy number TEC-1402 Fuel Bunkering. The Chief
                                                                                                       Engineer’s signature prior to and after completing bunkering operations is
                                                                                                       missing from many of the bunker checklists that were examined.
       47.               Carnival Triumph*                        ECP Section X.A.1                    Outdated HESS procedures were observed posted in various locations,               Root Cause Analysis indicated lack of oversight by ship staff. All outdated        Complete
                           (05.03.2018)                                                                including outdated TEC 1402 Fuel Bunkering procedures in the bunker               procedures that were posted in the locations were removed. EO will conduct
                                                                                                       stations and in the Engine Control Room for use by the watchstander.              more frequent checks to ensure that outdated procedures are not posted in
                                                                                                                                                                                         relevant locations.
       48.               Carnival Triumph*                   ECP Section VIII.B.2.i &                  During a random audit of the MARPOL fuel samples, numerous seal                   Root Cause Analysis indicated lack of oversight by ship staff. The samples         Complete
                           (05.03.2018)                      MARPOLAnnexVIRegula                       numbers recorded in the Tracking and Control Record did not match the             were rechecked and the log was updated accordingly. EO will conduct more
                                                                   tion18.8.1                          seals on the samples stored onboard the ship.                                     frequent checks to ensure that the samples are stored as per protocol and the
                                                                                                                                                                                         log is completed in its entirety.
       49.               Emerald Princess*                     ECP Section IV.A.2.j.ii                 In reviewing HESS-MS Procedure ENV-1008-A3-Weekly Environmental                   Root Cause Analysis indicated a lack of understanding of the procedure. EO         Complete - Pending
                           (05.23.2018)                                                                Compliance Report and in speaking with the Environmental Officer, it was          to spend a full hour observing OWS including start and stop as required by         Verification
                                                                                                       found that although the EO had conducted the required weekly unannounced          ECP and record it in the Weekly Environmental Report (ENV-1008-A1) sent
                                                                                                       machinery OWS visits, he did not fully meet the requirement of the ECP to         to the Captain and Chief Engineer. The requirements for this task have been
                                                                                                       observe the OWS operation for (1) hour to include the start and stop times.       clarified in ENV-1008 paragraph 2.4.3, published in early July. This will
                                                                                                                                                                                         include space on the weekly report ENV-1008-A1 to document that this
                                                                                                                                                                                         inspection occurred.
       50.               Emerald Princess*                     ECP Section VIII.B.2.g                  The Hazardous Waste Log was found with numerous missing or incomplete             Root Cause Analysis indicated an ineffective implementation of the                 Complete - Pending
                           (05.23.2018)                                                                entries, including the receiving and disposal of medical red bags, date of        procedure. EOs did not communicate the status of HWL during hand-over              Verification
                                                                                                       offloading, port of offloading, and EO’s signature for verification.              leaving incomplete entries. Issue discussed thoroughly in EO Conference
                                                                                                       Additionally, a superseded form was not being used since 12 Feb 2018              Call on June 14, 2018. An example Hazardous Waste Log sheet (including
                                                                                                       revision found in Global HESS. Note: A similar finding from a July 2017           red bag waste) will be created and distribute to the fleet. Creating a
                                                                                                       RAAS audit conducted onboard the vessel was found regarding inaccuracies          Hazardous Waste Log guide similar to Appendix 2 of GMP will serve as a
                                                                                                       in Hazardous Waste Log entries were reported to be corrected and closed by        preventive action. The log will list all wastes that need to be tracked in
                                                                                                       the Company/Ship. Should these errors continue to occur, the company may          Hazardous Waste Log and how to handle each specifically. It will also
                                                                                                       need to address this issue more thoroughly before it becomes a more               clearly state that every red bag generated in the medical department must be
                                                                                                       systemic issue.                                                                   logged regardless if it is incinerated or disposed of ashore.
       51.               Emerald Princess*                     ECP Section VIII.B.2.g                  The Photo Waste Log was found with numerous incomplete entries,                   Root Cause Analysis indicated the ineffective implementation of the                Complete - Pending
                           (05.23.2018)                                                                including the date of offload, quantity offloaded, and verification signatures.   procedure. EOs did not communicate the status of Photo Waste Log during            Verification
                                                                                                       Additionally, a superseded form was not being used since 30 Nov 2017              hand-over leaving incomplete entries. Notification will be sent to all EOs
                                                                                                       revision found in Global HESS.                                                    and SC/Es to ensure current log is being used as well as ensuring all entries
                                                                                                                                                                                         are filled out properly. EO and SC/E will ensure the log is updated and send
                                                                                                                                                                                         the log to the office to confirm completion. EO and SC/E assigned. In HOT
                                                                                                                                                                                         1301, a disclaimer added that the log must be filled out in its entirety at both
                                                                                                                                                                                         phases of data entry: 1) delivery of material to garbage room and 2) off-
                                                                                                                                                                                         loaded to waste vendor. These two events can have large time gaps between
                                                                                                                                                                                         them.

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     52.                 Emerald Princess*                         ECP Section IX.B                    The ship marked vulnerabilities that it deemed locked/under control due to     Root Cause Analysis indicated a difference of interpretation of the ECP          In Progress
                           (05.23.2018)                                                                the fact that they control the usage of portable pumps under the companies     requirements for vulnerabilities. The current methodology of controlling
                                                                                                       OD ENV/02/16 policy and they feel these points only become a vulnerability     points recognized in the VA by portable pumps is being discussed with the
                                                                                                       if a portable pump is used. This is not consistent under the ECP               CAM/TPA, and an action plan will be in place once resolved.
                                                                                                       requirement.
       53.                Golden Princess*                     ECP Section VIII.B.2.w                  The ballast water treatment system on board is type HG 250. The Ballast        Root Cause Analysis indicated the Ballast Water Management                       Complete - Pending
                           (05.30.2018)                                                                Water Management Plan states the treatment system on board is Hyde             Certificate/Document/Statement of Compliance Issued with the Wrong Type          Verification
                                                                                                       Marine, Guardian Type HG 250, however, the Lloyds Ballast Water                of Ballast Water Treatment System (BWTS) “ HG300”. The Ballast Water
                                                                                                       Management Certificate state a Hyde Marine Guardian Type HG 300.               Management Plan (BWMP) correctly states that the Ballast Water Treatment
                                                                                                                                                                                      System on the Golden is (HG250) but the follow up survey to issue
                                                                                                                                                                                      Statement of Compliance made an error with the Wrong Type of System “
                                                                                                                                                                                      HG300”. The ships were contacted and asked to have Local LR Surveyor to
                                                                                                                                                                                      Re-issue the Statement of Compliance after inspection. All PCL fleet that
                                                                                                                                                                                      requires re-issue at next Local SR Surveyor to be made compliant after
                                                                                                                                                                                      inspection.
       54.                Golden Princess*                      ECP Section VIII.B.2.i                 Oil Record Book (ORB) entries – Oily Water Separators monthly test             Root Cause Analysis indicated this audit finding is based on an assumption       Complete
                           (05.30.2018)                                                                required by the ECP was not recorded as required by Global HESS                that the March updates to ENV-1201-A3 are retroactive, which they are not.
                                                                                                       procedure ENV-1201-A3 Codes to be used for Oil Record Book Entries,            The March update provided a new format to be used when making the oil
                                                                                                       Revision date: March 2018.                                                     record book entries for monthly operational test of the OWSs and OCMs.
                                                                                                                                                                                      The new format requires an “I” entry to be made along with the
                                                                                                                                                                                      corresponding D15.X entry. The Auditor looked at the ship’s oil record
                                                                                                                                                                                      book entries from November to March and found no “I” entries were being
                                                                                                                                                                                      made and subsequently wrote his finding. Since the March updates to ENV-
                                                                                                                                                                                      1201-A3 did not exist in November, it was impossible to know the “I”
                                                                                                                                                                                      entries were required. Additionally, it is not possible to go back and change
                                                                                                                                                                                      the entries from November because the entries were correctly written based
                                                                                                                                                                                      on the guidance that existed for that time period. In March 2018, when the
                                                                                                                                                                                      updated ENV-1201-A3 was issued the ship correctly began following the
                                                                                                                                                                                      new oil record book guidance. After the guidance was issued, the ship
                                                                                                                                                                                      started making the D15.X entries along with the corresponding “I” entries
                                                                                                                                                                                      and continues to do so today.
       55.                Golden Princess*                      ECP Section VIII.B.2.j                 The Red Hazardous Bag Log reflected all red hazardous bags were                Root Cause Analysis indicated ineffective implementation of procedure.           Complete - Pending
                           (05.30.2018)                                                                incinerated the night before. The Hazardous Waste Locker was inspected         The issues was discuss thoroughly in EO Conference Call on June 14, 2018.        Verification
                                                                                                       and two (2) red hazardous bags were found. Should these errors in record       An example hazardous waste log sheet (including red bag waste) chill be
                                                                                                       keeping of hazardous material continue to occur, the company may need to       created and distribute to fleet, A hazardous waste log Guide similar to
                                                                                                       address this issue more thoroughly before it becomes a more systemic issue.    Appendix 2 of GMP will be created, which will list all wastes that need to be
                                                                                                                                                                                      tracked in the hazardous waste log and how to handle the specifically. It will
                                                                                                                                                                                      clearly state that every red bag generated in medical department must be
                                                                                                                                                                                      logged in hazardous waste log as well – regardless if it is incinerated or
                                                                                                                                                                                      disposed ashore.
       56.                Golden Princess*                        ECP Section IX.B.1                   LT coolers sea water discharge overboard lines - Found no ECS seals on         Root Cause Analysis indicated the ship is not required to have seals on the      Complete - Pending
                           (05.30.2018)                                                                connecting pipes and test valves.                                              LT coolers as per the existing Vulnerability Methodology. The discharge          Verification
                                                                                                                                                                                      piping from the LT coolers is protected by controlling the ship’s portable
                                                                                                                                                                                      pumps that would be needed to discharge through the LT coolers’ discharge
                                                                                                                                                                                      piping. There is no corrective action required, as the vulnerability presented

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                                                                                                                                                                                        by the LT coolers’ discharge piping is protected by controlling the portable
                                                                                                                                                                                        pumps in accordance with ENV 1203.
       57.                  MS Noordam*                      ECP Section Attachment 3                  No HESS-MS procedure/log or record could be produced that tracks the             Root Cause Analysis indicated shipboard personnel were unaware of the           Complete
                            (06.20.2018)                        Training Program                       additional position-specific training required for the operation, maintenance    change in the Holland America Line fleet from the historic use of
                                                                                                       and repair of oily water separators, oil content discharge monitoring            Environmental Equipment Qualifications (EEQs) to the use of “Standards
                                                                                                       equipment, incinerators and other pollution prevention equipment required        for Watchkeepers”, as defined in HA Group specific instructions in TEC-
                                                                                                       by the ECP.                                                                      1001 DI1, as the method to ensure that technical personnel are trained on the
                                                                                                                                                                                        operation, maintenance, and repair of pollution prevention equipment as
                                                                                                                                                                                        required by the ECP. Remind the Chief Engineer and Environmental Officer
                                                                                                                                                                                        on NODM about this change in approach to vessel familiarization and
                                                                                                                                                                                        training. Remind the Chief Engineers and Environmental Officers across the
                                                                                                                                                                                        HAL fleet about this change in the approach to vessel familiarization and
                                                                                                                                                                                        training.
       58.                  MS Noordam*                           ECP Section IX.B.1                   There are two (2) flanges in the food waste overboard discharge pipe that        Root Cause Analysis indicated oversight at vulnerability study. Ship to         In Progress
                            (06.20.2018)                                                               have no ECS attached, nor have they been marked as a vulnerability.              update the vulnerability study and relevant control measures and crew to be
                                                                                                                                                                                        trained on ENV-1204.
       59.                  MS Noordam*                        ECP Section VIII.B.2.s                  The fixed refrigerant leak detector for the provisional reefer space is not      Root Cause Analysis indicated equipment not suitable for application. New       In Progress
                            (06.20.2018)                                                               working. Shore technician was called, but after initial repair and failure       state-of-the-art system has been purchased and will be installed by
                                                                                                       shortly after, it was determined that the detector was obsolete and a newer      manufacturer upon delivery. In the interim, frequent rounds (twice a day)
                                                                                                       style needed to be purchased. In the interim, while awaiting action on shore-    are being performed using a portable detector.
                                                                                                       side procurement, vessel reefer techs are making two rounds/day with a
                                                                                                       portable leak detector.
       60.                  MS Noordam*                           ECP Section IX.G.1                   The vessel does not have a Sample Plan, or installed Sample Points for waste     Root Cause Analysis indicated oversight by management to have Sample            Complete - Pending
                            (06.20.2018)                                                               water sampling as required by the ECP and Carnival ECN #17.                      Plan/Sample Points in place. Technical Operations to identify all applicable    Verification
                                                                                                                                                                                        sample valve locations and standardize locations per class of vessels.
       61.                 Royal Princess*                         ECP Section IX.B                    Found two discrepancies in padlock log where entries were made for               Root Cause Analysis indicated the procedure was not followed and                Complete - Pending
                            (06.21.2018)                                                               unlocking a padlock without a corresponding entry indicating that the            ENV1204-A1 was not completed correctly. Chief Engineer is to review the         Verification
                                                                                                       padlock was locked:                                                              procedure, train, and log with relevant engine officers. Chief Engineer,
                                                                                                       On 2/25/2018 VA150 was unlocked at 0210; there was no entry for that VA          EOOW, & EO are to verify entries are complete and correct for
                                                                                                       point being locked.                                                              Locking/Unlocking. ENV-1204-A1 to be implemented accordingly
                                                                                                       On 3/3/2018 VA92 was unlocked at 1100; there was no entry for the VA             onboard.
                                                                                                       point being locked.
       62.                 Island Princess*                    ECP Section VIII.B.2.b                  Excessive hydraulic oil leakage of the stabilizers for both units were noted     Root Cause Analysis indicated Equipment failure. Theupper crux bearing lip      In Progress
                             (07.14.2018)                                                              during the walk through of the machinery spaces. The Chief Engineer stated       seal was found to be leaking internally to the Ship. The OEM of the
                                                                                                       that both stabilizers were leaking, causing oil to gather on top of the          stabilizers were contacted to provide a service intervention to check if it
                                                                                                       stabilizer housings. (Internal leak only and not in the bilges, only on top of   possible to repair the stabilizer oil leak while the Ship is in service. The
                                                                                                       housing.) Leaks have been present since leaving the ship yard in December        OEM stated replacement of lip seal inside upper bearing is possible while
                                                                                                       of 2017 and the crew cannot affect repairs while vessel is in operation. CE      the ship is in service if the lip seal outside upper bearing doesn’t leak to
                                                                                                       estimates the combined leakage from both units is approximately 55 gallons       avoid any risk of water ingress. It is possible that the leak comes from
                                                                                                       of oil weekly. Presently, the oil gathered on top of the stabilizer housing is   excessive clearance of the upper bearing; beyond a certain clearance the
                                                                                                       pumped into 55-gallon drums for disposal ashore or reused in the stabilizers     seals could leak. If the leak is coming from excessive clearance it will be
                                                                                                       units. No advisement of repairs from corporate was noted.                        necessary to change the bushings upper and lower bearing during the next
                                                                                                                                                                                        dry dock. Service will be scheduled as soon as delivery date for parts can be
                                                                                                                                                                                        confirmed. Seal will be checked by the OEM and replaced. If the seal


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                                                                                                                                                                                      replacement does not fix the leak then the liner will need to be replaced at
                                                                                                                                                                                      the next dry docking.
       63.                 Island Princess*                       ECP Section IX.B.1                   Recent installation of Backwashing System, for the Black Water MBR, has        Root Cause Analysis indicated procedure not followed (ENV-1101 2.4.4).             Complete - Pending
                             (07.14.2018)                                                              not been listed in the Vulnerability Assessment. Vulnerabilities have not      Vulnerabilities identified and added to Vulnerability Assessment. Chief            Verification
                                                                                                       been identified and no controls are in place.                                  Engineers to be reminded of their responsibilities under ENV-1101, 2.4.4 to
                                                                                                                                                                                      maintain the Ship’s Vulnerability Assessment and ensure the results are up
                                                                                                                                                                                      to date and when new equipment is introduced or upgraded.
       64.                 Island Princess*                     ECP Section VIII.B.2.t                 Sludge and Oily Water Discharge checklist not completed properly with          Root Cause Analysis indicated procedure not followed as per TEC-1401 -             Complete - Pending
                             (07.14.2018)                                                              times when signed. Check marks being used in lieu of initials as required by   SLUDGE AND OILY WATER DISCHARGE TO A PORT FACILITY and                             Verification
                                                                                                       form.                                                                          TEC-1401-A1 Sludge and Oily Water Discharge to a Port Facility Checklist.
                                                                                                                                                                                      All the Watch keepers have been instructed for the proper use/fill of the
                                                                                                                                                                                      checklists and HESS updates have been reviewed and discussed. Upon
                                                                                                                                                                                      completion of the check list all related documents for the discharge is filed in
                                                                                                                                                                                      one labeled separate polly pocket which makes overall easy to find/store in
                                                                                                                                                                                      case is needed. On each checklist folder/Sludge and Oily Water, Sewage
                                                                                                                                                                                      and Grey Water Disposal, Lubrication oil bunkering/ in the beginning are
                                                                                                                                                                                      attached the latest HESS TEC Technical Procedures updates. Laminated
                                                                                                                                                                                      checklist up to date with instructions on top and all fields that must be
                                                                                                                                                                                      completed highlighted is also attached on each checklist folder in front.
       65.                 Island Princess*                     ECP Section VIII.B.2.t                 Bunker Fuel Samples not being properly maintained or in accordance with        Root Cause Analysis indicated lack of supervision and improper attention to        Complete - Pending
                             (07.14.2018)                                                              Hess Instructions.                                                             managing the fuel oil samples. The Chief Engineer and the Environmental            Verification
                                                                                                                                                                                      Officer should have provided better supervision and the Engineer
                                                                                                                                                                                      responsible for managing the fuel oil samples did not ensure samples were
                                                                                                                                                                                      timely placed into the fuel cabinets after bunkering and fuel samples over 12
                                                                                                                                                                                      months old were discarded. The Chief Engineer required the following:

                                                                                                                                                                                      •   Fuel cabinets were emptied and inventoried with all samples over 12
                                                                                                                                                                                          months old discarded; this was done in June 2018.
                                                                                                                                                                                      • Samples were organized by month on the shelves to provide easier
                                                                                                                                                                                          checks. Each shelf was labeled with the month of the year.
                                                                                                                                                                                      • The Chief Engineer discussed with the Engineering Officer the
                                                                                                                                                                                          responsibilities of managing the fuel samples, and what can happen if
                                                                                                                                                                                          they are poorly managed.
                                                                                                                                                                                      • Posters were attached to the fuel cabinets to remind Engineers to
                                                                                                                                                                                          properly stow the samples by month. The Chief Engineer and
                                                                                                                                                                                          Environmental Officer are to provide supplementary supervision over
                                                                                                                                                                                          the management of the fuel samples. This includes asking questions
                                                                                                                                                                                          after bunkers have been taken and spot checking the fuel cabinets.
       66.                     AIDAvita*                       ECP Section VIII.B.2.i.i                The monthly testing of the OWS and OCM is improperly recorded in the Oil       Root Cause Analysis indicated the new recording requirement of the                 In Progress
                              (07.11.2018)                                                             Record Book. Reference is to the Company procedure ENV-1201 – Oily             monthly OWS/OCM test introduced by revision #11 of ENV-1201-A4
                                                                                                       Bilge Water Management, specifically to the ENV-1201- A3 – Codes to be         “ORB Guideline” was not promptly transferred to the Engine Department.
                                                                                                       used for Oil Record Book (ORB) entries.                                        Engineer was trained on the new requirement for recording and update of the
                                                                                                                                                                                      procedure/guideline, and following monthly test recoded according to
                                                                                                                                                                                      guideline ENV-1201-A4 / revision #11. The recording requirement of
                                                                                                                                                                                      OCM/OWS test will be refreshed fleetwide.

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     67.                     AIDAvita*                            ECP Section IX.C.3                   A Stub pipe was found on the Black Water #3 vacuum collecting tank               Root Cause Analysis indicated stub pipe was not considered unauthorized           In Progress
                            (07.11.2018)                                                               vacuum header.                                                                   because part of the initial vulnerability assessment, properly controlled and
                                                                                                                                                                                        regularly monitored. During the Audit on 07-JUL-2018 the stub pipe was
                                                                                                                                                                                        immediately removed and replaced by a welded blind flange. A formal
                                                                                                                                                                                        RAAS investigation is being conducted, that will define proper actions in
                                                                                                                                                                                        agreement with all internal stakeholders.
       68.                     AIDAvita*                          ECP Section V.B.3                    A critical spare part (Stator, item #8143-9364-180) for the bilge pump has       Root Cause Analysis indicated the critical spare part requested by the ship       In Progress
                              (07.11.2018)                                                             been on ordered since 26 January 2018. The part has not been received and        on January 26, 2018 was quickly approved and processed by shoreside
                                                                                                       the vessel ordered one more stator on 28 June 2018. The second stator has        personnel. The purchase order was issued on February 2, 2018 with priority
                                                                                                       not been approved by shore side personnel.                                       “Urgent” (less than one week after the ship requisition order). It was
                                                                                                                                                                                        acknowledged by the supplier on February 5, 2018. It arrived at the
                                                                                                                                                                                        warehouse on June 28, 2018 and on board on July 23, 2018 the spare part
                                                                                                                                                                                        arrived. Chief Engineer will acknowledge the receipt of the item. With the
                                                                                                                                                                                        help of Purchasing Department and other players, the OLCM will draft a
                                                                                                                                                                                        letter for the key suppliers of critical spare parts to inform about the issues
                                                                                                                                                                                        connected with this critical process and ask their help in quickly managing
                                                                                                                                                                                        the delivery of critical spare parts.
       69.                     AIDAvita*                       ECP Section IV.A.2.j.ii                 The review of the EO Weekly Environmental Compliance Reports (ENV-               Root Cause Analysis indicated lack of a proper way to record the date and         In Progress
                              (07.11.2018)                                                             1008-A3), no evidence was presented that fulfilled the requirements of the       time of this specific visit when the EO witnesses start and stop of
                                                                                                       ECP with regards to Unannounced Machinery Space visits. Specifically, it         OCM/OWS and reviews ECR display data. These activities also occur
                                                                                                       was not possible to identify the exact dates and times the EO witnessed start    during different visits. The Environmental Officer will start using the new
                                                                                                       and stop of OWS/OCM and reviewed of Engine Control Room display data             report ENV1008 A1 “weekly report”, that has a specific section dedicated to
                                                                                                       relevant to waste management.                                                    this activity, and send the reports ashore to the email address “environmental
                                                                                                                                                                                        records” for the next two months.
       70.                 Costa Atlantica*                      ECP Section VIII.H.5                  The annual 1-hour operational test of the Oily Water Separators in the           Root Cause Analysis indicated a different interpretation of the ECP               In Progress
                            (06.15.2018)                                                               presence of a shore-side representative, the Chief Engineer, the                 requirement made vessel believe that the deadline to perform the annual test
                                                                                                       Environmental Officer, and other engine room personnel responsible for the       was July 2018 and not the end of 2017 or April 18, 2018. The test was
                                                                                                       operation of the OWS has not been carried out.                                   performed on July 13th. Deadline for next annual operational test in PMS
                                                                                                                                                                                        will be changed to April 1, 2019 and an IC will be sent informing the ship
                                                                                                                                                                                        about the different interpretation.
       71.                 Costa Atlantica*                    ECP Section VIII.B.2.h                  The boiler blow-down valves and the priming valve for the ballast water          Root Cause Analysis indicated both points were not considered vulnerable          In Progress
                            (06.15.2018)                                                               treatment pumps were found unsecured and not identified in the                   points and therefore not controlled according to the common interpretation
                                                                                                       Vulnerability Assessment.                                                        of ECP requirements. A consistent approach to ECP ECS requirement will
                                                                                                                                                                                        be discussed during a working group led by Carnival Corporation and
                                                                                                                                                                                        attended by all brands. Following the results of the working group, the
                                                                                                                                                                                        vulnerable points will be controlled accordingly.
       72.                 Costa Atlantica*                     ECP Section VIII.B.2.t                 The vessel is utilizing an outdated version of the checklist for bunkering       Root Cause Analysis indicated lack of awareness that a new version of the         In Progress
                            (06.15.2018)                         and HESS TEC‐1401                     sludge and oily bilge water. In addition, the crew have routinely not been       procedure with a new checklist (different format, same content) was
                                                                                                       recording the start and stop times for the operation on the checklist.           published. The correct version of the checklist was put in use by the end of
                                                                                                                                                                                        the audit (June 16). A reminder will be sent fleetwide to raise awareness on
                                                                                                                                                                                        the checklist to be used.
       73.           Carnival Maritime Office                    ECP, Attachment 2 ‐                   Shipboard Covered Personnel hired after the implementation of the training       Root Cause Analysis indicated the current learning management system does         In Progress
                            Hamburg*                              Document Control                     program must complete ECP training within seven (7) days of commencing           not allow a quick overview and therefore a quick identification of training
                           (06.29.2018)                                                                their duties on a new contract. It was found that the monthly training records   gaps. Install a new learning management system fully interfaced with the
                                                                                                       indicated that ECP training had not been completed within the 7-day time

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    Row                    Location Name                                                                                                                                                                                                                                    & Preventive
   Number                   (Audit Date)                               ECP Section                                                 Final Audit Finding                                                   Corrective & Preventive Action Plan                                 Action Plan
                                                                                                       period as required by the ECP. A two-month sample (May and June 2018)          HR management system that allows queries and reports. Provide an interim
                                                                                                       was reviewed and identified the following:                                     solution pending the installation of the new LMS.

                                                                                                       •     Costa Atlantica - 36 personnel in May 2018 and 31 personnel in
                                                                                                             June 2018 did not complete the training within 7 days.
                                                                                                       •     Costa Deliziosa - 11 personnel in June 2018 did not complete the
                                                                                                             training within 7 days.
                                                                                                       •     Costa Luminosa - 24 personnel in May 2018 and 39 personnel in
                                                                                                             June 2018 did not complete the training within 7 days.

                                                                                                       It should be noted that records sampled indicated all vessels had completed
                                                                                                       the initial induction training on the first day.
       74.           Carnival Maritime Office                    ECP, Attachment 3 ‐                   During the audit several procedures were accessed utilizing the Global-        Root Cause Analysis and Corrective & Preventive Action Plan are currently         In Progress
                            Hamburg*                              Training Program                     HESS system. Attachments to procedures in the Global-HESS system               under review.
                           (06.29.2018)                                                                consisted of Word and Excel documents that were found to be fully editable
                                                                                                       once downloaded from Global-HESS. Of the procedures sampled, any Word
                                                                                                       document or Excel file attached to procedures were found fully editable on
                                                                                                       any person’s desktop computer thus allowing users to make un-authorized
                                                                                                       changes and use of altered documents which could lead to potential non-
                                                                                                       conformity. Un-authorized changes made to the original attachments housed
                                                                                                       in Global- HESS are not able to be uploaded back into the Global-HESS.
                                                                                                       Examples: ENV-1001 F1 and F2; TRG 2308 A1 A2 and A3; TRG 2309 A1,
                                                                                                       A2, and A3. This same non-conformity was found aboard the Emerald
                                                                                                       Princess and appears to be systemic throughout the fleets and corporation.
       75.                  Shore - ABG*                     ECP Section III.A.6 and 7                 A review of the assigned Corrective and Preventive action plans addressing     Root Cause Analysis indicated no formal procedure in place to centralize          In Progress
                             (05.04.2018)                         and VIII.F.1                         TPA ECP findings from the year 1 audits was conducted and a significant        root cause requirements for all audits conducted and there is lack of training
                                                                                                       number of Corrective and Preventive actions (where applicable) do not          for those assigned actions. De-centralized management of audit findings is
                                                                                                       specifically identify a corrective action nor a Preventive Action. There was   ineffective in allowing adequate oversight to ensure consistency. The
                                                                                                       no documented Root Cause Analysis available.                                   Company will assess and develop a basic root cause analysis training prior to
                                                                                                                                                                                      full implementation of the agreed upon tool (Preventive Action). Based on
                                                                                                                                                                                      the assessment an outside vendor will conduct training for all OLCM’s and
                                                                                                                                                                                      Environmental SME’s to agree upon interim RCA tool and proceduralize in
                                                                                                                                                                                      G-HESS procedure. A root cause analysis (RCA) framework is being built
                                                                                                                                                                                      into the “SeaEvent” HESS event reporting system which will be deployed
                                                                                                                                                                                      fleet-wide. The full application will be tested shoreside beginning in mid-
                                                                                                                                                                                      July 2018 and rollout is likely to take place after ship pilot tests through
                                                                                                                                                                                      2019. The RCA framework has a four-level design, but discussions are
                                                                                                                                                                                      ongoing to determine and agree a practical application of the framework that
                                                                                                                                                                                      can be easily trained and understood by ship’s officers. The design was
                                                                                                                                                                                      agreed within the cross-brand OH&S and SeaEvent project team but RAAS
                                                                                                                                                                                      was not consulted, so they will consult with Peter Fisken’s team to see if
                                                                                                                                                                                      they can agree with the framework and have consistency in RCA across
                                                                                                                                                                                      incidents, investigations and audits. For the purposes of determining root
                                                                                                                                                                                      cause by shipboard staff, the key points are as follows: It is anticipated that
                                                                                                                                                                                      the user will only complete the analysis down to the yellow Direct Cause

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   Number                   (Audit Date)                               ECP Section                                                   Final Audit Finding                                                  Corrective & Preventive Action Plan                               Action Plan
                                                                                                                                                                                      level and the detailed Intermediate and Root Causes are expected to be
                                                                                                                                                                                      completed only after review by the shoreside HESS owner/SME. For
                                                                                                                                                                                      Personal Injury incidents, it is anticipated that at shipboard level, the user
                                                                                                                                                                                      will complete at least to Intermediate/Indirect level as these incidents are,
                                                                                                                                                                                      generally, simpler to analyze.
       76.                  Shore - ABG*                         ECP Section VIII.F.3                  The finding “Observation-03” raised during the first year TPA audit            Root Cause Analysis indicated finding could not be closed by the person to       In Progress
                             (05.04.2018)                                                              completed on August 18, 2017, was reviewed and found in the closed status.     which is was assigned. Assignment of action plans to ABG personnel was
                                                                                                       However the preventive action completion date which was set on 31 Dec          not considered at the time of the HESS-MS audit tracking development.
                                                                                                       2017 was found not met. The preventive action for the Observation 03 was       There is no formal procedure documenting the audit workflow save for the
                                                                                                       found closed on Feb 28, 2018.                                                  logic in the platform itself. The Company should implement the ability for
                                                                                                                                                                                      ABG persons to be assigned audit findings and subsequent action plans and
                                                                                                                                                                                      create a specific HESS procedure for Third Party Environment Audits.




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    Row                  Location Name                                                                                                                                                                                                                                       & Preventive
   Number                  (Audit Date)                            ECP Section                                                       Final Audit Finding                                                    Corrective & Preventive Action Plan                               Action Plan
     1.                 Carnival Inspiration                    ECP Section VIII.B.2.i                 Record Keeping not at par levels. Documentation, checklists, and other           Root Cause Analysis indicated a documentation oversight. A startup               Complete
                           (10.20.2017)                                                                records were found to be of a lesser quality. For example, during the testing    checklist will be created for the OWS and posted near the equipment. All
                                                                                                       of the OWS, there was no evidence of a startup checklist being used to           documentation and certification related to the OCM were rearranged and
                                                                                                       ensure that piping for these pieces of equipment was properly lined up,          placed in dedicated binders. Once the startup checklist has been created, this
                                                                                                       permission to discharge received, and equipment started in the proper            will be posted by the equipment and utilized as needed. EO will conduct
                                                                                                       sequence. Additionally, although it was finally determined that all OCM’s        more frequent checks of the documentation to ensure that all certificates are
                                                                                                       were properly calibrated, the certificates and inspection documentation was      updated.
                                                                                                       in disarray. One OCM fitted to one of the White boxes had been recently
                                                                                                       replaced and not properly documented resulting in confusion and several
                                                                                                       hours before the Chief Engineer could present the proper certificates and
                                                                                                       documentation.
        2.                   Shore - ABG                        ECP Section III.B.1.;                  With reference to the document HESS‐MAHMP‐1302‐A1 Internal                       Root Cause Analysis indicted no formal procedure with regard to timelines        In Progress
                             (08.18.2017)                       HESS: HMP‐1302‐A1                      Investigations Matrix, investigations of severity level 4 are led by             for reporting. RAAS will update HMP 1303 to define O/L progress report
                                                                                                       independent RAAS investigators, while severity level 3 investigations are        frequency based on the investigation complexity (severity 1 through 4).
                                                                                                       generally Operating Line led investigations with RAAS providing                  Updated frequency will be provided and defined by three steps: 1. Evidence
                                                                                                       independent assurance. Although the sampled investigations were found to         Gathering; 2. Analysis; and 3. Reporting. VP of RAAS will provide updates
                                                                                                       be carried out in compliance with the internal policies and procedures,          of all severity 3 and 4 investigations during quarterly EVP meeting.
                                                                                                       relying on investigators as employees of the company’s Operating Line
                                                                                                       seems to be a determinant cause of delay in the completion of multiple
                                                                                                       investigations. No timeline for investigation completion has been defined in
                                                                                                       the internal procedure but the status‐quo could potentially lead to a conflict
                                                                                                       of interest and affect the “independence” requirement. RAAS (Risk
                                                                                                       Advisory and Assurance) is an independent department which reports
                                                                                                       directly to Carnival Corporation’s Board of Directors. The following RAAS
                                                                                                       department personnel have been interviewed: Chief Audit Officer, Vice
                                                                                                       President, Investigations Director, and ABG Hess Audit and QA Director.
                                                                                                       Awareness and high level of commitment toward the ECP were evident for
                                                                                                       each interviewee. The procedures and policies followed with regard to
                                                                                                       audits and investigations were explained and sampled to verify the
                                                                                                       compliance with the ECP requirements. RAAS is constantly in contact with
                                                                                                       the MP&A department to review procedures and policies as results of audit
                                                                                                       finding and investigation results. Audit and QA department: In 2013 the
                                                                                                       RAAS auditing branch’s structure has been completely revised. Since then,
                                                                                                       teams of independent auditors reporting to RAAS were established and are
                                                                                                       currently present at each Operating Line. Audits and follow‐up visits are
                                                                                                       carried out on each vessel to ensure compliance with international
                                                                                                       regulations and internal processes and procedures. Each Operating Line has
                                                                                                       an ISO 14001 certified EMS (Environmental Management System) which is
                                                                                                       audited as required by the international regulations. The January 2017
                                                                                                       quarterly review report was provided and HESS audit results presented
                                                                                                       including trend analysis for each operating line and across the fleets with
                                                                                                       regard to Environmental findings. Investigation department: The company’s

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                                                                                                       internal procedures and policies for investigations on vessel casualties, oil
                                                                                                       pollution incidents, and open report reports were presented and reviewed.
                                                                                                       Investigations on Environmental, as well as Health Safety and Security,
                                                                                                       incidents are carried out in accordance with the internal procedure HMP
                                                                                                       1303 – Event Investigation and the relevant Internal Investigation Matrix
                                                                                                       which defines 4 severity levels.
        3.              Shore - Carnival UK                       ECP Attachment 3,                    A review of training records indicated that 23 of 148 covered shore side           Root Cause Analysis was not applicable because the observation is related to    Complete
                           (09.15.2017)                           Employee Training                    personnel had not completed all modules of required ECP training. While            non-realized risk. An updated statement on the status of ECP training with
                                                                  Program - page 49.                   progress to ECP mandated training was displayed, this observation                  be made.
                                                                                                       highlights that the deadline for required training for all covered personnel is
                                                                                                       approaching the first six (6) months of the probationary period on 18
                                                                                                       October 2017 and all required personnel had yet been trained.
        4.                  Carnival Pride                         ECP Section IX.M                    While reviewing the records, it was observed that there is a minor oil loss        Root Cause Analysis indicated fishing net and other debris entanglements        In Progress
                            (07.30.2017)                                                               from the main engine #2 sealing system. The record indicates a loss of oil         with the propeller during ship operation damage the seal. The seal has been
                                                                                                       about 12-15 liters/month from #2 propeller sealing system. It was reported         in use for 3 years; subsequently, wear and tear have caused a slight increase
                                                                                                       to the OLCM by the vessel. The shore-based professional divers have                in leakage. As per Azipod makers, ABB, oil consumption of up to 6 liters
                                                                                                       carried out under-water inspection for any oil leaks to the seaside. The           per day is normal. Divers have been engaged repeatedly to check if there is
                                                                                                       record shows that there are no oil leaks to the sea. As per Chief Engineer, it     oil leaking from the seal and confirmed that no oil leak has been observed.
                                                                                                       is believed that the oil loss is internal, and the investigation is in progress.   As per recommendation from ABB, the valves supplying oil to the Aft
                                                                                                                                                                                          propeller sealing system are kept shut and opened for one minute every four
                                                                                                                                                                                          hours when the Azipods are in operation. This has reduced the internal oil
                                                                                                                                                                                          consumption. At Port, the valves are kept shut at all times to prevent oil
                                                                                                                                                                                          leakage externally. An excel spreadsheet is being maintained by the ship to
                                                                                                                                                                                          check the oil consumption and also the water content in the oil. Both Port
                                                                                                                                                                                          and Starboard Azipod propeller seals have been planned to be replaced with
                                                                                                                                                                                          new seals during the dry dock for this vessel tentatively scheduled around
                                                                                                                                                                                          June 2019 in order to keep oil consumption to a minimum.
        5.                    CCL - Shore                         ECP Attachment 3,                    No procedure exists to identify how new hires are to be designated as Shore        Root Cause Analysis indicated the requirement to have a formal procedure to     Complete
                              (11.06.2017)                        Employee Training                    side Covered Personnel.                                                            address this process was not identified explicitly in the ECP. However, CCL
                                                                  Program - page 49.                                                                                                      did have a process in place, but this process was not incorporated into a
                                                                                                                                                                                          HESS procedure or formal protocol. New hire list is sent from the HR
                                                                                                                                                                                          Department to the Environmental Compliance team on a weekly basis. Once
                                                                                                                                                                                          a new position/individual is identified, they are immediately added to the
                                                                                                                                                                                          Covered Personnel list, and an account is created for them in GLADIS. If
                                                                                                                                                                                          the position already exists and is considered covered, then the individual is
                                                                                                                                                                                          added to the covered personnel list. If the position is new, then the Job
                                                                                                                                                                                          Description is requested from HR and reviewed by the Environmental
                                                                                                                                                                                          Compliance team to determine if that position involves the operation and
                                                                                                                                                                                          technical management of the Covered Vessels. If yes, then that individual
                                                                                                                                                                                          and position are added to the list. New hires are required to complete the
                                                                                                                                                                                          ECP training on their first day before they assume their duties. We will
                                                                                                                                                                                          incorporate the above process into a company operational directive (in
                                                                                                                                                                                          HESS) for identifying and designating newly hired Covered Personnel.



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     6.                     CCL - Shore                           ECP Attachment 3,                    The Training Manager uses the application Crew Personnel System (CPS)               Root Cause Analysis indicated a lack of an automated process. Training            Complete
                            (11.06.2017)                          Employee Training                    for tracking the successful completion of training of shipboard                     tracking spreadsheet to be prepared for EOs to fill out and submit to
                                                                  Program - page 49                    crewmembers. Verifying deficiency reports require a good deal of manual             Operating Line Training Manager (OLTM) on a weekly basis. OLTM will
                                                                                                       validation between the shoreside support team and the EOs to ensure                 use deficiency reports in CPS to validate information provided by the EOs.
                                                                                                       accuracy.                                                                           Compliance reports for ECP TRG courses will be built into the CPS system
                                                                                                                                                                                           based on mapping of positions to required training. Both shipboard and
                                                                                                                                                                                           shoreside personnel would be able to run compliance reports using this
                                                                                                                                                                                           reporting function.
        7.                  Crown Princess                     ECP Section VIII.B.2.a                  It was noted during the walkthrough of the engine spaces that there were            Root Cause Analysis indicated pinholes within potable water piping caused         Complete
                             (11.18.2017)                                                              numerous hose clamps/clips used to repair leaks on potable water lines. The         by corrosion. Plans are in place for piping replacement during dry-dock;
                                                                                                       ship is scheduled to go into the shipyard during March or April of 2018.            however, these cannot always be replaced while the vessel is in operation.
        8.           Carnival Maritime Office                     ECP Attachment 3,                    The Training Manager uses a system (MISTRAL, EXPERT, and extracted                  Root Cause Analysis indicated a lack of a better Learning Management              In Progress
                             Hamburg                              Employee Training                    spreadsheets) for tracking successful completion of crew training which is          System (“LMS”) to allow easier monitoring of the training on board and
                           (10.23.2017)                           Program - page 49                    used by Training Officers (Environmental Officers for ECP training on               ashore. The OLTM will monitor the implementation of the new LMS.
                                                                                                       vessels). However, extracting meaningful compliance and deficiency
                                                                                                       information from reports is cumbersome, and discrepancies are found
                                                                                                       between shoreside and shipboard reports.
        9.                       Aurora                            ECP Section IX.M                    The corrective action for both leaks are to make the proper repairs and refill      A Root Cause analysis will be carried out on the cause of the leaks in order      Complete
                              (10.22.2017)                                                             head tank but no root cause investigation to analyze the leaks in order to          to prevent further leaks from the stabilizer system. Oil to sea interface head
                                                                                                       prevent further leaks from developing in the system.                                tanks were examined to the extent possible. All were found in good
                                                                                                                                                                                           condition. A review of the logs indicated there was one incident on Port
                                                                                                                                                                                           Stabilizer header where oil leaked internally to Bilge/Catchment. Another
                                                                                                                                                                                           leak was logged for the STBD Stabilizer internally to Bilge/Catchment. The
                                                                                                                                                                                           leaks were less than 25 liters in volume, and the leakage was internal into the
                                                                                                                                                                                           vessel. Both instances were investigated and corrective actions were taken
                                                                                                                                                                                           and logged. No discharges to sea were reported or evident. Weekly
                                                                                                                                                                                           soundings are taken, monthly maintenance of oil quality is carried out by
                                                                                                                                                                                           draining off small quantities, and refilling where noted. Logs were found in
                                                                                                                                                                                           order. Leaks will be repaired as soon as possible.
       10.                 MS Amsterdam                        ECP Section VIII.B.2.g                  The garbage room was found cluttered and overloaded with storage of waste           Root Cause Analysis indicated additional garbage is having to be held             Complete - Pending
                            (01.04.2018)                                                               and recycling. This creates a poor work environment and could possibly lead         onboard due to incinerator being removed. Additional restrictions caused by       Verification
                                                                                                       to errors or even injuries. This situation is due to the lack of storage and loss   EGCS piping limits storage space. Vessel to improve storeroom
                                                                                                       of space due to the installation of the Exhaust Gas Cleaner System piping           management and increase garbage offloads where necessary. Superintendent
                                                                                                       that now runs through the garbage room. The cold storage area is the                to review the future possibility of a storeroom expansion.
                                                                                                       smallest encountered to date.
       11.                    Sun Princess                        ECP Section X.A.1                    The EO appeared frustrated at times during the audit but provided                   Root Cause Analysis indicated EOs have had their workload adjusted to take        Complete
                              (11.05.2017)                                                             documentation at requested by the auditor. He seems to have a good working          into account the oversight requirements of the ECP, and several previous
                                                                                                       relationship with the engineering personnel and the Staff Engineer who was          areas of responsibility have been removed. Senior Director Environmental
                                                                                                       responsible for waste management. During the interview, the master seemed           and Director ECP to arrange a one on one call with the EO to establish areas
                                                                                                       concerned that the EO was overloaded with responsibilities and that he              where assistance can be provided to allow the EO to ensure their role is
                                                                                                       should have an assistant.                                                           completed in a timely manner.
       12.           Holland America Group                      ECP Section XII; Non-                  Although the Mod Props procedure (HAG-MRD-1003-DI1) seems sufficient                Root Cause Analysis indicated the current ModProps program which PCL              In Progress
                      Offices Seattle/Santa                    compliance to Company                   for permanent modifications, it is not readily applicable to temporary              uses was not designed for temporary modifications. The Modification
                             Clarita                            procedures MRD-1003                    modifications. The procedure does not specify which actions are to be taken         requests were made by ship to office on an emaiL and were approved. There
                          (01.15.2018)                                                                 with regard to the Classification Society in case of a temporary repairs.           is no policy that this temporary modification needs to be stored for long time

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                                                                                                       Reference is to the Non-conformity raised onboard the ship STAR                   usage. The Company is working on a new, rewritten Web-based program as
                                                                                                       PRINCESS on Jan 08 during the TPA vessel audit. The temporary                     the current program runs in LOTUS environment. The new program will be
                                                                                                       modification was made to the OWS.                                                 completed in June, 2018. The Company will incorporate the temporary
                                                                                                                                                                                         modifications too. This program will be used by all 4 brands.
       13.                      Arcadia                             ECP Section V.B                    The manufacture of many of the valve repair kits on the critical parts list are   Root Cause Analysis indicated not all equipment is supported throughout               Complete
                              (01.21.2018)                                                             no longer producing the kits. Since the ship cannot order the repair kits the     entire life and vendors do not supply an obsolescence plan. It will be
                                                                                                       ship has ordered entire valve systems. The backorder for valves is now in         ensured that the ship is provided with either the correct spare parts or new
                                                                                                       excess of 90 days. The company is aware of the backlog.                           valves are supplied to the ship, and the critical spares list is updated to reflect
                                                                                                                                                                                         either new valves or correct spare parts.
       14.                      Arcadia                             ECP Section V.B                    The critical list has not been updated since the refit yard period in November    Root Cause Analysis indicated an updated critical spares list review had              Complete
                              (01.21.2018)                                                             2017. New equipment installed during that time include OWS upgrades and           been conducted prior to the audit following refit. However, the report had
                                                                                                       an additional static unit. The Storekeeper has used the manufacturer’s spare      not been received at the time of the audit. Critical spares list to be updated
                                                                                                       parts list as the critical spares for the new equipment, and part orders have     and project scoping protocols to be amended to consider potential impacts on
                                                                                                       been submitted but not received. The company is aware that the critical           critical spares list.
                                                                                                       spare part list needs updating.
       15.               Caribbean Princess                    ECP Section VIII.B.2.d                  During the test of the RWO Static OWS, the quantity of water processed            Root Cause Analysis indicated back pressure was too high on the discharge             In Progress
                           (02.06.2018)                                                                from the clean bilge tank was only 1.8 m3/hr. This was due to the fact that       side of OWS. BCDB supplier arranged to check proper flow is established.
                                                                                                       during operation, a certain amount of the RWO OWS effluent must be                Discharge pipework from OWS is also being checked for blockages. Bilge
                                                                                                       recirculated back to the clean water bilge tank through a manual                  system upgrades will be undertaken to change material and size of discharge
                                                                                                       recirculation line. The RWO Static OWS operates as designed and meets the         pipework.
                                                                                                       requirements of MARPOL and ECP, but it will not operate at the rated
                                                                                                       capacity of 5 m3/hr.
       16.               Carnival Splendor*                      ECP Section III.A.14                  The ship used one training period to cover multiple topics, including ECP         CCL ECP OLTM to conduct an analysis on how such training sessions are                 In Progress
                            (04.28.2018)                                                               training. ECP message was buried within the training and not given more           executed onboard CCL ships. Once the analysis is conducted, conclusions
                                                                                                       importance. Safety training, in contrast, is given in its own training session.   and recommendations will be rolled on to make the training sessions more
                                                                                                                                                                                         effective. OLTM to monitor the effectiveness of the sessions.
       17.               Carnival Splendor*                      ECP Section III.A.14                  Crew training film (animated) shown during indoctrination, passenger              Shoreside Environmental operations team will look into the crew training              In Progress
                            (04.28.2018)                                                               information video, and placarding on open decks indicated that nothing            video and placards to evaluate if the correct message is being passed on to
                                                                                                       should be thrown overboard except when allowed by law. This may be                the desired audience. If needed, modifications will be done to the video and
                                                                                                       confusing to those that aren’t familiar with MARPOL Regulations or local          placard to ensure that a clear and precise message is passed on. Once the
                                                                                                       restrictions and should be kept simple.                                           video and placarding are evaluated, modifications will be completed
                                                                                                                                                                                         accordingly.
       18.               Carnival Splendor*                          ECP VIII.B.2.d                    Oily Water Separator (OWS), Westfalia #B, failed to complete the test on          Root Cause Analysis indicated OCM failure. OCM was replaced, and the                  Complete
                            (04.28.2018)                                                               the first attempt. After replacing the OCM on the system, OWS Westfalia           test on Westfalia # B was completed successfully. During the semiannual
                                                                                                       #B successfully completed the required test.                                      verification by TMS, all the OCM’s will be tested and verified for
                                                                                                                                                                                         functionality.
       19.               Carnival Triumph*                       ECP Section IX.B.1.                   The organization of the Critical Valve and Seal log appears to be difficult to    Root Cause Analysis indicated there is no effective log in place in the HESS          Complete - Pending
                           (05.03.2018)                                                                maintain. The list of critical valves is maintained in one binder; a separate     procedure. CCL Environmental operations and compliance teams are                      Verification
                                                                                                       binder is used to maintain the seal log with each location being kept on an       working on streamlining the record keeping, and are looking at the
                                                                                                       individual page and no easy way for the crew to locate the specific valve         possibility of implementing an electronic log system which will make it
                                                                                                       without paging through the entire log. Finally, the Environmental Officer is      easier for the EO’s to check. Once corrective actions are in place, they will
                                                                                                       maintaining a separate spreadsheet for use in conducting the weekly               be implemented fleet wide.
                                                                                                       verification. Having multiple lists and logs may invite errors.



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    Row                   Location Name                                                                                                                                                                                                                                          & Preventive
   Number                  (Audit Date)                                ECP Section                                                   Final Audit Finding                                                       Corrective & Preventive Action Plan                                Action Plan
     20.                 Carnival Triumph*                                N/A                          During the audit of the procedures and documents for the ozone-depleting            A training plan will be put in place to educate all refrigeration engineers on   In Progress
                           (05.03.2018)                                                                substances, it was noted that the ship has two AC Chiller units (out of four        the Marpol requirements for ODS substances. Once the training plan is in
                                                                                                       total) that utilize R-22 Freon as a refrigerant (ozone depleting substance).        place, they will be implemented fleet wide.
                                                                                                       The Refrigeration Engineer was unfamiliar with the MARPOL requirements
                                                                                                       regarding the required log book for ODS. The Refrigeration Engineer
                                                                                                       maintained a spreadsheet that was used to track all spare bottles on board the
                                                                                                       vessel (this is acceptable for meeting the requirement to track the quantity
                                                                                                       onboard the vessel). This was audited and onboard quantities found to be
                                                                                                       accurate. The ODS logbook was located, (it is part of the Bahamas logbook
                                                                                                       that tracks MARPOL fuel samples) and the last entry was found to have
                                                                                                       been made in 2015. The crew claimed that since two of the AC Chiller units
                                                                                                       were overhauled and upgraded to R-•134a refrigerants in 2013, the two R-
                                                                                                       22 units were not frequently run, and therefore, had not suffered any leaks
                                                                                                       requiring the use of R-22 to recharge the systems over the last three (3) years
                                                                                                       or repairs/maintenance to the equipment. Incident reports were checked
                                                                                                       back to November 2017 with no reports of leaks.
       21.               Emerald Princess*                        ECP Section X.A.1                    It was found that within the HESS-MS, text within documents, i.e.,                  Root Cause Analysis indicated that the possibility of changing documents         Complete - Pending
                           (05.23.2018)                                                                procedures, instructions, and forms could be deleted or amended without             onboard the ship is a programming error. The Global HESS system coding           Verification
                                                                                                       Company knowledge or approval by a crewmember accessing the system                  needs to be amended to prevent unauthorized users (including ships) to make
                                                                                                       onboard the ship. This capability brings document integrity/control into            any changes to the Global HESS procedures and documents.
                                                                                                       question.
       22.               Emerald Princess*                       ECP Section X.A.1.i                   It appears that a number of attachments to Global HESS‐MS procedures                Root Cause Analysis indicated each document in Global HESS needs to              Complete - Pending
                           (05.23.2018)                                                                when printed out do not have the procedure number or other identifying              have a reference on the document to match it to the policy it corresponds        Verification
                                                                                                       markings that reference that it is tied to a specific procedure. For example,       with. TRG-2308-A3 and Photo Waste log revised to include the
                                                                                                       “Workplace Specific Environmental Instructions” Guideline for –Technical            corresponding procedures.
                                                                                                       Department (TRG‐ 2308‐A3) has no identifying markings on the instruction.
                                                                                                       Also, the current Photo Waste Log for silver bearing waste has no markings
                                                                                                       matching it with the procedure (ENV‐1301).
       23.                Golden Princess*                        ECP Section IX.B.1                   OWS bilge overboard valve was locked but not tamper-proof.                          Root Cause Analysis indicated the original locking was not fully controlled.     Complete
                           (05.30.2018)                                                                                                                                                    The new locking system is now installed and secured.
       24.                Golden Princess*                     ECP Section VIII.B.2.m                  During an interview, a deck officer stated workloads are increasing at a rate       Root Cause Analysis indicated issues with ECP procedural implementation.         In Progress
                           (05.30.2018)                                                                that the officer is going to have to prioritize task as fatigued sets in. The two   Voyage planning requirements have not appreciably changed since the
                                                                                                       largest task is standing 8 hours of watch and voyage planning. Voyage               Global HESS was implemented several years ago. However, it is recognized
                                                                                                       planning has become a lot more work extensive due to more regulations and           that there is a substantial amount of manual work involved in the creation of
                                                                                                       environmental restrictions.                                                         the voyage schedules within the Voyage Support Portfolio required per
                                                                                                                                                                                           MAR-1301 (e.g., watertight door schedules, bridge manning schedules,
                                                                                                                                                                                           environmental schedules, etc.). While there are no standardized
                                                                                                                                                                                           requirements for the aforementioned schedules, the Company has been
                                                                                                                                                                                           working toward the establishment of standard formats and automation of
                                                                                                                                                                                           those schedules via software solutions for more than one year. The (required
                                                                                                                                                                                           by regulation) network isolation of our Electronic Chart Display Information
                                                                                                                                                                                           Systems onboard will always necessitate some manual transfer of route plans
                                                                                                                                                                                           to and from planning systems, but there are opportunities to streamline these
                                                                                                                                                                                           processes. A cross-brand team of marine and environmental operations
                                                                                                                                                                                           experts have agreed to seek fleet-wide proposals from two primary potential

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                                                                                                                                                                                        vendors who have shown the potential to be able to develop such a software
                                                                                                                                                                                        solution to meet these needs. Proposals and associated presentations will be
                                                                                                                                                                                        made by the vendors in late September 2018, after which the team will
                                                                                                                                                                                        determine the viability, development time and process improvement
                                                                                                                                                                                        potential of each solution and then take a decision. None of the vendors
                                                                                                                                                                                        under evaluation have a solution that meets the full set of Company
                                                                                                                                                                                        requirements in this area, so a decision not to contract is a potential outcome
                                                                                                                                                                                        of the process, but hopefully a low probability one. Any decision will
                                                                                                                                                                                        involve the Operating Line EVPs and we expect such a decision to be taken
                                                                                                                                                                                        by the end of the fiscal year 2018.
       25.                  MS Noordam*                           ECP Section IX.B.1                   The cover lid of the collection drain tank for the OCM was found with an         Root Cause Analysis indicated the modification done onboard was                   In Progress
                            (06.20.2018)                                                               ECS sealed and a fixed plexiglass viewing window. We note that the drain         unnecessary per the existing flow switches. Ship to remove plexiglass
                                                                                                       tank recycles to the suction side of the OWS and does not go overboard. The      modification as flow switches exist in system and crew to review ECN#14.
                                                                                                       ECS policy for these tanks should be reviewed.
       26.                 Royal Princess*                                   N/A                       The Environmental Officer maintains an Excel Spread‐Sheet that is updated        Root Cause Analysis indicates this is a suggestion by auditors for review of      Complete - Pending
                            (06.21.2018)                                                               daily with the amounts of bilge water production and sludge production and       practice found onboard. We are appreciative of the complement from the            Verification
                                                                                                       disposal of bilge water through the OWS and sludge ashore or through the         auditors. We are soliciting a copy of the spreadsheet from the EO, and will
                                                                                                       incinerator. This spread‐sheet also tracks trends and anomalies in the           consider implementation fleet-wide if deemed appropriate and not deemed
                                                                                                       quantities of bilge water and sludge production. This practice should be         overly prescriptive. All ships have some variation in their bilge systems, and
                                                                                                       given consideration for use fleet wide.                                          so a single spreadsheet is rarely universally applicable. We are appreciative
                                                                                                                                                                                        of the complement from the auditor. We will solicit a copy of the
                                                                                                                                                                                        spreadsheet from the EO and consider implementation fleet-wide. As there is
                                                                                                                                                                                        variation in bilge systems, rarely would a single spreadsheet be universally
                                                                                                                                                                                        applicable.
       27.                 Royal Princess*                                   N/A                       Broken seals were segregated by month of replacement making auditing of          Root Cause Analysis indicates this is a suggestion by auditors for review of      Complete - Pending
                            (06.21.2018)                                                               broken seals easy. Chief Engineer indicated it is a better way keep track of     practice found onboard. There is no corrective action required as this is an      Verification
                                                                                                       seal.                                                                            observation of a best practice. There is no need for preventative actions as
                                                                                                                                                                                        this observation notes a best practice, not a defect. The ship is appreciative
                                                                                                                                                                                        of the auditors’ complements to the practices on board RP and will
                                                                                                                                                                                        communicate this practice during the next EO conference call. The ship
                                                                                                                                                                                        believes it would be overly prescriptive to make this practice a requirement,
                                                                                                                                                                                        and will only offer it as a suggestion to EO’s during the call.
       28.                 Royal Princess*                                   N/A                       On 20 June 2018 at 1130 during ROYAL PRINCESS’s port call in Cobh,               Root Cause Analysis indicates the surface effect was caused by agitation of       Complete - Pending
                            (06.21.2018)                                                               Ireland, the Environmental Officer was called to the pier where ROYAL            seawater at EGCS discharge. The ship was running the EGCS system with             Verification
                                                                                                       PRINCESS was berthed because the was foam and soot in the water                  wash-water filtration system in operation and the EGCS compliance
                                                                                                       alongside the vessel. The vessel was receiving electrical power via No. 3        computer showed all parameters within limits. Corrective Action was taken
                                                                                                       DG running on HFO. At 1238 the technical Department switched electrical          at the time of the finding as the Royal Princess switched to LSMGO. If there
                                                                                                       power to No. 1 DG running on LSMGO. The Environmental officer issued             is a concern or doubt, the ship will switch over to a stand-by engine
                                                                                                       an incident report. There seems that the source of the foam and soot was         operating on Low Sulphur Marine Gas Oil in this location.
                                                                                                       from the water discharge from the No. 3 DG EGCS. Because of the minor
                                                                                                       nature of the incident a formal marine pollution response was not initiated by
                                                                                                       local authorities. The incident was reported to the Princess Cruise Line
                                                                                                       Office per policy.



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     29.                   Island Princess*                    ECP Section VIII.B.2.g                  Holland America Group Garbage Management Plan was not readily                    Root Cause Analysis indicated lack of oversight to ensure the shipboard            In Progress
                             (07.14.2018)                                                              available when asked by the auditor. It was not until the daily meeting that a   copy of the GMP was complete with ship specific details and all appendixes.
                                                                                                       complete and properly organized Garbage Plan was presented.                      Per the TPA’s Draft Report, this finding was corrected prior to the
                                                                                                                                                                                        completion of the audit. A complete and properly organized Garbage Plan
                                                                                                                                                                                        was provided at the daily meeting. Shoreside to review guidance within
                                                                                                                                                                                        GMP and ENV 1301 on properly storing hard copies of GMP on all ships.
       30.                 Island Princess*                    ECP Section VIII.B.2.b                  Several sections of the potable water piping have been replaced. However,        Root Cause Analysis indicated equipment failure. Ageing pipework on                In Progress
                             (07.14.2018)                                                              numerous soft patches and leaks still observed and in need of proper and         potable water pump delivery to main risers has begun to fail with pinholes
                                                                                                       permanent repairs.                                                               appearing in various locations. Those leaks have been temporarily repaired
                                                                                                                                                                                        pending proper replacement/upgrade when materials arrive. The ship’s
                                                                                                                                                                                        Technical department has been advised that there are monies available to
                                                                                                                                                                                        replace deteriorating potable water pipework, and upgrade to George Fisher
                                                                                                                                                                                        pipe. The ship’s staff will place orders, and replace as much of it as they can.
                                                                                                                                                                                        If certain sections cannot be replaced in service due to operational
                                                                                                                                                                                        restrictions, then it will be planned for the next dry dock, which is December
                                                                                                                                                                                        2019. Leaking pipework will be replaced/upgraded with George Fisher pipe
                                                                                                                                                                                        and/or stainless steel pipe as required once materials have been received, and
                                                                                                                                                                                        as soon as operationally possible.
       31.                     AIDAvita*                         ECP Attachment 3,                     During the course of spot interviews, some of the interviewees were not          Root Cause Analysis indicated lack of knowledge, awareness, and limited            In Progress
                              (07.11.2018)                       Employee Training ‐                   familiar with the name of the Environmental Officer nor were they aware of       language abilities of the mentioned crew members. During the HESS rounds,
                                                                 Element 3, Bullet 1                   the open reporting system (hotline). In two cases, crew members boarded the      the Environmental Officer will assess this specific knowledge and include
                                                                                                       vessel on June 05, 2018, and seemed having difficulties to understand and        the result in the weekly reports.
                                                                                                       communicate in English. In one case, a crew member who had been onboard
                                                                                                       for 9 months was only able to mention the name of the previous EO who
                                                                                                       disembarked on June 01, 2018.
       32.                     AIDAvita*                       ECP Section VIII.B.2.q                  The Environmental Handout provided to vendors, technicians and other non-        Root Cause Analysis indicated lack of oversight, the document                      In Progress
                              (07.11.2018)                                                             crewmembers boarding the ship was found with general requirements                Environmental Handout could have been deleted already since the
                                                                                                       regarding pollution prevention and environmental protection. No reference        information is present in the Contractor Booklet. The document
                                                                                                       was found in regards to the ECP requirements or additional precaution to be      Environmental Handout will be deleted from GlobalHESS once the
                                                                                                       taken in order to not affect the vessel’s ability to comply with the ECP,        Contractor Booklet is part of the Contract. In order to strengthen the
                                                                                                       specifically presence of environmental seals.                                    importance and impact of the Contractor Booklet, this will be officially
                                                                                                                                                                                        made part of the Contract for contractors operating onboard with a formal
                                                                                                                                                                                        process of acknowledgement.
       33.           Carnival Maritime Office                  ECP Section VIII.B.2.m                  During interviews, concerns were expressed about a “Fear Factor” that exists     Root Cause Analysis indicated the mentioned text covers an ECP                     In Progress
                            Hamburg*                                                                   amongst junior shipboard engineering personnel. This “Fear Factor” is            requirement. Any corrective action plan would require a modification of the
                           (06.29.2018)                                                                related to how the ECP is written and culturally interpreted as it relates to    language used in the ECP.
                                                                                                       possible termination if the ECP is violated. Violation of the ECP could lead
                                                                                                       to termination is discussed in two locations of the ECP. This specific ECP
                                                                                                       language is often used by the EO’s in their ECP training presentations, for
                                                                                                       example; the last slide of the HA Group Covered Personnel Environmental
                                                                                                       Training PowerPoint Presentation titled “Consequences of Employee
                                                                                                       obstruction of ECP” states: “Carnival will: Take action, up to and including
                                                                                                       dismissal, against any individual who obstructs or hinders the development
                                                                                                       or implementation of this ECP, or presents false information or makes false
                                                                                                       statements during any inspection, monitoring, auditing, or inspection

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                                                                                                       function required by this ECP, or to any U.S. authority performing an
                                                                                                       inspection or Port State Control activity”.
       34.                  Shore - ABG*                          ECP Section III.A.9                  While reviewing the annual budget certification process and specifically, the    Root Cause Analysis indicated all ABG professional fees are budgeted in        Complete
                             (05.04.2018)                                                              monthly ECP budget spending plan, an anomaly in the CCM budget for               account 641025. However, actual costs for professional fees could be coded
                                                                                                       Professional Services was identified. A shortfall of was identified due to       to accounts 641025 and 640505. When the monthly ECP reporting was
                                                                                                       separate accounting departments informing the spend plan and the CCM             being developed, only the accounts where actual costs were previously being
                                                                                                       Professional Services budget stream was not included in the monthly reports      recorded were included into the report. As majority of actual ABG
                                                                                                       for December, January, February and March of 2018. This issue has been           professional fees were coded to 640505, only this account was initially
                                                                                                       discussed with the accounting departments involved and is being corrected        included into the monthly reporting. However, through review of the
                                                                                                       and reports are being amended.                                                   monthly ECP cost reports it was identified that account 641025, where the
                                                                                                                                                                                        budget is included, was inadvertently excluded from the reports and needs to
                                                                                                                                                                                        be added for accurate representation of budgeted costs. The structure of the
                                                                                                                                                                                        monthly reports was modified in May 2018 to include account 641025. All
                                                                                                                                                                                        previous reports were re-issued to reflect inclusion of this account. The
                                                                                                                                                                                        Company will continue close monitoring of the monthly reporting for
                                                                                                                                                                                        indicators of inadvertent exclusion of any other accounts. The structure of
                                                                                                                                                                                        the monthly reports was modified in May 2018 to include account 641025.
                                                                                                                                                                                        All previous reports were re-issued to reflect inclusion of this account. We
                                                                                                                                                                                        will continue close monitoring of the monthly reporting for indicators of
                                                                                                                                                                                        inadvertent exclusion of any other accounts.
       35.                  Shore - ABG*                     ECP Section VIII.F.1. and                 Three findings from the Carnival Corporation ECP Audit conducted in              Root Cause Analysis indicated this finding will be managed through the         Complete
                             (05.04.2018)                           VIII.F.3                           August of 2017 (Non-Conformity-01, Non-Conformity-02, and Observation-           ABG audit of August 2017 - applicable to the open findings assigned to
                                                                                                       01), all associated with the RAAS investigation process did not have             Robert Watson at RAAS. DNV-GL have completed a Review of the
                                                                                                       corrective or preventative action in place at the time of the May 2018 audit.    Investigation process through the company. Long term Preventive Action
                                                                                                                                                                                        will be recorded through the relevant findings in the August 2017 ABG
                                                                                                                                                                                        office audit.




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    Row                                                                                                       Operating Line /
   Number             Notice Number                Date of Incident               Date of Notice                  Group              Vessel                           Summary of Incident                             Analysis Summary and Action Plan                    Status of Action Plan
     1.                 #06-2017                     07.22.2017                    07.26.2017                  Costa Group       Costa Luminosa       On July 22, 2017, the Operating Line Compliance        RAAS conducted an investigation in response to the          In Progress
                                                                                                                                                      Manager (“OLCM”) for Costa Group (Costa                issue. The Environmental Compliance Manager was
                                                                                                                                                      Crociere and AIDA Cruises) was informed by his         informed of the issue, he raised it to the Costa Group
                                                                                                                                                      Environmental Compliance Manager (“ECM”) that          Operating Line Compliance Manager, the ship
                                                                                                                                                      there may be an issue with recent training records     Captain, Staff Captain, HR Director, and a
                                                                                                                                                      from June 6, 2017 on the Costa Luminosa. The           representative of the Unions. The Costa Group
                                                                                                                                                      training in question was allegedly held by the EO      Operating Line Manager has since informed the
                                                                                                                                                      onboard at the time. The training session records      necessary parties shore side and a review and
                                                                                                                                                      showed several pages of signatures confirming          disciplinary procedures were immediately put into
                                                                                                                                                      attendance. Since notification of this issue on        action. Further, interviews of potential employees
                                                                                                                                                      July 22, 2017, multiple interviews were conducted by   involved or witnesses were conducted to determine
                                                                                                                                                      the Company with those onboard, who have               the extent of the problem and the root cause. The
                                                                                                                                                      confirmed that they never took part in the alleged     fact that this was the second falsification related issue
                                                                                                                                                      training and that the signatures are not theirs.       has caused the Company to take additional action:
                                                                                                                                                                                                             (1) All Operating Lines were directed to conduct a
                                                                                                                                                                                                             review on all vessels to determine whether required
                                                                                                                                                                                                             environmental training has been completed as
                                                                                                                                                                                                             reported. To the extent the Company identified gaps
                                                                                                                                                                                                             in required training, every effort was made to remedy
                                                                                                                                                                                                             those gaps in a timely manner; (2) Incomplete
                                                                                                                                                                                                             training, if any, should have been completed no later
                                                                                                                                                                                                             than August 10, 2017. As of this writing, the
                                                                                                                                                                                                             Company believes that the training has been
                                                                                                                                                                                                             substantially completed except for so called “new
                                                                                                                                                                                                             joiners,” who will be required to take the training
                                                                                                                                                                                                             upon boarding; (3) Inaccurate reporting of training
                                                                                                                                                                                                             completion rates will be reported to Chris Donald,
                                                                                                                                                                                                             the ECP Corporate Compliance Manager, and
                                                                                                                                                                                                             immediately investigated; (4) The Company
                                                                                                                                                                                                             communicated to the fleet the importance of the
                                                                                                                                                                                                             training, including accurate and truthful record
                                                                                                                                                                                                             keeping, and in particular the Master’s responsibility
                                                                                                                                                                                                             to ensure training is completed; (5) The Company
                                                                                                                                                                                                             will be reviewing the Company’s procedures for
                                                                                                                                                                                                             rolling out training to determine whether there may
                                                                                                                                                                                                             be opportunities to improve the process both at
                                                                                                                                                                                                             launch and in confirming completion; (6) The
                                                                                                                                                                                                             Company is also working to establish an improved
                                                                                                                                                                                                             recordkeeping infrastructure to receive data and
                                                                                                                                                                                                             record/report training activity on an ongoing basis.
                                                                                                                                                                                                             This would include crafting a standard roster for each
                                                                                                                                                                                                             environmental/ECP training course, ensuring that
                                                                                                                                                                                                             there are written procedures for uploading training

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                                                                                                                                                                                                                  roster data in the electronic systems of record
                                                                                                                                                                                                                  appropriate for each fleet, providing reports/feedback
                                                                                                                                                                                                                  to each fleet to verify system or record reflects
                                                                                                                                                                                                                  training activity on board and identify discrepancies
                                                                                                                                                                                                                  early, and working towards daily-auto-generated
                                                                                                                                                                                                                  ECP training status reports. UPDATE: The RAAS
                                                                                                                                                                                                                  report is in the final stages of approval and will be
                                                                                                                                                                                                                  distributed by RAAS once the report is approved.
        2.                #14-2018                     02.12.2018                    03.05.2018                   Costa Group           AIDAdiva          On February 12, 2018, during tests in preparation for   The OLCM conducted a review and acquired                 Complete
                                                                                                                                                          a Passenger Ship Safety Certification renewal           information on the incident by email. On March 2,
                                                                                                                                                          inspection onboard the AIDAdiva, it was noted that      2018, the manufacturer, Siemens came back onboard,
                                                                                                                                                          the engine automation system had not stored any data    verified that the two engine automation system
                                                                                                                                                          since February 3, 2018. Initial investigation           servers were working properly, and re-synced them
                                                                                                                                                          determined that a synching error took place when the    to ensure data could be retained as necessary. The
                                                                                                                                                          manufacturer (Siemens) replaced one of the engine       engine automation system is now working as
                                                                                                                                                          automation system servers on February 3, 2018. This     designed. The manufacturer is working to recover the
                                                                                                                                                          synching error prevented retention of the bilge alarm   data lost during the period of the error, i.e.,
                                                                                                                                                          notification records.                                   February 3 through February 11, 2018. The Siemens’
                                                                                                                                                                                                                  technician has to return to the ship to determine
                                                                                                                                                                                                                  whether it is possible to recover the lost data. The
                                                                                                                                                                                                                  ship is currently in the process of scheduling a ship
                                                                                                                                                                                                                  visit. UPDATE: Siemens’ technician Uwe Frescher
                                                                                                                                                                                                                  resolved the data issue and recovered all trend data
                                                                                                                                                                                                                  and the alarms log file dating back one year. This
                                                                                                                                                                                                                  data has been archived.
        3.                #16-2018                    03.09.2018 -                   03.26.2018                        CCL               Carnival         During an ECS used seals inventory check performed      To facilitate easier recording, the ship has             Complete
                                                       03.14.2018                                                                        Conquest         by the Environmental Superintendent and EO), 336        subsequently reduced the number of required ECS
                                                                                                                                                          used seals were determined to be missing. It is         seals to approximately 70 by adding welds and locks
                                                                                                                                                          suspected that most of the missing seals were from      where practicable. All remaining seals have been
                                                                                                                                                          the period May‐Sept 2017 due to a misinterpretation     replaced and correctly documented and the ECP
                                                                                                                                                          of the April 2017 version of the associated procedure   requirements have been clarified with all relevant
                                                                                                                                                          which was misinterpreted by the former                  crew members. An internal review is underway to
                                                                                                                                                          Environmental Director (ED). The ED provided            identify any further corrective and preventive actions
                                                                                                                                                          guidance to the ship’s EO where he failed to            needed and all ships are being questioned to
                                                                                                                                                          correctly recognize and advise that all seals must be   determine if they also received incorrect advice.
                                                                                                                                                          accounted for from locations where two or more          UPDATE: The review confirmed that the rest of the
                                                                                                                                                          seals are fitted. The accepted practice was to keep     ships in the fleet are following the correct
                                                                                                                                                          and record only one seal number from each location.     procedures.
                                                                                                                                                          All other used seal tabs were disposed of. This
                                                                                                                                                          practice was followed from May 2017 until
                                                                                                                                                          requirements were clarified on 18 Sep 2017. The
                                                                                                                                                          ship’s next EO reported the removal of serial
                                                                                                                                                          numbers on 17 Aug 2017 to the Environmental
                                                                                                                                                          Manager as a noncompliance but the same ED failed
                                                                                                                                                          to address the report or allow for proper follow up.
                                                                                                                                                          The former ED is no longer employed by the

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                                                                                                                                                          company. The ship completed a dry dock in October
                                                                                                                                                          2017 during which it is likely a number of seals were
                                                                                                                                                          also misplaced by workers. A new ECS seal
                                                                                                                                                          inventory was conducted to identify all seals
                                                                                                                                                          currently fitted.
        4.                #18-2018                       03.2018                     04.03.2018                    All Brands        Multiple Vessels     A prohibition on de-ballasting in Port Everglades is       The Company recently requested an exemption from         Complete
                                                                                                                                                          included as a term of a port tariff (Tariff No. 12, Item   the absolute de-ballasting prohibition for the
                                                                                                                                                          No. 1015). The Company was previously unaware of           Caribbean Princess and Carnival Conquest. The Port
                                                                                                                                                          the tariff provision, and as a consequence a number        Everglades responded that the Port will not grant
                                                                                                                                                          of Covered Vessels have de-ballasted in Port               exemptions and is not inclined to change the Tariff.
                                                                                                                                                          Everglades in contravention of the tariff provision.       Therefore, the ships will no longer de-ballast in Port
                                                                                                                                                          As part of our review of this issue, we learned that       Everglades.
                                                                                                                                                          other customers of the port were similarly unaware of
                                                                                                                                                          the tariff provision. A meeting was held on April 2,
                                                                                                                                                          2018 with the Port Everglades Deputy Port Director
                                                                                                                                                          to discuss the discharge prohibition, as it is
                                                                                                                                                          inconsistent with federal ballast water regulatory
                                                                                                                                                          requirements. Also in attendance at the meeting were
                                                                                                                                                          representatives from Royal Caribbean Cruises, Ltd.,
                                                                                                                                                          Crowley Maritime, and Kirby Offshore, who were
                                                                                                                                                          similarly situated.
        5.                #19-2018                    03.31.2018 -                   04.23.2018                        CCL           Carnival Triumph     On or about March 31, 2018 the ship discovered 110         The Company notified Class, Flag, and the U.S.           In Progress
                                                       04.10.2018                                                                                         cubic meters of liquid in an emergency ballast tank.       Coast Guard. Crewmembers made an appropriate
                                                                                                                                                          The ship initially concluded that the contents of the      entry in the ORB. An internal review confirmed that
                                                                                                                                                          tank likely consisted of fresh water or sea water that     all grey water discharges occurred in international
                                                                                                                                                          could have entered from an adjacent potable water          waters. A Fleet Captain and Fleet Chief Engineer
                                                                                                                                                          tank or a ballast water line, respectively. The liquid     attended the vessel and found that opportunities exist
                                                                                                                                                          was transferred to a gray water tank and subsequently      for developing the ‘Speaking up’ culture onboard,
                                                                                                                                                          discharged through the normal gray water discharge         and addressing blame culture concernment. The
                                                                                                                                                          procedures. On or about April 10, once the                 crewmembers secured the emergency ballast tank
                                                                                                                                                          emergency ballast tank was emptied, an inspection          and will have the tank cleaned before putting it back
                                                                                                                                                          revealed two holes each of which was approximately         into service.
                                                                                                                                                          two inches in diameter in a bilge well. These holes
                                                                                                                                                          likely resulted in the flow of bilge water from the
                                                                                                                                                          bilge well into the emergency ballast tank.
                                                                                                                                                          Accordingly, it would appear that the liquid in the
                                                                                                                                                          emergency ballast tank was inappropriately
                                                                                                                                                          discharged as gray water when in fact at least some
                                                                                                                                                          portion of the liquid probably flowed from a bilge
                                                                                                                                                          well and thus the entire volume should have been
                                                                                                                                                          processed as bilge water in accordance with
                                                                                                                                                          MARPOL Annex I. The issue was reported to
                                                                                                                                                          Lloyd’s Register, the vessel’s classification society,
                                                                                                                                                          and the USCG Sector New Orleans on April 13.
                                                                                                                                                          Class attended on April 14 to observe/approve
                                                                                                                                                          temporary repairs to the bilge well. A condition of

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                                                                                                                                                          class was issued requiring permanent repairs to be
                                                                                                                                                          carried out before August 2018. The USCG
                                                                                                                                                          conducted a port State control inspection on April 19
                                                                                                                                                          and did not identify any deficiencies.
        6.                #22-2018*                    06.15.2018                    06.22.2018                   Costa Group            AIDAvita         While the ship was alongside in St. John’s, Canada,       RAAS conducted a review of the incident to           In Progress
                                                                                                                                                          maintenance was commenced on a chiller, requiring         determine the underlying root cause and lessons
                                                                                                                                                          sea water to be drained from the condenser. The           learned. The RAAS report is in the final stages of
                                                                                                                                                          condenser was connected to a vacuum collecting unit       approval and will be distributed by RAAS once the
                                                                                                                                                          using a hose and the ECS seal was broken to connect       report is approved.
                                                                                                                                                          the hose to the vacuum system. This action was not
                                                                                                                                                          properly reported to the Chief Engineer (CE) and was
                                                                                                                                                          not authorized by him. The CE passed by the chiller
                                                                                                                                                          room during his rounds and immediately stopped the
                                                                                                                                                          operation. CCTV footage confirmed that the vacuum
                                                                                                                                                          unit was only used to transfer sea water into the black
                                                                                                                                                          water system. The drained sea water was checked
                                                                                                                                                          and no contamination was found. No water from the
                                                                                                                                                          vacuum unit was discharged. A new seal was
                                                                                                                                                          installed and the Seal Log was updated accordingly.
                                                                                                                                                          To mitigate the risk of recurrence, all engine crew
                                                                                                                                                          will be retrained on the requirements of ECP and the
                                                                                                                                                          Environmental Control System. Control measures for
                                                                                                                                                          portable hoses will also be implemented. A RAAS
                                                                                                                                                          investigator will join the ship on 21-22 June to
                                                                                                                                                          conduct interviews and provide a full investigation
                                                                                                                                                          including root cause identification and
                                                                                                                                                          recommendations to prevent recurrence.




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    1.                12.19.2017                         11.26.2017                           CCL                            Carnival Victory     While discharging grey water after departing from Nassau,    The Company reported this incident to the CAM. A             Complete
                                                                                                                                                  Bahamas, the EOOW noticed that the quantity of treated       comprehensive corrective plan, expected to be operational
                                                                                                                                                  sewage in another tank was also falling. Approximately       by April 30, 2018, will include a 6-month visual check of
                                                                                                                                                  15-20 cubic meters of treated sewage was discharged          the isolation valves in the Planned Maintenance System
                                                                                                                                                  inside the Bahamas Archipelagic Baselines in violation of    (PMS). See also the Corrective and Preventative Actions
                                                                                                                                                  MARPOL Annex IV and Company requirements. The                regarding voyage planning in NOV 3 and in the CAM IP
                                                                                                                                                  Port Authority of Nassau and the ship’s Flag                 Notification from 7/07/17 regarding the Carnival Elation.
                                                                                                                                                  Administration were notified. An investigation identified    The crewmembers monitor the tank volumes during
                                                                                                                                                  a failed valve in the double bottom which the automation     discharge operations. A comprehensive corrective plan,
                                                                                                                                                  system indicated was closed but was actually partially       expected to be operational by May 31, 2018, will include a
                                                                                                                                                  open. When the ship started pumping grey water, the          6-month visual check of the isolation valves in the
                                                                                                                                                  partially open black water valve allowed both grey and       Planned Maintenance System (PMS). UPDATE: The work
                                                                                                                                                  black water to be discharged. A comprehensive corrective     item is now included in the PMS.
                                                                                                                                                  plan was developed. All such isolation valves will be
                                                                                                                                                  included in the Planned Maintenance System (PMS) for
                                                                                                                                                  visual checks to be done every 6 months. The location of
                                                                                                                                                  the valve does not allow easy or effective manual
                                                                                                                                                  verification for each operation. CMS notice was sent out
                                                                                                                                                  to all vessels to check all relevant automatic isolation
                                                                                                                                                  valves. The isolation valves are in process of being
                                                                                                                                                  included in the PMS, expected to be completed by April
                                                                                                                                                  30, 2018.
      2.                 03.15.2018                        01.20.2018                             CUK                            Arcadia          The oil content monitor (OCM) on a new centrifugal oily      The ship received the replacement spare cooler package       Complete
                                                                                                                                                  water separator (OWS) was providing a reading error,         from Alfa Laval on March 21, 2018, in Port Kelang.
                                                                                                                                                  even after flushing with fresh water. The OWS was taken      Three calibrated cell spares are currently onboard.
                                                                                                                                                  out of service. An investigation found that the sample
                                                                                                                                                  cooler had failed. The OCM measuring cell was replaced
                                                                                                                                                  for a spare calibrated cell and is now reading properly.
                                                                                                                                                  The is no spare cooler on board. The manufacturer is
                                                                                                                                                  supplying a replacement cooler to the ship under
                                                                                                                                                  guarantee. The OWS is in operation with the cooler
                                                                                                                                                  cooling valves closed and sealed. A cooler package from
                                                                                                                                                  Alfa Laval is expected to be delivered on March 21, 2018
                                                                                                                                                  in Port Kelang. Three calibrated cell spares are currently
                                                                                                                                                  onboard.
      3.                 03.15.2018                        01.10.2018                             CUK                            Ventura          At the start of a treated bilge water discharge operation    The planned maintenance amendment to replace the             Complete
                                                                                                                                                  through the BCDB, the OCM was noted to be reading a          coolers every 18 months is now in AMOS.
                                                                                                                                                  high PPM value with cloudy water coming from cell
                                                                                                                                                  despite the sample valves being closed. No water was
                                                                                                                                                  discharged overboard. The watchkeeper attempted to clean
                                                                                                                                                  the OCM cell but identified a continuous leak of water
                                                                                                                                                  from the cell. After isolating the sample cooler, the flow
                                                                                                                                                  of water stopped. The sample cooler was removed and a

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                                                                                                                                                  new cooler was installed. The treated bilge discharge
                                                                                                                                                  operation was then completed without further incident. An
                                                                                                                                                  entry was made in the ORB. The cause of the internal
                                                                                                                                                  failure of the sample cooler is not yet confirmed but is
                                                                                                                                                  believed to be from a build-up of deposits within the
                                                                                                                                                  cooler which then expands and deforms the plates. To
                                                                                                                                                  prevent recurrence, a planned maintenance amendment to
                                                                                                                                                  replace the coolers every 12-18 months is being
                                                                                                                                                  considered.
      4.                 03.15.2018                        12.19.2017                         HA Group                          Rotterdam         A newly commissioned oily water separator (OWS),               The manufacturer was aware of the issue with the valve       Complete
                                                                                                                                                  installed during drydock in October 2017, had an issue         but was not required as a Company Project Engineer
                                                                                                                                                  with a faulty valve. Once the valve was replaced, the          attended the ship and was able to resolve the issue. The
                                                                                                                                                  OWS was put back in operation. The OWS has the                 crewmembers received additional training to ensure
                                                                                                                                                  capacity to address the bilge water processing needs. The      operational of the equipment as designed. The ship
                                                                                                                                                  spares for both new OWS systems are on order and the           ordered and received onboard all spares for the new OWS
                                                                                                                                                  order is being expedited with the manufacturer. Currently,     systems.
                                                                                                                                                  parts are expected in several batches, between mid-
                                                                                                                                                  January 2018 to March 2018. The manufacturer was aware
                                                                                                                                                  of the issue with the valve but was not required as a
                                                                                                                                                  Company Project Engineer attended the ship and was able
                                                                                                                                                  to resolve the issue
      5.                 03.15.2018                        02.04.2018                             CCL                         Carnival Pride      While underway within three nautical miles of the U.S.         CCL approved the plans to divert the recreational water      In Progress
                                                                                                                                                  coast, approximately 27 cubic meters of pool water with a      facility discharge to the grey water system. The changes
                                                                                                                                                  3.6 ppm chlorine level was discharged due to the               are expected to be implemented on all Sprit Class vessels
                                                                                                                                                  malfunction of a pool control system. The control system       before the end of August 2018. UPDATE: The Pride will
                                                                                                                                                  was displaying an error message and the manual                 undergo modifications during drydock in March 2019.
                                                                                                                                                  overboard valve for the pool was open, allowing the            Modifications for the other Spirit Class ships are under
                                                                                                                                                  discharge to occur in violation of VGP requirements. The       evaluation.
                                                                                                                                                  chart recorder was checked to confirm the location of the
                                                                                                                                                  discharge. The National Response Coordination Center
                                                                                                                                                  and local U.S. Coast Guard were advised. The pool
                                                                                                                                                  computer was reset and is not showing any error. By
                                                                                                                                                  default, the automatic valve will fail-safe open and the
                                                                                                                                                  pool will dump. The incident was partially due to the
                                                                                                                                                  ongoing need to have an open overboard valve for
                                                                                                                                                  emergency response to a stability problem. As a
                                                                                                                                                  preventative action, the possibility of diverting
                                                                                                                                                  recreational water facility discharge to the grey or ballast
                                                                                                                                                  water systems while the ship is inside environmentally
                                                                                                                                                  restricted areas is being reviewed.
      6.                 03.15.2018                        01.27.2018                             CCL                       Carnival Splendor     While the ship was alongside in Long Beach, CA, ballast        Ballast water management plan was updated to reflect the     In Progress
                                                                                                                                                  water was discharged in violation of California ‘Marine        California ballast water requirements. The ships no longer
                                                                                                                                                  Invasive Species Program’ regulations. The required            discharge ballast water in the port of Long Beach,
                                                                                                                                                  ballast water reporting forms were also not sent on time to    California. This incident was discussed during monthly
                                                                                                                                                  the National Ballast Information Clearinghouse and the         conference calls and a “Must See Notice” was sent out
                                                                                                                                                  California State Lands Commission due to an                    corporate wide. The RAAS investigation concluded that

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                                                                                                                                                  administrative oversight. The ship had relocated from        the direct cause of the incident was that voyage planning
                                                                                                                                                  Florida and the improper discharge occurred during the       and overview was not conducted as per procedural
                                                                                                                                                  ship’s first call in Long Beach. The improper discharge      requirements. As a preventative action, a Lessons learned
                                                                                                                                                  was identified by the new Staff Captain when reviewing       note will be sent out to the fleet, to raise ships awareness
                                                                                                                                                  the ballast water records. An initial investigation has      regarding this issue. This will also include importance of
                                                                                                                                                  found there was inadequate voyage planning for the           voyage planning and correct process to develop and
                                                                                                                                                  relocation cruise. Ballast water requirements had not been   communicate a complete voyage plan and environmental
                                                                                                                                                  discussed during the voyage overview meeting. Relevant       schedule. Additionally, CCL will develop a more robust
                                                                                                                                                  procedures were not followed and the Ballast Water           ballast water management training program to ensure that
                                                                                                                                                  Management Plan had not been updated to reflect the          all officers and engineers are well educated in regards to
                                                                                                                                                  relocation voyage or subsequent voyages. Handovers of        ballast water requirements and ENV 1501. CCL will also
                                                                                                                                                  the Captain, Staff Captain and Voyage Officer had been       develop a short presentation on how a comprehensive
                                                                                                                                                  conducted just before or during the relocation voyage. The   voyage overview should be conducted to meet the
                                                                                                                                                  ship had taken on sea water ballast for stability purposes   requirements of ENV 1001 and MAR 1301. Staff Captain
                                                                                                                                                  and this had been discharged in port to allow bunkering of   Giuseppe Strano will be given a positive performance for
                                                                                                                                                  potable water and fuel. The CAM understands that this        being diligent and raising this issue as soon as he became
                                                                                                                                                  incident is a violation of California regulations only.      aware of the situation. UPDATE: The Lessons Learned
                                                                                                                                                                                                               note went out to the fleet and Staff Captain Strain received
                                                                                                                                                                                                               a positive performance. The training program and
                                                                                                                                                                                                               presentation are under review.
      7.                 03.15.2018                        02.07.2018                         HA Group                          Amsterdam         While the ship was en route towards Fiord land National      The additional lashings have been fitted to the                Complete
                                                                                                                                                  Park, New Zealand, gale-force winds and heavy seas were      replacement LRAD cover.
                                                                                                                                                  encountered. The next morning, it was noted that the
                                                                                                                                                  waterproof canvas cover was missing from the Long
                                                                                                                                                  Range Acoustic Device (LRAD) plinth. The cover could
                                                                                                                                                  not be found on the ship and was presumed to have been
                                                                                                                                                  lost overboard in violation of MARPOL Annex V. The
                                                                                                                                                  incident occurred inside 12 nautical miles of land in a
                                                                                                                                                  New Zealand no-discharge area. Authorities were notified
                                                                                                                                                  via the local agent and an entry was made in the Garbage
                                                                                                                                                  Record Book. To prevent recurrence, additional lashings
                                                                                                                                                  will be fitted to the replacement LRAD cover.
      8.                 05.10.2018                        03.05.2018                             CCL                        Carnival Elation     One of the ship’s incinerators has been out of service due   Incinerator waste is being processed via the ship’s second     Complete
                                                                                                                                                  since Jan 2017 due to a damaged silo screw. Incinerator      incinerator or landed ashore as needed. There is currently
                                                                                                                                                  waste is being processed via the ship’s second incinerator   no schedule for repair as the option to permanently
                                                                                                                                                  or landed ashore as needed. There is currently no schedule   decommission the incinerator is being evaluated.
                                                                                                                                                  for repair as the option to permanently decommission the     UPDATE: The incinerator has been decommissioned.
                                                                                                                                                  incinerator is being evaluated.
      9.                 05.10.2018                        02.25.2018                             CCL                        Carnival Triumph     While the ship was approaching New Orleans, LA, and          The proposed fleetwide repiping modifications are under        In Progress
                                                                                                                                                  inside three nautical miles from land, the ship listed by    evaluation.
                                                                                                                                                  approximately one degree, causing four cubic meters of
                                                                                                                                                  water to overflow from the main pool and spill overboard
                                                                                                                                                  through the scuppers. At the time of the violation of
                                                                                                                                                  company requirements, the pool had been in ‘Beach
                                                                                                                                                  Mode’ with a chlorine content of 3.47 ppm. The U.S.
                                                                                                                                                  Coast Guard and National Response Coordination Center

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                                                                                                                                                  were notified. To prevent recurrence, the Captain and EO
                                                                                                                                                  met with Hotel and Technical departments and it was
                                                                                                                                                  agreed to maintain the pool in ‘Trunk Mode’ at all times.
                                                                                                                                                  New guidelines have now been published for all CCL
                                                                                                                                                  ships. Required piping changes are still a work in
                                                                                                                                                  progress. The guidelines were delayed while public
                                                                                                                                                  health/USPH investigations were completed.
      10.                05.10.2018                        11.18.2017                             CCL                        Carnival Paradise    While alongside in Cozumel, Mexico, approximately 500          The tank has been placed out of service until further       In Progress
                                                                                                                                                  liters of grey water were unintentionally discharged from a    calibration checks are done. The sounding pipe was
                                                                                                                                                  multi-use grey/ballast tank air vent. An investigation         unblocked. Further investigation in progress to determine
                                                                                                                                                  found that both the sounding method and the sensor             if any other procedural issues exist and appropriate crew
                                                                                                                                                  reading were inaccurate. The sensor was last calibrated in     follow-up. UPDATE: The sounding pipes for the manual
                                                                                                                                                  2012 and the sounding pipe had been last used two days         sounding and electronic sounding were replaced to
                                                                                                                                                  earlier. The overboard discharge was in violation of local     prevent future overflows.
                                                                                                                                                  regulations and Company policy. Reports were made to
                                                                                                                                                  the local authorities. The manual sounding pipe was found
                                                                                                                                                  blocked and it is suspected the level sensors were out of
                                                                                                                                                  calibration. The tank has been placed out of service until
                                                                                                                                                  further calibration checks are done. The sounding pipe
                                                                                                                                                  was unblocked. Further investigation in progress to
                                                                                                                                                  determine if any other procedural issues exist and
                                                                                                                                                  appropriate crew followup. The CAM understands that
                                                                                                                                                  this incident was a violation of local regulations and
                                                                                                                                                  Company policy only.
      11.                05.10.2018                        10.21.2017                             CCL                       Carnival Conquest     While underway, the ship unintentionally discharged 50         A working group was created to review and analyze           Complete
                                                                                                                                                  cubic meters of treated sewage and five cubic meters of        archipelagic and straight baseline claims to determine
                                                                                                                                                  comminuted food waste within 12 nautical miles of the          whether the claims were constructed in accordance with
                                                                                                                                                  Bahamas Archipelagic Baseline in violation of MARPOL           the United Nations Convention on the Law of the Sea.
                                                                                                                                                  Annex IV, MARPOL Annex V and Company                           Baselines that complied with UNCLOS standards were
                                                                                                                                                  requirements. The non-compliant discharge was identified       recognized and included in ENV-1001, Paragraph 2.3. To
                                                                                                                                                  by the incoming OOW during watch handover. The                 date, 72 baselines have been included in ENV-1001-F2
                                                                                                                                                  discharges were immediately stopped and the Captain and        based on the research conducted by the working group.
                                                                                                                                                  the EO were informed. The initial investigation found          UPDATE: ENV-1001-F2 has been updated.
                                                                                                                                                  watch officer confusion with the electronic chart lines and
                                                                                                                                                  associated annotation. In addition, the Captain’s standing
                                                                                                                                                  orders were not followed, a four hour ahead discussion
                                                                                                                                                  was not conducted after taking over the watch and the
                                                                                                                                                  Environmental Schedule was not followed. Flag
                                                                                                                                                  Administration and Bahamian authorities were notified.
                                                                                                                                                  An initial review indicates appropriate controls were
                                                                                                                                                  followed in preparing for the transit, however the watch
                                                                                                                                                  officer failed to follow directions and was confused
                                                                                                                                                  regarding various boundary lines in a narrow passage area
                                                                                                                                                  while reviewing the chart to authorize discharge. Several
                                                                                                                                                  specific training steps are being reviewed with the officers
                                                                                                                                                  involved as well as fleet-wide training steps associated

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                                                                                                                                                  with lessons learned from this event. In addition, the
                                                                                                                                                  updated corporate baseline matrix in the forthcoming
                                                                                                                                                  revision to ENV-1001 will address not only Bahamas, but
                                                                                                                                                  other coastal states with unique baseline concerns as well.
      12.                05.10.2018                        03.13.2018                             CCL                        Carnival Fantasy     While the ship was docked in Cozumel, Mexico, the EO           The findings from the LSA asset team are expected by          In Progress
                                                                                                                                                  was advised that a lifeboat was missing an access hatch. It    June 10, 2018. Replacement and repair of the other
                                                                                                                                                  was confirmed that the hatch had been in place following       lifeboats is expected to be complete by June 30, 2018.
                                                                                                                                                  departure from Progreso, Mexico, the day prior. It is          UPDATE: To date, the ship has not received the three
                                                                                                                                                  believed that the orange fiberglass hatch detached from        hatches the crewmembers ordered. In the meantime, the
                                                                                                                                                  the lifeboat during the transit due to strong winds and was    Deck Officers are looking for any malfunctions or
                                                                                                                                                  lost in violation of MARPOL Annex V. It is possible that       deficiencies during the monthly checks of the lifeboats.
                                                                                                                                                  the hatch closing handle may have been left open during
                                                                                                                                                  recent lifeboat checks and operations. All relevant crew
                                                                                                                                                  were advised to confirm correct closing of all hatch
                                                                                                                                                  handles upon completion of lifeboat
                                                                                                                                                  operations/maintenance and to report any malfunction or
                                                                                                                                                  damage in a timely manner. All other lifeboats were
                                                                                                                                                  inspected and 19 issues with similar handles were
                                                                                                                                                  identified for subsequent replacement or repair. The issue
                                                                                                                                                  has been forwarded to the shoreside LSA asset team for
                                                                                                                                                  review.
      13.                05.10.2018                        03.12.2018                             CCL                        Carnival Breeze      While the ship was underway and outside 12 nautical            The Company revised the employee handbook to include          Complete
                                                                                                                                                  miles from land, a crew member reported that she had           language making it mandatory for team members to wear
                                                                                                                                                  dropped her identification cards into the sea. The cards       a neck lanyard for holding crew ID and other cards.
                                                                                                                                                  had been clipped to her trouser pocket but had become
                                                                                                                                                  detached while on the open deck and subsequently been
                                                                                                                                                  blown overboard in violation of MARPOL Annex V. The
                                                                                                                                                  crew member was advised to be more careful in the future.
      14.               06.15.2018*                        03.29.2018                             CCL                       Carnival Splendor     Upon receiving an unexpected bilge alarm, it was               Divers completed the repair in Puerto Vallarta by             Complete
                                                                                                                                                  discovered that a BCBD overboard valve located in the          installing a new Lloyds’s Register certified valve on April
                                                                                                                                                  Evaporator Room starboard had a hole of approximately          4, 2018. BCDB “A” overboard valve is now in service
                                                                                                                                                  3mm in diameter. The hole allowed sea water to enter the       without further complications.
                                                                                                                                                  Evaporator Room. The leak was temporarily stopped by
                                                                                                                                                  using a cement box. There was approximately 500 liters of
                                                                                                                                                  sea water intake. The water was transferred into the bilge
                                                                                                                                                  tank dirty side. The BCBD has been placed out of service
                                                                                                                                                  as at the time of the incident there was no spare valve
                                                                                                                                                  available. A new certified valve has since been ordered
                                                                                                                                                  and is now onboard. The ship’s bilge water management
                                                                                                                                                  plan until repairs are completed is using discharge water
                                                                                                                                                  through BCDB “B” which is fully operational. Corrosion
                                                                                                                                                  or defective material are suspected causes for this failure.
      15.               06.15.2018*                        03.02.2018                             CUK                         Queen Mary 2        Low output flow was noted when discharging overboard           The OWS was shut down and the suction strainer was            Complete
                                                                                                                                                  via the aft centrifugal Oily Water Separator (OWS). The        cleaned. The flow rate did not improve and the OWS was
                                                                                                                                                  OWS was shut down and the suction strainer was cleaned.        stopped again for the feed pump to be overhauled.
                                                                                                                                                  The flow rate did not improve and the OWS was stopped

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                                                                                                                                                  again for the feed pump to be overhauled. The OWS is
                                                                                                                                                  back in service with no further issues.
      16.               06.15.2018*                        03.31.2018                             CCL                         Carnival Valor      A food waste system shredder was taken out of service         After the food shredder breakdown the ship has not             Complete
                                                                                                                                                  due to technical problems. On inspecting the plant, hard      experience another failure. Consequently, additional
                                                                                                                                                  food leftovers including bones, broken china and              preventative and disciplinary actions are no longer
                                                                                                                                                  silverware were found in the line. The hard items had         necessary.
                                                                                                                                                  damaged both metal shredder shafts. All food waste was
                                                                                                                                                  landed ashore prior to the shredder being repaired and
                                                                                                                                                  returned to service on 08 April. Food waste bins and
                                                                                                                                                  pulpers are frequently monitored and meetings were held
                                                                                                                                                  with waiters and galley stewards to improve waste
                                                                                                                                                  separation. Programmatic changes are also under review
                                                                                                                                                  by shoreside management on preventative and disciplinary
                                                                                                                                                  actions regarding violations of the food waste segregation
                                                                                                                                                  policy.
      17.               06.15.2018*                        04.07.2018                             CCL                         Carnival Glory      During maintenance while the ship was alongside in            The Company revised and published the proper                   Complete
                                                                                                                                                  Miami, FL, approximately 5ml of oil based paint was           procedures with supplemental informational posters.
                                                                                                                                                  spilled into the water. A rigid tarp was used below the       Additionally, crewmembers underwent training on April
                                                                                                                                                  painting area in order to prevent paint spill but strong      7, 2018.
                                                                                                                                                  winds blew some paint drops beyond the tarp and into the
                                                                                                                                                  water. As a result, a small paint sheen was created in the
                                                                                                                                                  water. Miami Police noticed the paint sheen and asked the
                                                                                                                                                  team members conducting the operation to inform the EO.
                                                                                                                                                  Miami Police also met the Ship agent. Port Security
                                                                                                                                                  cleaned the paint sheen at the suggestion of the Miami
                                                                                                                                                  Police. The EO and Staff Captain were not initially
                                                                                                                                                  informed about the incident by the painting team, due to
                                                                                                                                                  miscommunication with the Police officers. The ship’s
                                                                                                                                                  local agent subsequently called the EO regarding the
                                                                                                                                                  incident. The EO and Staff Captain inspected the area but
                                                                                                                                                  it had already been cleaned by Port Security. The National
                                                                                                                                                  Response Coordination Center, the U.S Coast Guard and
                                                                                                                                                  the Port Authority were all notified of the MARPOL
                                                                                                                                                  Annex I violation. An investigation found the correct tarp
                                                                                                                                                  for painting was not used as per company procedures and
                                                                                                                                                  a rigid tarp had been used. The Bosun was on the pier
                                                                                                                                                  supervising the operation, however there were several
                                                                                                                                                  tasks to be monitored at the same time. At the time of the
                                                                                                                                                  incident, the Bosun was supervising another task. Revised
                                                                                                                                                  procedures are being published this week and
                                                                                                                                                  supplemented with informational posters.
      18.               06.15.2018*                        04.09.2018                             CUK                         Queen Mary 2        While at anchor in Phuket, Thailand, a grey water tank        The Company is considering multiple preventative               In Progress
                                                                                                                                                  overflowed directly overboard for approximately five          measures including modifying the pre-departure checklist
                                                                                                                                                  minutes, resulting in five cubic meters of grey water being   to include a check of the capacity and filling rate of the
                                                                                                                                                  discharged overboard in violation of company                  grey and black water filling tanks, adjusting the tank
                                                                                                                                                  requirements. The discharge was stopped by switching the      settings to allow for additional warnings prior to overflow,

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                                                                                                                                                  grey water filling to an alternate tank. The local port agent   and separating critical watch keeping functions. Decisions
                                                                                                                                                  was informed of the discharge. The root cause of the            as to actions to take are expected to be completed by
                                                                                                                                                  incident was that the high level alarm was not addressed        September 2018.
                                                                                                                                                  appropriately in the ECR, which was in red manning.
                                                                                                                                                  During the interval between the alarm sounding at 1849
                                                                                                                                                  and the incident occurring at 1900 there were an additional
                                                                                                                                                  13 new alarms, including six general alarms on a diesel
                                                                                                                                                  generator, which drew the focus of the watch keeping
                                                                                                                                                  team. While the ECR was at red manning, the Assistant
                                                                                                                                                  Operator was located in the engine room. Details of the
                                                                                                                                                  incident will be shared with the fleet and teams reminded
                                                                                                                                                  of the purpose of the Assistant Operator within ERM at
                                                                                                                                                  red manning. The Operations Director must review the
                                                                                                                                                  location of the Assistant Operator at red manning and, if
                                                                                                                                                  necessary, bring him into the ECR to assist with alarm
                                                                                                                                                  management. The CAM understands that this is incident
                                                                                                                                                  was a violation of Company requirements only.
      19.               06.15.2018*                        05.14.2018                             CUK                            Arcadia          During the monthly testing of the centrifugal Oily Water        A Westfalia technician attended the vessel on July 14,        Complete
                                                                                                                                                  Separator (OWS), it was identified that Separation Mode         2018 and corrected the issue. The equipment is now
                                                                                                                                                  was unable to be selected due to a constant sludge tank         operational.
                                                                                                                                                  high level alarm. As a result, the OWS was not able to
                                                                                                                                                  process bilge water. The ship is still able to process bilge
                                                                                                                                                  water via a second centrifugal OWS and the static OWS.
                                                                                                                                                  The constant alarm signal appears to be a control
                                                                                                                                                  computer issue. The manufacturer has been contacted for
                                                                                                                                                  remote support to resolve the issue. A technical service
                                                                                                                                                  has been scheduled for 14 June.
      20.               06.15.2018*                        04.27.2018                             CUK                         Queen Mary 2        The aft BCDB was taken out of service due to the failure        The forward BCDB remained available. The flow switch          Complete
                                                                                                                                                  of a flow switch. The forward BCDB remained available.          was replaced and the BCDB was tested and returned to
                                                                                                                                                  The flow switch was replaced and the BCDB was tested            service.
                                                                                                                                                  and returned to service. The aft BCDB was out of service
                                                                                                                                                  for two days. An entry was made in the Oil Record Book.
      21.               06.15.2018*                        05.11.2018                             CCL                        Carnival Fantasy     Due to ongoing structural repairs, the Marine Sanitation        Crewmembers repaired the equipment and returned the           Complete
                                                                                                                                                  Device (MSD) was taken out of service to allow structural       MSD to service on July 10, 2018.
                                                                                                                                                  parts to be replaced. The equipment will remain out of
                                                                                                                                                  service until repairs are completed by 30 June. The
                                                                                                                                                  maintenance does not affect the ship’s black water
                                                                                                                                                  treatment capacity.
      22.               06.15.2018*                        05.07.2018                             CCL                         Carnival Glory      The EOOW reported a large quantity of water leaking             The system is still out of service. Crewmembers are           In Progress
                                                                                                                                                  from the sewage plant system. The system was                    manually emptying the tank. Once this is complete, the
                                                                                                                                                  immediately taken out of service. Approximately 40 cubic        tank will be ventilated and evaluated to determine a proper
                                                                                                                                                  meters of water was transferred from the bilges to a bilge      maintenance plan. As a preventative measure, the other
                                                                                                                                                  water tank and subsequently offloaded to a shoreside            tanks will be cleaned and inspected. There are five other
                                                                                                                                                  reception facility. An initial investigation found a crack in   fully operational MSDs, thus normal operation is not
                                                                                                                                                  the sewage plant had caused the leak. The system remains        negatively impacted.
                                                                                                                                                  out of service.

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    23.              06.15.2018*                         05.05.2018                           CCL                            Carnival Ecstasy     The garbage compactor was taken out of service due to an     The crewmembers installed the new compactor and put it        Complete
                                                                                                                                                  electric motor failure. The motor was dismantled and         in service on July 13, 2018.
                                                                                                                                                  confirmed to be burned out. The ship manager was
                                                                                                                                                  notified and a new compactor will be ordered. A schedule
                                                                                                                                                  for replacement has not been confirmed. There is some
                                                                                                                                                  operational impact as garbage volume without compacting
                                                                                                                                                  has roughly doubled and more space is required in the
                                                                                                                                                  ship’s marshalling area before landing ashore.
      24.               06.15.2018*                        04.28.2018                             CCL                        Carnival Liberty     During a routine inspection of a food waste shredder, a      Upon delivery of the new gearbox, the crewmembers             Complete
                                                                                                                                                  reduction gear was observed to be not working correctly.     made the necessary repairs and returned the shredder to
                                                                                                                                                  The shredder was taken out of service for repair. A second   service on July 22, 2018.
                                                                                                                                                  shredder remained in service. An investigation found the
                                                                                                                                                  faulty shredder had a failed gearbox due to suspected
                                                                                                                                                  overload of shredder knives. The shredder remains out of
                                                                                                                                                  service and a replacement gearbox is on order.
      25.               06.15.2018*                        04.23.2018                         HA Group                          Westerdam         While ship was en route to Vancouver, Canada, the ship       A service technician attended the ship and upgraded the       Complete
                                                                                                                                                  experienced a communication failure of the Advanced          AWWPS communications. The new Ethernet, fiber
                                                                                                                                                  Waste Water Processing System (AWWPS). The                   optics, programmable logic controller, and updated
                                                                                                                                                  AWWPS system was taken out of service and the ship was       software have greatly improved the performance and
                                                                                                                                                  unable to process black water into permeate. A shoreside     overall reliability of the control systems which are now
                                                                                                                                                  approved exemption request was granted to allow the ship     fully operational. Additionally, the vendor Defra staff
                                                                                                                                                  to discharge untreated black water outside 12 nautical       recently provided training to the ship’s crew regarding the
                                                                                                                                                  miles. The system remains out of service. A service          maintenance and operation of the system.
                                                                                                                                                  technician joined the ship on 29 April and remains
                                                                                                                                                  onboard, working with the ship’s crew to bring the
                                                                                                                                                  AWWPS back in service.
      26.               06.15.2018*                        05.16.2018                         HA Group                       Emerald Princess     While the ship was alongside in Juneau, AK and               The sampling report dated May 23, 2018, showed an             Complete
                                                                                                                                                  discharging treated grey water, Admiralty Environmental      elevated fecal count. Consequently, the ship continued to
                                                                                                                                                  conducted an unannounced sampling event. The following       work on cleaning and checking the membranes. The
                                                                                                                                                  day, the ship received notification to stop discharging as   June 6th sample results revealed fecal levels
                                                                                                                                                  the fecal coliform result of 46 FC/100ml exceeded the        (17FC/100ml) below the daily limit of 40FC/100ml. The
                                                                                                                                                  daily limit of 40 FC/100ml. The ship was not discharging     ship resumed discharging on June 7, 2018. The Company
                                                                                                                                                  at the time of the notification. The vessel will be re‐      received a Notice of Violation from the Alaska
                                                                                                                                                  sampled on 23 May and will not discharge overboard in        Department of Environmental Conservation (ADEC)
                                                                                                                                                  Alaskan waters until further notice. The onboard technical   regarding the incident.
                                                                                                                                                  team is in the process of rectifying the issue with the
                                                                                                                                                  prototype system which is still being brought fully online
                                                                                                                                                  for operations in Alaskan waters. The ship needs to meet
                                                                                                                                                  the sampling parameters for discharge and that pends
                                                                                                                                                  additional testing on 23 May with results due no earlier
                                                                                                                                                  than 30 May. The Alaska Department of Environmental
                                                                                                                                                  Conservation (ADEC) and U.S. Coast Guard were
                                                                                                                                                  notified.
      27.               06.15.2018*                        05.14.2018                             CCL                        Carnival Liberty     During the annual lifeboat hooks test while the ship was     The replacement spares arrived at the ship on June 3,         Complete
                                                                                                                                                  alongside in Nassau, Bahamas, a two meter long piece of      2108. As a preventative measure, bumpers will be
                                                                                                                                                  lifeboat fender was noted missing from a lifeboat. The       inspected on a weekly basis.

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                                                                                                                                                  incident was caused by poor fitting and installation of
                                                                                                                                                  fenders during the ship’s previous dry dock. A total of 14
                                                                                                                                                  lifeboats are affected. Shoreside management were
                                                                                                                                                  contacted to expedite the delivery of replacement spares of
                                                                                                                                                  similar deteriorating parts of other lifeboats first identified
                                                                                                                                                  in June 2017. A schedule for replacement has not been
                                                                                                                                                  confirmed. Port Authorities were not notified of the
                                                                                                                                                  MARPOL Annex V violation as it could not be
                                                                                                                                                  determined if the incident occurred inside territorial
                                                                                                                                                  waters. An entry was not made in the Garbage Record
                                                                                                                                                  Book.
      28.               06.15.2018*                        05.10.2018                       Costa Group                         AIDAdiva          While the ship was alongside in Tallinn, Estonia, the EO          The EO instructed the ship to stop all discharge pumps         Complete
                                                                                                                                                  noted sewage flowing from a shoreside pipe connection.            and informed port facility personnel. It was identified that
                                                                                                                                                  At the time of the incident, the ship was connected to the        shoreside personnel had failed to close a shoreside valve,
                                                                                                                                                  shore at the aft bunker station but not at this midships          causing the sewage to leak from the open connection. No
                                                                                                                                                  position. The EO instructed the ship to stop all discharge        ship side preventive action was possible as the incident
                                                                                                                                                  pumps and informed port facility personnel. It was                was not caused by any ship personnel. The EO confirmed
                                                                                                                                                  identified that shoreside personnel had failed to close a         that the communication with the Port Reception facility
                                                                                                                                                  shoreside valve, causing the sewage to leak from the open         had occurred as required and that the checklist was
                                                                                                                                                  connection. It was estimated that approximately 200 liters        completed and signed by both parties.
                                                                                                                                                  had been discharged into the sea. The Port Authority was
                                                                                                                                                  notified but no entry was made in the waste water
                                                                                                                                                  discharge book. No ship side preventive action was
                                                                                                                                                  possible as the incident was not caused by any ship
                                                                                                                                                  personnel. The EO confirmed that the communication
                                                                                                                                                  with the Port Reception facility had occurred as required
                                                                                                                                                  and that the checklist was completed and signed by both
                                                                                                                                                  parties. The CAM understand that the shoreside vendor
                                                                                                                                                  was the cause of this release.
      29.               06.15.2018*                        05.10.2018                         HA Group                        Regal Princess      While the ship was alongside in Copenhagen, Denmark, a            Upon discovering the rust/paint drops in the water, the        Complete
                                                                                                                                                  crew member was conducting general maintenance on the             maintenance was immediately suspended. A clean up was
                                                                                                                                                  starboard anchor when a flake of rust, coated with wet oil‐       carried out using a canvas sheet. Due to the overhanging
                                                                                                                                                  based paint, became dislodged and fell into the water             nature of the bow area, a paint protection technique was
                                                                                                                                                  creating an oily sheen on the surface. Upon discovering           not practicable.
                                                                                                                                                  the rust/paint drops in the water, the maintenance was
                                                                                                                                                  immediately suspended. A clean up was carried out using
                                                                                                                                                  a canvas sheet. Due to the overhanging nature of the bow
                                                                                                                                                  area, a paint protection technique was not practicable. The
                                                                                                                                                  Port Authority was informed of the MARPOL Annex I
                                                                                                                                                  violation via the local agent and an entry was made in the
                                                                                                                                                  Garbage Record Book. An ORB entry was not made but
                                                                                                                                                  will be made. Confirmation of the ORB entry is pending.
      30.               06.15.2018*                        05.09.2018                         HA Group                           Noordam          While the ship was alongside in Juneau, AK, discharging           The investigation did not conclude any non-conformances        Complete
                                                                                                                                                  untreated grey water to shore through a shore connection,         with company procedures. No recommendations were
                                                                                                                                                  a discrepancy was noted between the ship’s sounding of            raised through the investigation given it is unknown how
                                                                                                                                                  discharged quantity and the shore facility receipt. The           the debris came to be lodged into the valve. Both port and

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                                                                                                                                                  shore facility meters indicated less grey water was            starboard overboard valves have been replaced in their
                                                                                                                                                  received than expected. Initially, it was believed that the    entirety.
                                                                                                                                                  discrepancy may have been due to incorrect meters in the
                                                                                                                                                  shore side facility. As a precaution, the EO conducted
                                                                                                                                                  rounds on the open decks for any sign of overboard
                                                                                                                                                  discharges but no visible evidence was identified. It was
                                                                                                                                                  confirmed that all system valves were indicating the
                                                                                                                                                  correct position. On 12 May, during a diver’s inspection to
                                                                                                                                                  replace rope guards, the divers were requested to inspect
                                                                                                                                                  the starboard overboard valve. A metal strip was found
                                                                                                                                                  trapped inside the valve butterfly and the object appears to
                                                                                                                                                  have caused the valve to remain in a partially open
                                                                                                                                                  position despite the valve indicator showing it was closed.
                                                                                                                                                  The ship side opening was plugged by the divers and the
                                                                                                                                                  valve was exchanged for a new one. As a result of the
                                                                                                                                                  valve issue, approximately 40 cubic meters of untreated
                                                                                                                                                  grey water may have been discharged while alongside in
                                                                                                                                                  Juneau. The issue did not occur during normal internal
                                                                                                                                                  grey water transfers as the manual valve was closed and
                                                                                                                                                  no grey water was discharged inappropriately in other
                                                                                                                                                  areas. The Alaska Department of Environmental
                                                                                                                                                  Conservation (ADEC) and U.S. Coast Guard were
                                                                                                                                                  notified. A non‐compliance notification form will be sent
                                                                                                                                                  once the internal review establishes more information. An
                                                                                                                                                  extension in the submission of the noncompliance
                                                                                                                                                  notification to the end of May was requested from ADEC
                                                                                                                                                  in order to review the event, establish a root cause if
                                                                                                                                                  possible, and develop any lessons that can be learned.
      31.               06.15.2018*                        05.07.2018                         HA Group                      Nieuw Amsterdam       While the ship was arriving into Juneau, AK, treated           The Company will engage with ABG to update ENV-              In Progress
                                                                                                                                                  permeate was being discharged as the ship’s speed              1001-F1 to include that crews should reference their
                                                                                                                                                  reduced from 6.2 knots to 2.6 knots. The ship’s                ADEC issued Alaskan Wastewater Discharge Permits for
                                                                                                                                                  Authorization to Discharge in line with the Alaska             any ship specific special conditions associated with
                                                                                                                                                  General Permit allows the ship to discharge treated            discharge. Consideration is currently being given to
                                                                                                                                                  permeate with a mixing zone above six knots. The ship          standardizing environmental schedules at the HA Group
                                                                                                                                                  was discharging for nine minutes before the non‐               level and that these be developed and approved shore side.
                                                                                                                                                  compliance was identified, resulting in approximately two      Both of these recommendations are expected to be
                                                                                                                                                  cubic meters of treated sewage being discharged while the      completed by the end of September 2018.
                                                                                                                                                  ship speed was below six knots. A review of the incident
                                                                                                                                                  revealed that the Environmental Schedule discharge
                                                                                                                                                  matrix, did not take into account the speed restriction. The
                                                                                                                                                  Ocean Ranger was informed immediately and the Alaska
                                                                                                                                                  Department of Environmental Conservation and U.S.
                                                                                                                                                  Coast Guard were notified via shoreside management. The
                                                                                                                                                  discharge matrix was amended and all watchkeeping
                                                                                                                                                  officers were advised. The ship’s authorization restrictions
                                                                                                                                                  were discussed during the voyage planning brief the

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                                                                                                                                                  following day. Although the specific authorizations were
                                                                                                                                                  discussed during the monthly EO call in April, a separate
                                                                                                                                                  call with all group ships that operate in Alaska was held
                                                                                                                                                  on 11 May, focusing on discussing the incident and
                                                                                                                                                  explanation of the different authorizations. An
                                                                                                                                                  investigation into the root cause and review of the VDR is
                                                                                                                                                  ongoing. Initial outputs show that the Bridge OOW was
                                                                                                                                                  familiar with the discharge authorization of the ship and
                                                                                                                                                  informed the ECR to stop discharges when the speed
                                                                                                                                                  reduction occurred. The investigations team is expected to
                                                                                                                                                  have their findings completed within two weeks.
      32.               06.15.2018*                        05.06.2018                         HA Group                           Maasdam          While the ship was en route to Fort Lauderdale, FL and in      The root cause of the incident was that the Deck and          Complete
                                                                                                                                                  green manning, the ship discharged permeate until the ship     Engineering Officers on watch during the incident did not
                                                                                                                                                  entered the four nautical mile limit of the Bahamas            understand that ballast could not be discharged overboard
                                                                                                                                                  baseline. At this point, the permeate was directed to a        at the same time Permeate was being directed to tank 1C.
                                                                                                                                                  dual‐use ballast/permeate storage tank. De‐ballasting of a     As a result, additional training on the arrangements of the
                                                                                                                                                  dedicated ballast tank was requested by the Bridge and         ballast system and the AWWPS was provided to Deck and
                                                                                                                                                  commenced by the ECR until the EOOW realized that by           Engineering Officers on June 25, 2018. To better assist
                                                                                                                                                  simultaneously de‐ballasting and continuing to store           the ships, the Technical Department on September 5,
                                                                                                                                                  permeate, the stored permeate was also being discharged.       2018, updated the display schematic for the AWWPS and
                                                                                                                                                  The treatment plant was immediately stopped and the            ballast systems to show all system connections.
                                                                                                                                                  valve for the ballast/permeate tank was closed. It is
                                                                                                                                                  estimated that a total of 34 cubic meters of permeate were
                                                                                                                                                  discharged inside the Bahamian baseline. The ballast
                                                                                                                                                  water discharged was properly managed and did not
                                                                                                                                                  constitute a violation of ballast management regulations.
                                                                                                                                                  Entries were made in the Sewage and Grey Water Log
                                                                                                                                                  Book. Authorities were notified of the violation of
                                                                                                                                                  MARPOL Annex IV. The voyage overview brief and the
                                                                                                                                                  written stability directions were specific to discharging
                                                                                                                                                  ballast and permeate outside of four nautical miles. A
                                                                                                                                                  VDR review is still being conducted but conversations
                                                                                                                                                  indicate that, when it became apparent that deballasting
                                                                                                                                                  was not going to be completed outside four nautical miles,
                                                                                                                                                  the Bridge and ECR discussed the options and decided
                                                                                                                                                  that deballasting was permitted within four nautical miles
                                                                                                                                                  due to previous deep water exchange. Unfortunately, the
                                                                                                                                                  system configuration was inappropriate for that option
                                                                                                                                                  while the plant was operating. The root cause and lessons
                                                                                                                                                  learned are still being assessed pending completion of the
                                                                                                                                                  investigation. To prevent recurrence, all watch standing
                                                                                                                                                  Officers will re‐familiarize themselves with the ballast and
                                                                                                                                                  wastewater treatment systems of the ship and any
                                                                                                                                                  applicable local, company, and MARPOL regulations
                                                                                                                                                  related to these types of discharges.


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    33.              06.15.2018*                         05.04.2018                        HA Group                         Caribbean Princess    While the ship was alongside in St Thomas, U.S. Virgin        On a monthly basis, crewmembers undergo “Seize the           Complete
                                                                                                                                                  Islands, the EO inspected the galley grease trap system.      Grease and Plastics” training.
                                                                                                                                                  Approximately 10 liters of plastic wrapping film, gloves,
                                                                                                                                                  pieces of plastic bags and plastic spoons were removed.
                                                                                                                                                  Food scraps, wooden toothpicks and coffee grounds were
                                                                                                                                                  also found. There was no oil film floating on the top
                                                                                                                                                  surface of the overflow section of the grease trap.
                                                                                                                                                  Although the grease trap grates stopped the majority of
                                                                                                                                                  plastic and food waste, it is likely that some waste passed
                                                                                                                                                  through and was discharged in violation of MARPOL
                                                                                                                                                  Annex V. To avoid recurrence, additional training needs
                                                                                                                                                  to be provided to improve crew environmental compliance
                                                                                                                                                  culture and raise crew awareness of the correct ways of
                                                                                                                                                  handling galley cleaning activities.
      34.               06.15.2018*                        05.04.2018                             CCL                        Carnival Miracle     Prior to the ship’s arrival into Grand Cayman and during      Service technicians successfully replaced the seals on May   Complete
                                                                                                                                                  the ship’s subsequent transit from Grand Cayman to            29, 2018. A Lloyds surveyor and the United States Coast
                                                                                                                                                  Tampa, FL, a total of 184.5 liters of non‐biodegradable       Guard inspected and approved the repairs. The port
                                                                                                                                                  lubricating oil leaked from the port podded propulsion        Azipod is fully operational.
                                                                                                                                                  motor (PEM). The leak was initially identified when a low
                                                                                                                                                  level alarm activated on the PEM gravity tank. No oil was
                                                                                                                                                  lost while the ship was alongside in Grand Cayman. The
                                                                                                                                                  leak was reported to the U.S. Coast Guard (USCG) and
                                                                                                                                                  the National Response Coordination Center. On 06 May,
                                                                                                                                                  while the ship was docked in Tampa, divers inspected the
                                                                                                                                                  PEM and noted a small amount of oil coming from
                                                                                                                                                  beneath the PEM rope guard. The PEM manufacturer was
                                                                                                                                                  consulted and it was recommended that the valve from the
                                                                                                                                                  gravity tank remain closed. The USCG approved a plan to
                                                                                                                                                  lubricate the PEM seal every six hours while underway
                                                                                                                                                  and outside 12 nautical miles from land. The valve is kept
                                                                                                                                                  closed when inside 12 nautical miles from land. A record
                                                                                                                                                  of this action is being maintained and the ship’s itinerary
                                                                                                                                                  has been modified to accommodate this requirement. The
                                                                                                                                                  ship’s Classification Society has issued a Condition of
                                                                                                                                                  Class and the USCG has provided a port state control
                                                                                                                                                  report of inspection to the ship. The seal will be replaced
                                                                                                                                                  27‐29 May. The ORB has been updated to account for the
                                                                                                                                                  violation of MARPOL Annex I.
      35.               06.15.2018*                        04.26.2018                         HA Group                        Crown Princess      During a routine inspection of the grease trap serving all    The technical department crewmembers replaced all            Complete
                                                                                                                                                  main galleys, approximately one kilogram of mixed debris      missing drain strainers. Also, recently embarked galley
                                                                                                                                                  (plastic, rags, caps, and straws) was found. The items are    team crewmembers underwent scuppers training before
                                                                                                                                                  believed to have entered the grease trap tank via scuppers    assuming duties. Additionally, the Environmental Officer
                                                                                                                                                  and drains in the galley areas. There was no discharge of     explains how the system works during TRG2302 training
                                                                                                                                                  plastics, however an unquantifiable amount of animal fats     sessions. Further, galley personnel are recalled on random
                                                                                                                                                  and galley grease may have been discharged with the grey      basis to have environmental training during the course of
                                                                                                                                                  water in violation of MARPOL Annex V. A review found          their contract.

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                                                                                                                                                  that some drains were not designed with any filter in front
                                                                                                                                                  of the scupper pipe. Further, some scupper drain plates
                                                                                                                                                  and belts were routinely removed to facilitate water
                                                                                                                                                  drainage during the cleaning of the galley. The screen to
                                                                                                                                                  the grey water tank was cleaned confirmed to be in good
                                                                                                                                                  condition. All staff and supervisors from the food and
                                                                                                                                                  beverage department have been retrained to follow the
                                                                                                                                                  correct procedures at all times. The technical department
                                                                                                                                                  is assisting with a check and repair of all the drains in the
                                                                                                                                                  galleys.
      36.               06.15.2018*                        04.25.2018                             CCL                        Carnival Dream       During maintenance work, a grey water tank serving the          The samples sent for analysis were lost in transit. CCL       Complete
                                                                                                                                                  aft galleys was opened and oil was found inside. It is          Environmental operations staff tried their best to locate
                                                                                                                                                  believed that the oil originated from food waste fats, oils     but without any success. As a preventive measure all
                                                                                                                                                  and greases and not as result of disposing cooking oil into     galley team members were retrained on proper disposal of
                                                                                                                                                  the drains. The tank had been discharged earlier the same       cooking oil.
                                                                                                                                                  day but the amount of oil found indicated that there had
                                                                                                                                                  been no significant pollution. The tank was isolated for
                                                                                                                                                  cleaning. Approximately 14 fluid ounces of oil and
                                                                                                                                                  sediment from the tank were removed and samples were
                                                                                                                                                  sent to a shoreside facility for analysis on 29 April.
                                                                                                                                                  Results which will confirm the nature of any MARPOL
                                                                                                                                                  violation are pending. The remaining grey water
                                                                                                                                                  contaminated with oil and sediments was collected in
                                                                                                                                                  metal drums and offloaded ashore.
      37.               06.15.2018*                        04.23.2018                         HA Group                        Royal Princess      A routine inspection of a grease trap servicing the main        On the recommendation of the Environmental Officer, the       Complete
                                                                                                                                                  galley found approximately 60 grams of debris including         grease traps will be opened for visual inspection every two
                                                                                                                                                  white vinyl gloves and a plastic disposable apron. These        to four weeks.
                                                                                                                                                  items are believed to have entered the grease trap tank via
                                                                                                                                                  scuppers and drains found in the galley areas. In addition,
                                                                                                                                                  approximately three liters of oil/grease were also found.
                                                                                                                                                  The grease trap discharge drain screen, designed to
                                                                                                                                                  prevent foreign objects entering the grey water tank, was
                                                                                                                                                  found in good condition. Three other grease traps were
                                                                                                                                                  inspected. Similar volumes of oil/grease, but no solid
                                                                                                                                                  materials, were found. There was no discharge of plastics,
                                                                                                                                                  however an unquantifiable amount of animal fats and
                                                                                                                                                  galley grease may have been discharged with the grey
                                                                                                                                                  water in violation of MARPOL Annex V. The EO, Maître
                                                                                                                                                  d’hôtel and Executive Chef re‐trained the galley cleaners.
                                                                                                                                                  To prevent recurrence, the ship will arrange for more
                                                                                                                                                  regular and thorough checks of all galley drains, scuppers
                                                                                                                                                  and grease traps.
      38.               06.15.2018*                        05.01.2018                       Costa Group                         AIDAluna          While the ship was alongside in Eidfjord, Norway, the EO        Updated instructions were provided to all Deck Officers       Complete
                                                                                                                                                  identified that a chemical not included in the Approved         with additional ad-hoc instruction to all other deck crew
                                                                                                                                                  Chemicals List for External Deck Cleaning had been used         involved with external cleaning operations. The
                                                                                                                                                  for the washing of passenger balcony outer surfaces. Local      preventative training sessions focused on the content of

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                                                                                                                                                  authorities were notified and an entry was made in the        the ECP “MUST SEE MESSAGE” related to open deck
                                                                                                                                                  Garbage Record Book. An outdated Approved Chemicals           cleaning, indicating which chemicals are to be used for
                                                                                                                                                  List for External Deck Cleaning was found inside the          open deck cleaning and, in case of any doubts to contact
                                                                                                                                                  Garbage Record Book and subsequently removed.                 the EO. The ship was still referring to an outdated
                                                                                                                                                  Updated instructions were provided to all Deck Officers       approved-chemical list due to a failure in on board
                                                                                                                                                  with additional ad-hoc instruction to all other deck crew     document control. The content of the ECP “MUST SEE
                                                                                                                                                  involved with external cleaning operations. The               MESSAGE” has been reinforced across the company fleet
                                                                                                                                                  preventative training sessions focused on the content of      via an internal communication requesting all outdated
                                                                                                                                                  the ECP “MUST SEE MESSAGE” related to open deck               Approved Chemical Lists be removed if still present.
                                                                                                                                                  cleaning, indicating which chemicals are to be used for
                                                                                                                                                  open deck cleaning and, in case of any doubts, to contact
                                                                                                                                                  the EO. The ship was still referring to an outdated
                                                                                                                                                  approved-chemical list due to a failure in on board
                                                                                                                                                  document control. The content of the ECP “MUST SEE
                                                                                                                                                  MESSAGE” has been reinforced across the company fleet
                                                                                                                                                  via an internal communication requesting all outdated
                                                                                                                                                  Approved Chemical Lists be removed if still present. The
                                                                                                                                                  CAM understands that this incident was a violation of
                                                                                                                                                  Company policy. The CAM also understands that this
                                                                                                                                                  incident may have been a violation of MARPOL and/or
                                                                                                                                                  local requirements. As noted above, the CAM has
                                                                                                                                                  requested copies of the notifications to authorities and
                                                                                                                                                  other relevant information.
      39.               06.15.2018*                        04.26.2018                             CCL                        Carnival Miracle     While the ship was anchored in Belize, a discharge of         During a meeting in the ECR, the engineers and oiler on    Complete
                                                                                                                                                  water from the ship’s side was reported. The quantity         watch received instructions to be more vigilant.
                                                                                                                                                  discharged was estimated to be approximately 200 liters.      Additionally, the M11 Tk high level alarm was lowered to
                                                                                                                                                  The water was determined to be an overflow from a diesel      6 m3 (the M11 total capacity is 15.4m3).
                                                                                                                                                  generator cooling water header tank. The remaining
                                                                                                                                                  cooling water was transferred to a dirty bilge tank to
                                                                                                                                                  reduce the level. It was subsequently identified that the
                                                                                                                                                  header tank filling valve had been left partially open by a
                                                                                                                                                  crew member, causing it to overflow overboard through a
                                                                                                                                                  vent. Approximately 22 crew members work in the area of
                                                                                                                                                  the valve and it was not possible to identify the person
                                                                                                                                                  responsible for leaving the valve open. A meeting was
                                                                                                                                                  held and all relevant crew were directed to be more
                                                                                                                                                  vigilant while on watch. The cooling water header tank
                                                                                                                                                  high level alarm has been lowered to provide an earlier
                                                                                                                                                  notification. The Port Authority was notified via the local
                                                                                                                                                  agent. No further action was required. A sample of the
                                                                                                                                                  water was collected and sent for analysis. The CAM
                                                                                                                                                  understands that this incident was a violation of local
                                                                                                                                                  requirements only.
      40.               07.06.2018*                        05.31.2018                         HA Group                           Veendam          While the ship was en route to Quebec, Canada, a Diesel       The vessel was able to reset the high temperature alarm    Complete
                                                                                                                                                  Generator (DG) EGCS system shut down due to a high            and found all equipment operable; no future repairs are
                                                                                                                                                  temperature alarm on the dilution pump Variable

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                                                                                                                                                  Frequency Drive (VFD). The EOOW commenced a fuel               required. The EGCS is fully operational. Transport
                                                                                                                                                  change over from HFO to MGO. The DG was running on             Canada is satisfied that the EGCS is back in operation.
                                                                                                                                                  non-compliant fuel for approximately 1 hour and 13
                                                                                                                                                  minutes in violation of Company policy and ECA
                                                                                                                                                  regulations. Transport Canada was informed. New VFDs
                                                                                                                                                  are scheduled to be fitted in the next dry dock (April 2019)
                                                                                                                                                  as this cannot be safely undertaken in service.
      41.               07.06.2018*                        04.25.2018                             CCL                        Carnival Dream       During maintenance work, a grey water tank was opened          The vendor did not recover the samples. The samples are      Complete
                                                                                                                                                  and oil was found inside. The oil is believed to have          considered lost.
                                                                                                                                                  originated from food and is not likely to be as a result of
                                                                                                                                                  spilling cooking oil into the drains. The amount of oil
                                                                                                                                                  found indicates that there has been no significant pollution
                                                                                                                                                  although a violation of MARPOL Annex V is likely. The
                                                                                                                                                  tank was immediately isolated and cleaned.
                                                                                                                                                  Approximately one cubic meter of grey water and
                                                                                                                                                  sediment was collected and subsequently offloaded to a
                                                                                                                                                  shoreside reception facility. Samples of the sediments and
                                                                                                                                                  oil were taken and sent to a shoreside facility for analysis
                                                                                                                                                  but have subsequently gone missing. Results are pending
                                                                                                                                                  successful recovery of the lost samples by the vendor. An
                                                                                                                                                  entry was made in the Garbage Record Book but
                                                                                                                                                  authorities were not notified. Training has been conducted
                                                                                                                                                  with the Galley Team emphasizing the Garbage
                                                                                                                                                  Management Plan.
      42.               07.06.2018*                        06.01.2018                             CCL                       Carnival Sunshine     During a review, the EO noted that the digital recorder for    On June 12, 2018, the service technician replaced the flow   Complete
                                                                                                                                                  a BCDB is not recording the overboard discharge quantity       meter with a spare that the ship had onboard. The system
                                                                                                                                                  progressively. The issue is due to an error on the digital     is working without further issue.
                                                                                                                                                  recorder counter. A manufacturer’s service has been
                                                                                                                                                  scheduled for 12 June. An entry in the ORB has been
                                                                                                                                                  recorded.
      43.               07.06.2018*                        05.24.2018                         HA Group                           Zaandam          While the ship was en route to Juneau, AK, routine checks      The crewmembers successfully repaired and tested the         Complete
                                                                                                                                                  identified damage to the ram seals of the incinerator,         incinerator’s ram seal on June 6 and June 7, 2018
                                                                                                                                                  rendering it out of service until the spare parts are          respectively. The incinerator is back in normal operation.
                                                                                                                                                  received. A requisition order has been created and the
                                                                                                                                                  parts are expected to arrive on board on 01 July. The ship
                                                                                                                                                  has adequate storage space for dry waste which will be
                                                                                                                                                  landed ashore every 14 days until the incinerator is fixed.
                                                                                                                                                  Dry waste landing dates can be increased if necessary. The
                                                                                                                                                  cause of the damage is still under review.
      44.               07.06.2018*                        06.02.2018                         HA Group                       Seabourn Encore      While the ship was alongside in Civitavecchia, Italy, the      The crewmembers fitted the new motor upon delivery.          Complete
                                                                                                                                                  incinerator malfunctioned and became unusable. An initial      After further analysis, the crewmembers changed the
                                                                                                                                                  review revealed a failure of the flue gas fan where the        phase connections and the motor ran well on 25% power
                                                                                                                                                  variable frequency drive is showing a short circuit. As the    in lieu of 100% power. It is thought the old motor was not
                                                                                                                                                  speed of the fan cannot be regulated, the burners do not       wired correctly from the shipyard.
                                                                                                                                                  fire correctly. The manufacturer has been informed to
                                                                                                                                                  provide further support. Required spare parts were

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                                                                                                                                                  scheduled to arrive on 07 June. Storage has been arranged
                                                                                                                                                  for excess dry waste which can be offloaded as necessary.
      45.               07.06.2018*                        06.07.2018                             CCL                        Carnival Liberty     While the ship was in Port Canaveral, FL, foam was noted       The Fleet Monthly Environmental Compliance conference          Complete
                                                                                                                                                  in the water alongside the ship. The EOOW confirmed            call attendees discussed the incident on June 27, 2018.
                                                                                                                                                  that all overboard valves were closed and the                  Fleetwide training was implemented on June 25, 2018.
                                                                                                                                                  Housekeeping Manager confirmed no cleaning activity
                                                                                                                                                  was taking place. An inspection on board identified foam
                                                                                                                                                  on a lido deck scupper drain, close to a waiter station. The
                                                                                                                                                  Food Operations Manager confirmed that a dilute ‘Apex
                                                                                                                                                  Power’ detergent solution had been drained into the sea by
                                                                                                                                                  food operation personnel. A meeting and training was
                                                                                                                                                  conducted with the involved crewmember and the Food
                                                                                                                                                  Operations Manager was advised to include this topic in
                                                                                                                                                  orientation training to prevent future recurrence. The
                                                                                                                                                  incident was reported to the U.S. Coast Guard and the
                                                                                                                                                  local port agent. No follow‐up actions were requested. The
                                                                                                                                                  violations of company procedure, CLIA policy and VGP
                                                                                                                                                  requirements were entered in the Garbage Record Book.
                                                                                                                                                  The incident will be discussed during future Fleet Monthly
                                                                                                                                                  Environmental Compliance discussions. Preventive
                                                                                                                                                  training will be included in Galley Crew familiarization
                                                                                                                                                  and a training package will be developed by to
                                                                                                                                                  communicate the requirements for wastewater handling
                                                                                                                                                  and disposal. The package will be developed by 15
                                                                                                                                                  June and implemented by 22 June.
      46.               07.06.2018*                        06.03.2018                             CCL                        Carnival Dream       While the ship was alongside in New Orleans, LA, the           Service technicians completed the valve interlocking           Complete
                                                                                                                                                  Bridge requested to start discharging ballast water. The       revision on June 19, 2018. All officers and engineers on
                                                                                                                                                  EOOW opened an incorrect valve by mistake and                  watch at the time of the incident completed additional
                                                                                                                                                  approximately 50 cubic meters of treated sewage was            training at CSMART before December 31, 2018.
                                                                                                                                                  discharged over a period of one hour and 12 minutes in         Additionally, the Technical Operations Director will
                                                                                                                                                  violation of company requirements. The EOOW informed           evaluate whether to realign the automation page layout or
                                                                                                                                                  the Bridge that the tank was empty and the Bridge realized     limit the display to only show the ballast water tanks or
                                                                                                                                                  the situation. No oily sheen was observed. The Port            grey/black water tanks when applicable operations are
                                                                                                                                                  Authority, U.S. Coast Guard (USCG) and National                initiated. Limiting the display is expected to eliminate
                                                                                                                                                  Response Coordination Center were informed. The USCG           confusion regarding similar tank names. Ultimately,
                                                                                                                                                  requested confirmation that the discharge was not raw          shoreside management decided to rename the tanks and
                                                                                                                                                  sewage and copies of the ship’s Vessel General Permit and      limit the valve interlock controls to the Chief Engineer and
                                                                                                                                                  National Pollutant Discharge Elimination System permit.        Master with password access. Consequently, retraining
                                                                                                                                                  The Port Authority did not respond. The Captain                and other modifications are no longer necessary.
                                                                                                                                                  completed a review of the closed‐loop communications.
                                                                                                                                                  ERM and BRM communication procedures were not
                                                                                                                                                  always followed while on watch. Languages other than
                                                                                                                                                  English were used. As preventative actions, training with
                                                                                                                                                  all Bridge and ECR watchkeepers was conducted, the
                                                                                                                                                  valve interlocking schedule is being revised, valve
                                                                                                                                                  movements will be additionally monitored by the Bridge

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                                                                                                                                                  watchkeeper once the EOOW confirms the
                                                                                                                                                  opening/closing of valves and the Engine Cadet has been
                                                                                                                                                  assigned as an administrator to filter communications to
                                                                                                                                                  the EOOW during home port days. Additionally, the
                                                                                                                                                  option of sending all involved officers for ERM/BRM
                                                                                                                                                  training at CSMART is being considered. As per the
                                                                                                                                                  current plan, only Panama Flag ships are scheduled to
                                                                                                                                                  have interlocked valves installed and ballast and
                                                                                                                                                  grey/black water piping segregated. The Flag
                                                                                                                                                  Administration requires the segregation process to be
                                                                                                                                                  completed by August 2018. The option of re‐labelling the
                                                                                                                                                  tank names to clearly identify their use is being evaluated.
      47.               07.06.2018*                        05.31.2018                         HA Group                       Seabourn Sojourn     On 05 June, the ship received the preliminary results for        The Company received a Notice of Violation from the      Complete
                                                                                                                                                  the underway sampling event actioned on 31 May. The              Alaska Department of Environmental Conservation
                                                                                                                                                  result indicated an elevated Biochemical Oxygen Demand           (ADEC) regarding the incident. The preliminary results
                                                                                                                                                  (BOD) of 70 mg/liter, which exceeds the permitted daily          for the June 9th sampling showed the BOD at 4.4mg/l, a
                                                                                                                                                  maximum for Alaska Stationary of 60mg/liter and will             reading significantly below the daily maximum (60mg/l)
                                                                                                                                                  possibly exceed the monthly average of 30 mg/liter as            and monthly average (30mg/l).
                                                                                                                                                  well. Permission to discharge permeate in Alaskan waters
                                                                                                                                                  was given by shoreside management and the OLCM. The
                                                                                                                                                  Alaska Department of Environmental Conservation and
                                                                                                                                                  the U.S. Coast Guard have been notified. A non‐
                                                                                                                                                  compliance notification was submitted to the State of
                                                                                                                                                  Alaska. The operation of the units is being closely
                                                                                                                                                  supervised and the manufacturer is assisting with
                                                                                                                                                  troubleshooting the issue. Before sampling, grease traps,
                                                                                                                                                  grey water collecting tanks and the mixing tank were
                                                                                                                                                  cleaned and the de‐sludging volume was increased on the
                                                                                                                                                  two days prior. The ship has taken multiple samples on
                                                                                                                                                  their own and none of these indicate any issues with the
                                                                                                                                                  plant. The system manufacturer can find no abnormal
                                                                                                                                                  issues with the operating parameters provided. The ship’s
                                                                                                                                                  frequency of desludging was increased for a short period
                                                                                                                                                  of time to lower the BOD counts. The ship was formally
                                                                                                                                                  re‐sampled 9 June and we are awaiting the results of this
                                                                                                                                                  sample event.
      48.               07.06.2018*                        06.06.2018                             CCL                        Carnival Miracle     While the ship was approaching Belize and maneuvering            The ship is currently scheduled to undergo permanent     In Progress
                                                                                                                                                  in the channel, it listed by approximately 1.5°, causing 45      repairs during the next dry dock in January 2020.
                                                                                                                                                  liters of water to overflow from a forward pool and drain
                                                                                                                                                  into the sea. The violation of company requirements was
                                                                                                                                                  reported to the Port Authority. No further action was
                                                                                                                                                  requested. The current layout of the pool does not permit
                                                                                                                                                  lowering the pool level. Near term preventative action was
                                                                                                                                                  to remove the overflows by having the ships conduct a
                                                                                                                                                  risk assessment based on forecasted weather, traffic,
                                                                                                                                                  transit conditions prior to arrival. If the assessment reveals

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                                                                                                                                                  a likelihood that an overflow may occur, the potentially
                                                                                                                                                  impacted facilities must be lowered, and if necessary
                                                                                                                                                  closed. Long term, the ship is reviewing options to add
                                                                                                                                                  permanent internal drainage, refilling lines, skim gutters or
                                                                                                                                                  return lines at the calculated lower level.
      49.               07.06.2018*                        06.05.2018                         HA Group                       Golden Princess      While the ship was alongside in Juneau, AK and                  On June 19, 2018, the sample result for BOD was               Complete
                                                                                                                                                  discharging treated grey water through its Advanced             270mg/l while the fecal coliform level was less than 2
                                                                                                                                                  Waste Water Treatment System (AWWTS), Admiralty                 FC/100ml. On July 10, 2018, Hamworthy technician, Dr.
                                                                                                                                                  Environmental conducted an unannounced sampling                 Wei Chen, reviewed the AWWTS system and found that
                                                                                                                                                  event. The following day, the ship received notification to     when a certain cleaning chemical was used to clean the
                                                                                                                                                  stop discharging as the fecal coliform result of 130            crew and public toilet vacuum lines of scale the ship
                                                                                                                                                  FC/100ml exceeded the daily limit of 40 FC/100ml. The           experienced higher BOD results. Consequently, the ship
                                                                                                                                                  ship was not discharging at the time of the notification.       stopped using the cleaning chemical on June 20, 2018.
                                                                                                                                                  The ship will be re‐sampled on 12 June and will not             Additional sampling taken on June 27, 2018, revealed
                                                                                                                                                  discharge overboard in Alaskan waters until further notice.     fecal coliform and BOD levels to be within acceptable
                                                                                                                                                  The Alaska Department of Environmental Conservation             limits. To prevent future exceedances, the ship is tracking
                                                                                                                                                  and the U.S. Coast Guard were notified and a non‐               when membranes are replaced so crewmembers can timely
                                                                                                                                                  compliance notification was submitted to the State of           schedule cleaning and replacement.
                                                                                                                                                  Alaska. The technical team is in the process of rectifying
                                                                                                                                                  the issue with the AWWTS. A membrane suspected to be
                                                                                                                                                  the source of the non‐compliance has been replaced. We
                                                                                                                                                  are investigating the cause of the membrane failure, and
                                                                                                                                                  pending the outcome we can recommend adjustments to
                                                                                                                                                  inspection frequency of the membranes.
      50.               07.06.2018*                        06.03.2018                             CCL                        Carnival Triumph     An Oily Water Separator (OWS) was started for the               The OWS was repaired and put back in service on June 8,       Complete
                                                                                                                                                  monthly operational test. The OWS was in recirculation          2018.
                                                                                                                                                  mode back to the dirty oily bilge tank. The solenoid valve
                                                                                                                                                  which opens the sample flow to the Oil Content Meter
                                                                                                                                                  (OCM) and flow switch, remained stuck and the OCM
                                                                                                                                                  was reading a high ppm value. The OWS was stopped due
                                                                                                                                                  to low sample water flow caused by the faulty solenoid
                                                                                                                                                  valve. The OWS was repaired and put back in service on
                                                                                                                                                  08 June. The delay was due to troubleshooting suction and
                                                                                                                                                  delivery lines to the OCM and system components. An
                                                                                                                                                  entry was made in the Oil Record Book.
      51.               07.06.2018*                        06.09.2018                             CCL                        Carnival Victory     During the inspection of a BCDB, it was noticed that the        The crewmembers repaired the BCDB on June 12, 2018            Complete
                                                                                                                                                  flow switch was indicating flow even though the system          and put it back into service. The cooler was added to the
                                                                                                                                                  was not in use. It was determined that the sample cooler        critical items list.
                                                                                                                                                  was leaking, allowing cooling water into the sample line.
                                                                                                                                                  All valves on the cooler were closed and the BCDB was
                                                                                                                                                  taken out of service. The ship’s second BCDB remained in
                                                                                                                                                  service and there was no operational impact. An entry was
                                                                                                                                                  made in the Oil Record Book. Spare parts were received
                                                                                                                                                  on board on 11 June and repairs are scheduled to be
                                                                                                                                                  completed by 13 June. The cooler is not part of the ECP


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                                                                                                                                                  critical item list, but it will be evaluated if this needs to be
                                                                                                                                                  added.
      52.               07.06.2018*                        06.02.2018                       Costa Group                         AIDAluna          While the ship was en route to Tromsø, Norway, during a            Preventive actions include ordering and keeping sufficient   Complete
                                                                                                                                                  routine periodical inspection it was noted that one bearing        spares on board.
                                                                                                                                                  of the centrifugal Oily Water Separator (OWS) was
                                                                                                                                                  seized. The involved OWS was set out of order. The
                                                                                                                                                  necessary spare parts were ordered and received on board
                                                                                                                                                  on 07 June. Prior to repair, all bilge water was offloaded to
                                                                                                                                                  shoreside reception facilities. The bearing found seized is
                                                                                                                                                  not included in the list of critical spare parts. No
                                                                                                                                                  unplanned discharge to sea was caused by the
                                                                                                                                                  malfunction. An entry was made in the Oil Record Book.
                                                                                                                                                  Preventive actions include ordering and keeping sufficient
                                                                                                                                                  spares on board. The OWS remains out of order.
                                                                                                                                                  Additional spares are scheduled to be received by 25 June.
                                                                                                                                                  The ship’s second OWS is available and there is no
                                                                                                                                                  operational impact.
      53.               07.06.2018*                        03.17.2018                             CUK                            Ventura          During maintenance on the ship’s only incinerator in dry           Crewmembers installed a new garbage compactor on May         Complete
                                                                                                                                                  dock, it was identified that steelwork in the incinerator          9, 2018. Crewmembers repaired and put the incinerator
                                                                                                                                                  chambers is in poor condition and requires replacement.            back into operation on May 14, 2018.
                                                                                                                                                  Repairs are scheduled to be completed and the incinerator
                                                                                                                                                  returned to service by the 09 Apr. Prior to repair, there
                                                                                                                                                  will be an increase of landed garbage and an additional
                                                                                                                                                  garbage compactor is being sourced to reduce the volumes
                                                                                                                                                  held.
      54.               07.06.2018*                        07.03.2017                             CCL                       Carnival Splendor     267 kg of refrigerant gas leaked from an air conditioning          The flange was repaired and the system was put back in       Complete
                                                                                                                                                  system due to a faulty flange. The flange was repaired             service.
                                                                                                                                                  and the system was put back in service.
      55.               07.06.2018*                        07.15.2017                             CCL                       Carnival Splendor     Treated black water was discharged within 12NM of the              To address the Bahamas and other coastal states with         Complete
                                                                                                                                                  Bahamian coast due to accidentally opening the overboard           unique baseline concerns, baselines that were approved as
                                                                                                                                                  discharge valve. The valve was closed within 10 minutes.           per UNCLOS were inserted into the ENV1001 matrix.
      56.               07.06.2018*                        09.07.2017                             CCL                       Carnival Splendor     While docked in Isla Roatan, Honduras, an oil leak was             The pipe was welded and successfully tested. The davit       Complete
                                                                                                                                                  reported to be coming from a lifeboat. A high pressure             system and lifeboat were put back in service.
                                                                                                                                                  hydraulic pipe was found to have failed, spilling oil down
                                                                                                                                                  the ship’s hull. Operation of the affected davit system was
                                                                                                                                                  halted which immediately stopped the leak.
                                                                                                                                                  Approximately 0.5 liters of oil was estimated to have been
                                                                                                                                                  spilled with a small proportion of this volume entering the
                                                                                                                                                  water. No oil sheen was observed. The Port Authority
                                                                                                                                                  was notified via the Port Agent and permission was
                                                                                                                                                  granted to repair the failed pipe prior to departure. The
                                                                                                                                                  pipe was welded and successfully tested. The davit system
                                                                                                                                                  and lifeboat were put back in service. A ‘G’ entry was
                                                                                                                                                  made in the oil records book.
      57.               07.06.2018*                        09.26.2017                       Costa Group                       Costa Atlantica     It was identified that several pieces of equipment                 The Company is obtaining information regarding the           In Progress
                                                                                                                                                  belonging to the pulper system were not working. The               status of the food pulper.

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                                                                                                                                                   pulper system cannot be restored while the ship is in
                                                                                                                                                   service. Food waste is currently being processed manually
                                                                                                                                                   and offloaded. There is no operational impact although
                                                                                                                                                   there is a financial impact. An upgrade to the pulper
                                                                                                                                                   system will be started during the January 2018 drydock
                                                                                                                                                   and will be complete in March 2018. This incident was
                                                                                                                                                   reported late due to it initially not being recognized as a
                                                                                                                                                   reportable issue. The ship identified the omission due to
                                                                                                                                                   seeing a similar event in an internal Weekly Incident
                                                                                                                                                   Report. Additional reminders will be issued as part of the
                                                                                                                                                   adoption of COM-1101.
      58.               07.06.2018*                        02.09.2018                             CCL                       Carnival Inspiration   The incinerator on the Carnival Inspiration was reported       In addition, ship personnel ordered an additional motor to   Complete
                                                                                                                                                   as being out of service on February 9, 2018 when an            serve as a spare. After receiving the replacement motor on
                                                                                                                                                   electrical motor failed in an associated piece of equipment,   June 4, 2018 the ship’s crew installed the motor and
                                                                                                                                                   the garbage shredder. The garbage shredder is part of the      placed the incinerator back in service on June 7, 2018.
                                                                                                                                                   incinerator system, and the incinerator does not function
                                                                                                                                                   when the shredder is inoperative. The ship issued a
                                                                                                                                                   requisition for a replacement motor, which is not
                                                                                                                                                   designated as an ECP critical spare, on February 10, 2018.
                                                                                                                                                   However, the purchase order was not issued for the
                                                                                                                                                   replacement motor until March 15, 2018—approximately
                                                                                                                                                   33 days later. The ship did not receive the replacement
                                                                                                                                                   motor until June 4, 2018. During the period between
                                                                                                                                                   approval of the purchase order and receipt of the
                                                                                                                                                   replacement motor, ship personnel did follow up on the
                                                                                                                                                   status of the requested part. In addition, ship personnel
                                                                                                                                                   ordered an additional motor to serve as a spare. After
                                                                                                                                                   receiving the replacement motor on June 4, 2018 the
                                                                                                                                                   ship’s crew installed the motor and placed the incinerator
                                                                                                                                                   back in service on June 7, 2018. The CAM understands
                                                                                                                                                   that the incinerator was inoperative from February 9, 2018
                                                                                                                                                   to June 7, 2018.
      59.               07.18.2018*                        06.22.2018                       Costa Group                       Costa Deliziosa      During bilge discharge operations while the ship was en        Due to a missing invoice, the shipment of the replacement    In Progress
                                                                                                                                                   route to Dubrovnik, Croatia, it was noted that the Oily        filter has been delayed. The warehouse is confirming the
                                                                                                                                                   Water Separator (OWS) Oil Content Meter (OCM) was              status of the delivery.
                                                                                                                                                   continuously indicating a minimum value of 19ppm and
                                                                                                                                                   keeping the bilge system in recirculation mode. The
                                                                                                                                                   operation was stopped and completed via the ship’s
                                                                                                                                                   second OWS. The following day, the suspect OCM was
                                                                                                                                                   tested and confirmed to be faulty. The affected OWS was
                                                                                                                                                   taken out of service pending replacement of the OCM. No
                                                                                                                                                   undesired discharge to sea was caused by the malfunction.
                                                                                                                                                   The failure was recorded in the Oil Record Book. An
                                                                                                                                                   investigation of the root cause is in progress with tests
                                                                                                                                                   scheduled to be completed by 27 June. The OWS remains


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                                                                                                                                                  out of service. Spare parts are not held on board at present.
                                                                                                                                                  A replacement filter set will be delivered 22 July.
      60.               07.18.2018*                        06.18.2018                       Costa Group                         AIDAmar           While the ship was alongside in Tallinn, Estonia, the           The ship received the sludge tank on August 25, 2018 in    In Progress
                                                                                                                                                  sludge collecting tank of the centrifugal Oily Water            Warnemünde. Crewmembers repaired the old tank was
                                                                                                                                                  Separator (OWS) was found with heavy corrosion. The             repaired in collaboration with Riding Team and at the
                                                                                                                                                  suction pipe was affected and broken by this corrosion.         moment an urgent replacement is not necessary. The
                                                                                                                                                  The involved OWS was set out of order. Pending repair of        update of the planned maintenance job cards is pending.
                                                                                                                                                  the OWS, all bilge water will be offloaded to shoreside
                                                                                                                                                  reception facilities. The static OWS is functional. The
                                                                                                                                                  required spare parts are not included in the list of the ECP
                                                                                                                                                  critical spares. No discharge to sea was caused by the
                                                                                                                                                  malfunction. The failure of the OWS was recorded on the
                                                                                                                                                  Oil Record Book. On the ship’s present itinerary,
                                                                                                                                                  sludge/oily water disposal is included in the port fees and
                                                                                                                                                  these facilities are being utilized when available. A new
                                                                                                                                                  OWS tank has been ordered and will be delivered in
                                                                                                                                                  August. The tank will not be included in the critical spare
                                                                                                                                                  part list because it is a high cost structural component
                                                                                                                                                  which is challenging to store. Planned maintenance job
                                                                                                                                                  cards for the OWS will be updated to manage the risk and
                                                                                                                                                  avoid downtime through early detection and timely
                                                                                                                                                  corrective action.
      61.               07.18.2018*                        06.17.2018                             CCL                        Carnival Fantasy     The display of an Oily Water Separator (OWS) was                The cell was replaced and the OWS was tested in            Complete
                                                                                                                                                  showing an error message. The EOOW flushed and                  recirculation mode and found in good condition. The
                                                                                                                                                  cleaned the cell however the display was still showing the      OWS was put back in service after being offline for 40
                                                                                                                                                  error. The cell was replaced and the OWS was tested in          hours.
                                                                                                                                                  recirculation mode and found in good condition. The cell
                                                                                                                                                  has been sent to the vendor for calibration and analysis,
                                                                                                                                                  ship is waiting for results. The OWS was put back in
                                                                                                                                                  service after being offline for 40 hours. During the
                                                                                                                                                  incident, the ship’s second OWS remained in service. An
                                                                                                                                                  Oil Record Book entry was made.
      62.               07.18.2018*                        06.21.2018                             CCL                        Carnival Liberty     While the ship was alongside in Canaveral, FL, a fresh          The failed fresh water pipe was temporarily repaired and   Complete
                                                                                                                                                  water pipe above the deep fat fryer in an open deck             subsequently replaced.
                                                                                                                                                  restaurant burst and overfilled the fryer. As a result,
                                                                                                                                                  approximately 15 liters of cooking oil mixed with water
                                                                                                                                                  spilled overboard via an external scupper drain. The
                                                                                                                                                  scupper drain was covered to prevent further spill. The
                                                                                                                                                  MARPOL Annex V violation was reported to the U.S.
                                                                                                                                                  Coast Guard (USCG), the National Response
                                                                                                                                                  Coordination Center and the Port Authority. The USCG
                                                                                                                                                  boarded the ship and found the ship’s corrective action
                                                                                                                                                  plans to be satisfactory. No fines were issued. The failed
                                                                                                                                                  fresh water pipe was temporarily repaired and
                                                                                                                                                  subsequently replaced. An entry was made in the Garbage
                                                                                                                                                  Record Book.

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    63.              07.18.2018*                         06.19.2018                        HA Group                            Star Princess      While the ship was alongside in Skagway, AK, the ship         The ship had already stopped discharging prior to entering Complete
                                                                                                                                                  received the results of the treated sewage overboard          Skagway and the ship had ceased all overboard discharges
                                                                                                                                                  discharge sample taken by Admiralty Environmental in          of treated sewage until another waste stream sample was
                                                                                                                                                  Skagway on 13 June, as required by the sampling program       taken and analyzed. Admiralty Environmental attended the
                                                                                                                                                  dictated by the state of Alaska and USCG. The results         ship on June 20, 2018 to collect another sample. Results of
                                                                                                                                                  showed a high Biochemical Oxygen Demand (BOD) value           this testing showed the BOD within limits and the ship has
                                                                                                                                                  of 210mg/L, where the limit stipulated on the ship’s          since resumed discharges.
                                                                                                                                                  Alaskan Discharge Permit is 60mg/L. The ship had
                                                                                                                                                  already stopped discharging prior to entering Skagway and
                                                                                                                                                  the ship had ceased all overboard discharges of treated
                                                                                                                                                  sewage until another waste stream sample was taken and
                                                                                                                                                  analyzed. Admiralty Environmental attended the ship on
                                                                                                                                                  20 June to collect another sample. Results of this testing
                                                                                                                                                  showed the BOD within limits and the ship has since
                                                                                                                                                  resumed discharges. There was no operational impact to
                                                                                                                                                  the ship. The Alaska Department for Environmental
                                                                                                                                                  Conservation and the U.S. Coast Guard were informed.
      64.               07.18.2018*                        06.18.2018                         HA Group                        Ruby Princess       On 18 June, the ship suspended all Marine Bio‐Reactor         The ship took quick action in suspending waste water          Complete
                                                                                                                                                  (MBR) discharges because a permeate sample collected on       discharges after receiving the results of the June 12, 2018
                                                                                                                                                  12 June in Skagway, AK, measured 190 mg/l, exceeding          sampling. The cleaning and sanitizing of the system was
                                                                                                                                                  the maximum allowed Biochemical Oxygen Demand                 directed at improving flow and aeration of the bioreactors.
                                                                                                                                                  (BOD) of 60 mg/l daily max. This result is a violation of     Samples taken on June 21, 22, and 23, were far below the
                                                                                                                                                  the Alaska water discharge permit and company policy          daily maximum allowed (<2,mg/l, 6.7mg/l and <2mg/l).
                                                                                                                                                  and procedure. Sampling was carried out as per the            The ship restarted discharging permeate on June 27, 2018.
                                                                                                                                                  protocols and testing frequency of the State of Alaska and
                                                                                                                                                  USCG for this type of discharge, and the samples were
                                                                                                                                                  taken while actively discharging, which is a requirement
                                                                                                                                                  of the testing regime. Sampling is required to be
                                                                                                                                                  performed by an outside agency. It takes five to six days
                                                                                                                                                  for the test samples to be analyzed. The ship sanitized the
                                                                                                                                                  system twice and retook samples on 19 June to check if
                                                                                                                                                  the results have improved. Preliminary results show no
                                                                                                                                                  issues with the plant at this time. Results of the tests
                                                                                                                                                  should be available no later than the morning of June 27.
                                                                                                                                                  An MBR technician boarded the ship on 21 June to assist
                                                                                                                                                  the ship with troubleshooting. No apparent issues were
                                                                                                                                                  found by the technician. There is no impact to the ship
                                                                                                                                                  operations. The Alaska Department for Environmental
                                                                                                                                                  Conservation and the U.S. Coast Guard were informed.
      65.               07.18.2018*                        06.17.2018                             CCL                        Carnival Breeze      During provision loading while the ship was alongside in      The area was thoroughly cleaned, dried, and made              Complete
                                                                                                                                                  Galveston, TX, a cooking oil container was punctured by       operational. As a preventive action, refresher training was
                                                                                                                                                  the ship’s forklift operator due to negligence.               conducted with the concerned forklift operators and the
                                                                                                                                                  Approximately 15 liters of oil spilled into the sea in        operation will receive increased monitoring by a
                                                                                                                                                  violation of MARPOL Annex V. The resulting sheen              supervisor level team member.
                                                                                                                                                  dissipated quickly. The area was thoroughly cleaned, dried
                                                                                                                                                  and made operational. The MARPOL Annex V violation

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                                                                                                                                                  was reported to the Port Authority via the local agent and
                                                                                                                                                  a Garbage Record Book entry was completed. As a
                                                                                                                                                  preventive action, refresher training was conducted with
                                                                                                                                                  the concerned forklift operators and the operation will
                                                                                                                                                  receive increased monitoring by a supervisor level team
                                                                                                                                                  member. A Notice of Violation will be issued to the
                                                                                                                                                  Director of Compliance.
      66.               07.18.2018*                        06.14.2018                         HA Group                           Noordam          As the ship was departing from Juneau, AK, the                Senior Technical Management has decided not to make          Complete
                                                                                                                                                  emergency drain valve of the forward hydro pool was           any changes at this time given the fact that if access is
                                                                                                                                                  found open, causing a discharge of approximately one          removed, the senior watch keeper in the engine room will
                                                                                                                                                  cubic meter of recreational water overboard. The EOOW         not be able to control equipment in the event of an
                                                                                                                                                  immediately closed the valve. Automation system records       emergency.
                                                                                                                                                  showed the valve had been open for 41 seconds. Review
                                                                                                                                                  by the automation manufacturer’s technician showed that
                                                                                                                                                  it is not possible to determine from which workstation in
                                                                                                                                                  the Engine Room the open command was given, nor who
                                                                                                                                                  had done it. Considering these facts it was not possible to
                                                                                                                                                  determine the root cause. To prevent recurrence, it was
                                                                                                                                                  researched whether the remote units within the technical
                                                                                                                                                  spaces could be made read only. This is possible, however
                                                                                                                                                  at this time, Senior Technical Management decided to not
                                                                                                                                                  remove control from these stations due to the serious
                                                                                                                                                  potential consequences and lack of control on other
                                                                                                                                                  systems during emergencies. Senior Technical
                                                                                                                                                  Management is looking to the possibility to create access
                                                                                                                                                  control levels for the engine room workstations as well as
                                                                                                                                                  other options to prevent a similar incident from occurring.
                                                                                                                                                  The Environmental Protection Agency (EPA) was notified
                                                                                                                                                  of the incident. A Corrective Action Assessment has been
                                                                                                                                                  submitted and accepted by the EPA.
      67.               07.18.2018*                        06.11.2018                             CUK                        Queen Elizabeth      While the ship was alongside in Southampton, UK, hull         A review of the painting materials concluded that the        Complete
                                                                                                                                                  cleaning was being conducted by a company appointed           water discoloration comes from a natural process in the
                                                                                                                                                  contractor using a remotely operated cleaning machine.        self-polishing paint. In certain conditions a build-up can
                                                                                                                                                  Red paint residue was noted on the water surface between      occur and come off as “foam” or leach layer. Water
                                                                                                                                                  the ship and the fenders. The operation was suspended and     sample results show the water condition has returned to
                                                                                                                                                  stopped by the contractor. Investigations are ongoing into    normal levels. The vendor ECOsubsea will use a filter to
                                                                                                                                                  the possibility that the hull paint was inadequate for the    prevent any leach layers from occurring in the future.
                                                                                                                                                  ship causing a red paint residue in the wash water.
                                                                                                                                                  Supervision during the hull cleaning was adequate and the
                                                                                                                                                  task was immediately stopped when the residues were
                                                                                                                                                  noticed. The Port Authority was notified of the MARPOL
                                                                                                                                                  Annex V violation via the local agent. The ship has had no
                                                                                                                                                  further communication from the Port Authority. A GRB
                                                                                                                                                  entry was not made as the wash water were discharged
                                                                                                                                                  from a shore collecting facility.


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    68.              07.18.2018*                         06.16.2018                           CCL                            Carnival Triumph     While the ship was en route to Cozumel, Mexico and           The faulty valve was repaired and the system put back in   Complete
                                                                                                                                                  inside 12 nautical miles of the Mexican coast,               service the same day. A notice was issued to the company
                                                                                                                                                  approximately 15 cubic meters of pool water was lost         fleet.
                                                                                                                                                  overboard in violation of Mexican requirements. Due to
                                                                                                                                                  the ship’s movement in rough weather, the aft pool, which
                                                                                                                                                  was at the lower skimmer level, was overflowing to the
                                                                                                                                                  side drains leading to the compensation tank but the water
                                                                                                                                                  did not return back to the pool as the recirculation pump
                                                                                                                                                  pneumatic delivery valve had malfunctioned. The pool
                                                                                                                                                  compensation tank became full and water overflowed via
                                                                                                                                                  the overboard line. The faulty valve was repaired and the
                                                                                                                                                  system put back in service the same day. The Port
                                                                                                                                                  Authority was notified of the incident via the local agent
                                                                                                                                                  and an entry was made in the NAPA e-log. A notice was
                                                                                                                                                  issued to the company fleet.
      69.               07.18.2018*                        06.13.2018                         HA Group                        Grand Princess      While the ship was en route to San Francisco, CA, three      A meeting was held by the Chief Engineer together with  Complete
                                                                                                                                                  EGCS units were started while the ship was still sailing     the First Engineer, EGCS Engineer, the respective EOOW
                                                                                                                                                  inside Olympic Coast National Marine Sanctuary waters.       and the Captain. They discussed the event in order to
                                                                                                                                                  At the beginning of the EOOW watch, the EOOW                 understand the root cause was lack of coordination and
                                                                                                                                                  consulted with the Bridge in order to receive an overview    communications. From that meeting, it was understood by
                                                                                                                                                  of what environmental activities would be occurring          the EGCS Engineer to start the EGCS 15 min before
                                                                                                                                                  during his four hour watch. The Bridge informed him that     switching over to IFO (entering North America ECA). The
                                                                                                                                                  at approximately 21:15, the ship would be outside the        EGCS engineer has been instructed to report to the EOOW
                                                                                                                                                  Marine Park. The EOOW needed information to ensure           prior to starting any machinery.
                                                                                                                                                  the EGCS Engineer was contacted in time to turn on the
                                                                                                                                                  EGCS system for the respective Diesel Generators (DG).
                                                                                                                                                  The EGCS Engineer was notified and, once the EGCS
                                                                                                                                                  engineer arrived in ECR, he went straight away in turning
                                                                                                                                                  on the EGCS system without confirming with the EOOW
                                                                                                                                                  that the ship was indeed outside the Marine Sanctuary.
                                                                                                                                                  One EGCS unit was started at 20:57 and two further units
                                                                                                                                                  were started at 21:00 in violation of company
                                                                                                                                                  requirements and National Marine Sanctuary Program
                                                                                                                                                  Regulations. The EOOW noticed that the EGCS units had
                                                                                                                                                  been started and instructed the EGCS Engineer to turn
                                                                                                                                                  them off. All three units were shut down at 21:06. During
                                                                                                                                                  the incident, the ship had three DGs running on MGO.
                                                                                                                                                  The ship exited the Marine Park boundary at 21:23 and
                                                                                                                                                  started up EGCS units within compliance shortly after.
                                                                                                                                                  The U.S. Coast Guard (USCG) and National Oceanic and
                                                                                                                                                  Atmospheric Administration (NOAA) were informed. The
                                                                                                                                                  USCG advised that no further actions were required. A
                                                                                                                                                  response has not been received from NOAA. The root
                                                                                                                                                  cause of the incident was a lack of concentration, proper
                                                                                                                                                  understanding of the environmental aspects and proper
                                                                                                                                                  coordination. A meeting was conducted correct the matter

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                                                                                                                                                  and prevent recurrences through improved
                                                                                                                                                  communications and coordination as well as ensuring the
                                                                                                                                                  EGCS engineer reports to the EOOW prior to starting any
                                                                                                                                                  machinery. The ship is practicing closed loop
                                                                                                                                                  communications. Training has been held to discuss all
                                                                                                                                                  National Park boundaries that the ship will be crossing
                                                                                                                                                  during the current Alaska Season and the required
                                                                                                                                                  environmental actions to be taken have been explained.
                                                                                                                                                  The lessons learned from this incident will be shared with
                                                                                                                                                  the other company ships and training will be held to
                                                                                                                                                  ensure proper coordination, knowledge of environmental
                                                                                                                                                  aspects and attention to detail. This will sent out to the
                                                                                                                                                  ships no later than 22 June with expected completion 29
                                                                                                                                                  June.
      70.               07.18.2018*                        06.12.2018                             CCL                        Carnival Liberty     While the ship was anchored in Princess Cay, water was         As a corrective action, shoreside management advised the In Progress
                                                                                                                                                  noted to be discharging overboard from a scupper drain. It     ship to lower the water level of the pool to skimmer level
                                                                                                                                                  was determined that the main pool shower drains, which         while still maintaining recirculation in accordance with the
                                                                                                                                                  for this class of ship are inside the pool containment, were   USPH standard. As preventive actions, a plan for higher
                                                                                                                                                  connected with the scupper drain. To facilitate the tender     containment around the shower area and redirection of the
                                                                                                                                                  operations which were in progress, the ship was listed and     drains to the grey water system should be developed
                                                                                                                                                  this had caused an un‐quantified volume of pool shower         within a week. The need to address this issue across the
                                                                                                                                                  drain water to be discharged overboard. Pertinent              class fleet is being evaluated. The containment area
                                                                                                                                                  authorities were informed about the incident. As a             around the shower is currently under construction. The
                                                                                                                                                  corrective action, shoreside management advised the ship       fleetwide repiping project is under evaluation.
                                                                                                                                                  to lower the water level of the pool to skimmer level while
                                                                                                                                                  still maintaining recirculation in accordance with the
                                                                                                                                                  USPH standard. As preventive actions, a plan for higher
                                                                                                                                                  containment around the shower area and redirection of the
                                                                                                                                                  drains to the grey water system should be developed
                                                                                                                                                  within a week. The need to address this issue across the
                                                                                                                                                  class fleet is being evaluated.
      71.               07.18.2018*                        05.15.2018                             CCL                         Carnival Pride      On 12 June, the ship reported that a non‐approved              The Company created a list of approved chemicals to be   Complete
                                                                                                                                                  chemical (Teak One Step) had been used for occasional          used. All non-approved chemicals have been offloaded.
                                                                                                                                                  deck washing since 15 May. Record book entries
                                                                                                                                                  confirmed the chemical had been used. The issue had not
                                                                                                                                                  been noted or discussed during the EO’s last handover
                                                                                                                                                  period from 30 May to 06 June. The chemical was used
                                                                                                                                                  outside 12 nautical mile from land on all occasions. The
                                                                                                                                                  Staff Captain reported that the EO had stated that Teak
                                                                                                                                                  One Step could still be used while waiting for a
                                                                                                                                                  replacement product to be received and until consumed.
                                                                                                                                                  This statement is yet to be verified. It has been confirmed
                                                                                                                                                  that the ship is now compliant with the list of approved
                                                                                                                                                  chemicals. Refresher training has been completed with
                                                                                                                                                  watchkeeping officers and deck maintenance personnel.
                                                                                                                                                  The housekeeping team have also been retrained. The ship

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                                                                                                                                                  is in the process of conducting an inventory to offload
                                                                                                                                                  Teak One Step and other expired/unused chemicals.
                                                                                                                                                  During this week’s Monthly Environmental Conference
                                                                                                                                                  Calls, the fleetwide notice (issued 08 May) listing
                                                                                                                                                  approved chemicals will be reiterated. All ships will be
                                                                                                                                                  requested to offload all chemicals onboard that are not
                                                                                                                                                  included in the approved list.
      72.               08.09.2018*                        06.26.2018                         HA Group                         Star Princess      A vibration issue was discovered in the motor of the         The crewmembers received and installed the replacement       Complete
                                                                                                                                                  centrifugal Oily Water Separator (OWS). The initial          electric motor. The Centrifugal Oily Water Separator is
                                                                                                                                                  review revealed that the vibration issues were caused by a   back in service.
                                                                                                                                                  bent shaft. A replacement electric motor was ordered and
                                                                                                                                                  delivery is expected on board by the end of July. No
                                                                                                                                                  spares were on board as this part is not on the critical
                                                                                                                                                  spares list. The delivery lead time for the part is four
                                                                                                                                                  weeks, therefore the operating line is investigating if a
                                                                                                                                                  suitable part is available on another ship. Bilge water
                                                                                                                                                  treatment and discharge is still possible via the static
                                                                                                                                                  OWS.
      73.               08.09.2018*                        06.25.2018                             CUK                         Queen Mary 2        While the ship was underway, the aft centrifugal Oily        The drive belt was replaced with an available spare and      Complete
                                                                                                                                                  Water Separator (OWS) was taken out of operation due to      was put back in operation on 27 June. Operations were not
                                                                                                                                                  a drive belt failure. The drive belt was replaced with an    impacted and the forward OWS remained operational
                                                                                                                                                  available spare and was put back in operation on 27 June.    throughout. All scheduled maintenance for the COWS was
                                                                                                                                                  Operations were not impacted and the forward OWS             carried out in accordance with periodic work orders and
                                                                                                                                                  remained operational throughout. An entry was made in        was recorded.
                                                                                                                                                  the Oil Record Book. All scheduled maintenance for the
                                                                                                                                                  COWS was carried out in accordance with periodic work
                                                                                                                                                  orders and was recorded.
      74.               08.09.2018*                        06.24.2018                             CCL                        Carnival Liberty     The monthly test of an Oily Water Separator (OWS)            The OWS was completely repaired and returned to service      Complete
                                                                                                                                                  revealed that there was low system pressure. The ship has    on July 22, 2018.
                                                                                                                                                  placed the OWS out of service and is working to solve the
                                                                                                                                                  issue. The low pressure is suspected to be caused by a
                                                                                                                                                  dirty Oil Content Monitor (OCM) and three‐way valve.
                                                                                                                                                  Both will be inspected and cleaned. An entry was recorded
                                                                                                                                                  in the Oil Record Book and on the PMS system. There
                                                                                                                                                  was no operational impact as the second OWS was fully
                                                                                                                                                  operational. The ship has requested a technician to come
                                                                                                                                                  onboard in order to resolve the issue.
      75.               08.09.2018*                        07.05.2018                         HA Group                       Golden Princess      During the ship’s stay in Juneau, Alaska, the opacity        On July 14, 2018, the Service Technician fixed the issues,   Complete
                                                                                                                                                  meters failed when the power was switched between            and all opacity meters are operating normally.
                                                                                                                                                  substations. The ship has not been able to repair these
                                                                                                                                                  units prior to the scheduled call in Glacier Bay. It is a
                                                                                                                                                  violation of the operating line ‘Glacier Bay Permit’ to
                                                                                                                                                  have opacity meters installed but not in use while in the
                                                                                                                                                  park. Stack cameras were in use and fully functional. The
                                                                                                                                                  opacity meters were recently installed during drydock and
                                                                                                                                                  are upgraded from the previous model. The ship is

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                                                                                                                                                  working remotely with the manufacturer to resolve the
                                                                                                                                                  fault and has requested the attendance of a technician to
                                                                                                                                                  the ship if necessary. The Alaska Department of
                                                                                                                                                  Environmental Conservation and Glacier Bay officials
                                                                                                                                                  were informed, and an entry was made in the NAPA eLog.
      76.               08.09.2018*                        07.03.2018                       Costa Group                      Costa Luminosa       One of the food waste systems onboard was put out of           Given the system is operating properly and there have         Complete
                                                                                                                                                  service as forks and knives were being put into the system     been no further sorting issues. Current training procedures
                                                                                                                                                  causing damage and blockage to the pump. The ship’s            are effective.
                                                                                                                                                  other food waste system was also out of service therefore
                                                                                                                                                  the ship could not comminute and discharge food waste at
                                                                                                                                                  sea until both food waste system pumps were repaired on
                                                                                                                                                  06 Jul. As a preventive measure, extra training will be
                                                                                                                                                  provided on the correct use of the pulper system for all
                                                                                                                                                  crew members operating the system. Following the
                                                                                                                                                  training, this will be reviewed for effectiveness.
      77.               08.09.2018*                        06.24.2018                             CCL                         Carnival Magic      While the ship was underway, a crewmember started to           The crewmembers removed, cleaned and tested the sensor        Complete
                                                                                                                                                  clean the EGCS system. One EGCS was cleaned with no            again. Additionally, they reduced the percentage load of
                                                                                                                                                  issue but after a few seconds of cleaning the second           the main pump tested it again with positive results. The
                                                                                                                                                  EGCS, the process was stopped because a high water level       EGCS is back in service without further issues. The
                                                                                                                                                  alarm was triggered in the tower. Initially, it was            crewmembers concluded that the quantity of water in the
                                                                                                                                                  suspected that the sensor was not working properly and         tower during the cleaning mode was too much.
                                                                                                                                                  was giving a wrong indication. Further investigation           Consequently, the water lever has been reduced to seventy
                                                                                                                                                  revealed that the alarm was functioning properly. After the    percent.
                                                                                                                                                  investigation no obstruction was found in the mixer that
                                                                                                                                                  triggered the high water level alarm in the tower. The
                                                                                                                                                  EGCS is out of service and a service technician has been
                                                                                                                                                  requested. An entry in the PMS is pending.
      78.               08.09.2018*                        07.01.2018                             CUK                         Queen Mary 2        While the ship was alongside at Brooklyn Cruise                The crewmembers identified alternative self-closing                In Progress
                                                                                                                                                  Terminal, NY, the Technical Stores Manager reported that       valves that could address the design deficiency in the pool
                                                                                                                                                  water was overflowing into the harbor from one of the          water system. Valmarine technicians attended the ships
                                                                                                                                                  ship’s side vents. It was determined that the overflow of      and confirmed that the valves can be installed as proposed
                                                                                                                                                  less than one cubic meter of chlorinated fresh water had       on the existing channels. Ship services engineer is
                                                                                                                                                  come from one of the passenger pools. The overflow             reviewing available valves to determine the best
                                                                                                                                                  occurred because there was a blackout on the ship which        appropriate type for the proposed installation. The work
                                                                                                                                                  stopped the pool water circulating pump, causing drainage      order is expected to be submitted by mid-September 2018.
                                                                                                                                                  of water from the deck into the buffer tank, which
                                                                                                                                                  subsequently overflowed through the tank vent line. The
                                                                                                                                                  incident was a violation of company regulations and a
                                                                                                                                                  VGP violation and has been reported as such to the
                                                                                                                                                  regional EPA office who have currently not replied to the
                                                                                                                                                  report. It was also reported to the port authority via the
                                                                                                                                                  agent on the day and required no corrective actions. An
                                                                                                                                                  investigation was conducted and determined that the
                                                                                                                                                  incident was a result of the pool circulation system design
                                                                                                                                                  which lacks any non return or failsafe/closed valves. In the
                                                                                                                                                  event of power failures, gravity causes water from the

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                                                                                                                                                  other deck level pools to drain back to the pool buffer
                                                                                                                                                  tanks and overflow out via the tank vent lines. The ship
                                                                                                                                                  has made local alterations to the software controlling the
                                                                                                                                                  system to prevent similar overflows when the pool
                                                                                                                                                  circulation pumps trip out in service, however these
                                                                                                                                                  changes do not solve the problem in full power loss
                                                                                                                                                  conditions because valve closure is power actuated. The
                                                                                                                                                  port agent was informed and was tasked to notify the port
                                                                                                                                                  authority as required. The ship has been advised that a
                                                                                                                                                  thorough review of the ECS is scheduled at the end of
                                                                                                                                                  August. The onboard team are still investigating both short
                                                                                                                                                  term mitigation and long term preventive solutions. The
                                                                                                                                                  manufacturer will be on board in Aug 2018 to investigate
                                                                                                                                                  what is required to change the system. Also recorded as a
                                                                                                                                                  Full Blackout.
      79.               08.09.2018*                        06.27.2018                         HA Group                       Emerald Princess     While the ship was alongside in Juneau, AK and                   Follow up internal samples taken after the event showed       Complete
                                                                                                                                                  discharging treated grey water through the AWPS, an              pH levels within acceptable limits. Further review could
                                                                                                                                                  unannounced sampling event was conducted by Admiralty            not determine the cause of the temporary fluctuation.
                                                                                                                                                  Environmental. This identified a pH level of 2.93, which
                                                                                                                                                  was outside of the range of pH 6.0‐9.0 as per local
                                                                                                                                                  regulations. The pH levels were brought back within
                                                                                                                                                  normal range within 20 minutes. The cause of the
                                                                                                                                                  temporary low reading is still under review. At the time of
                                                                                                                                                  the sampling, the on board sensors were all showing pH
                                                                                                                                                  levels within normal range. The Alaska Department of
                                                                                                                                                  Environmental Conservation and the U.S Coast Guard
                                                                                                                                                  were notified, no action was requested by either entity. A
                                                                                                                                                  non‐compliance notification was submitted to the State of
                                                                                                                                                  Alaska. The incident will be recorded as a non‐compliant
                                                                                                                                                  event in the monthly discharge monitoring report.
      80.               08.09.2018*                        07.03.2018                             CUK                         Queen Mary 2        While the ship was alongside in St John New Brunswick,           The crewmembers identified alternative self-closing           In Progress
                                                                                                                                                  Canada, the ship suffered a blackout during which the EO         valves that could address the design deficiency in the pool
                                                                                                                                                  noticed water pouring from a tank vent. The overflow was         water system. Valmarine technicians attended the ships
                                                                                                                                                  determined to be approximately two cubic meters of               and confirmed that the valves can be installed as proposed
                                                                                                                                                  chlorinated pool water from passenger pools which was            on the existing channels. Ship services engineer is
                                                                                                                                                  stopped by restoring main power. The valves and pump             reviewing available valves to determine the best
                                                                                                                                                  for pool recirculation had failed as a consequence of the        appropriate type for the proposed installation. The work
                                                                                                                                                  blackout, which allowed the circulation pool water to            order is expected to be submitted by mid-September 2,
                                                                                                                                                  drain down into the pool buffer tank and overflow through        2018.
                                                                                                                                                  the open vent lines. The discharge of water was in
                                                                                                                                                  violation of Company regulations. The port agent was
                                                                                                                                                  instructed to notify the port authority on behalf of the ship.
                                                                                                                                                  Without a system design alteration spills of this type will
                                                                                                                                                  occur following every blackout. The CAM understands
                                                                                                                                                  this incident was a violation of Company requirements
                                                                                                                                                  only.

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    81.              08.09.2018*                         07.03.2018                        HA Group                           Royal Princess      When alongside in Dublin, Ireland, the Officer of the         To prevent confusion and highlight changes to ENV 1101,        Complete
                                                                                                                                                  Watch noticed that an update was made to ENV-1001-A1          Carnival Corporation sends out an email to all operating
                                                                                                                                                  Worldwide Environmental Standards during the night and,       lines explaining when the updated environmental matrix
                                                                                                                                                  according to the update, the discharge of EGCS washwater      will be posted and provides details on what has changed.
                                                                                                                                                  was not allowed within a specific area of Dublin Bay. The     The Operating Lines then forward this email to the
                                                                                                                                                  ship’s crew had insufficient time to read and apply the       Environmental Officers and relevant officers on all their
                                                                                                                                                  changes prior to the ship’s arrival in the restricted area.   ships. As a result, the ship’s officers will know what
                                                                                                                                                  Washwater from the EGCS was discharged via filtration         environmental discharges have changed before they are
                                                                                                                                                  for 188 minutes in a non permitted area. As a corrective      required to be implemented.
                                                                                                                                                  measure, the EGCS was stopped and MGO was started on
                                                                                                                                                  another diesel generator. The port agent and port
                                                                                                                                                  authorities were informed and the violation of local
                                                                                                                                                  regulations was entered in the EGCS Record Book. As a
                                                                                                                                                  preventative action, the operating line engaged with the
                                                                                                                                                  MP&A department and requested them to communicate
                                                                                                                                                  the upcoming ‘Environmental matrix’ changes before they
                                                                                                                                                  are published so the company is aware and ships can be
                                                                                                                                                  notified as soon as possible to prevent improper
                                                                                                                                                  discharges. The CAM understands this incident was a
                                                                                                                                                  violation of local requirements only.
      82.               08.09.2018*                        06.26.2018                             CCL                        Carnival Paradise    While the ship was alongside in Cozumel, Mexico, ten          Environmental Managers together with the Hotel                       In Progress
                                                                                                                                                  liters of water from the water park overflowed onto the       Superintendent, visited at least one ship from each class he
                                                                                                                                                  deck and drained directly overboard via the scupper           visits took place on July 21 and 22, 2018 to evaluate the
                                                                                                                                                  drains. The spill was caused because the ship was listing     need and benefit of Recreational Water Facility system
                                                                                                                                                  0.5 degrees to the port side to keep a safe angle for the     modifications. Proposed modifications will be considered
                                                                                                                                                  gangway and the water park drains became overwhelmed.         fleet wide as applicable. The proposed fleetwide repiping
                                                                                                                                                  Furthermore, the housekeeping team did not apply              modifications are under evaluation.
                                                                                                                                                  effective cleaning methods and were removing water with
                                                                                                                                                  squeegees toward the overboard drain. To prevent further
                                                                                                                                                  spillage, the ship’s list was corrected and the water park
                                                                                                                                                  was closed and cleared of excess water. The chlorine and
                                                                                                                                                  pH content of the water was examined and found to be
                                                                                                                                                  normal. The technical department inspected all drains
                                                                                                                                                  which were all found to be in order. No issues were found
                                                                                                                                                  with the movement of water into the drains when assessed
                                                                                                                                                  during normal operation at sea. An entry was made in the
                                                                                                                                                  Deck Log Book and authorities were notified. Pool
                                                                                                                                                  attendants were advised to shut down the water park in the
                                                                                                                                                  event of similar events. Housekeeping crewmembers that
                                                                                                                                                  are responsible for the deck and pools have been directed
                                                                                                                                                  to use wet vacuums or absorbents to recover pool water.
                                                                                                                                                  Modifications to both onboard drain/return lines as well as
                                                                                                                                                  operational procedures have been completed. Planning is
                                                                                                                                                  underway on other operating line ships with modifications
                                                                                                                                                  being done in service, but others will need to be completed
                                                                                                                                                  in drydock. In the interim, the ships have been issued a

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                                                                                                                                                  reminder to apply the requirements from an earlier ECN
                                                                                                                                                  (related to risk assessments) to all potential risks from
                                                                                                                                                  listing, including from intentional listing while alongside
                                                                                                                                                  or anchored. The ship‐specific actions taken to avoid this
                                                                                                                                                  issue are being confirmed. The CAM understands this
                                                                                                                                                  incident was a violation of Mexican requirements only.
      83.               08.09.2018*                        07.18.2018                             CCL                        Carnival Triumph     The scrubber system on the Carnival Triumph has been           The ship is operating on low sulfur marine gas oil while    In Progress
                                                                                                                                                  out of service since July 18, 2018 when the Scrubber           inside the North American Emission Control Area while
                                                                                                                                                  System Compliance Computer became inoperative. The             awaiting the arrival and installation of a new compliance
                                                                                                                                                  ship issued a requisition for a new compliance computer,       computer.
                                                                                                                                                  which is not designated as an ECP critical spare, on
                                                                                                                                                  July 19, 2018. Shoreside management approved the
                                                                                                                                                  requisition on July 25, 2018. The ship is operating on low
                                                                                                                                                  sulfur marine gas oil while inside the North American
                                                                                                                                                  Emission Control Area while awaiting the arrival and
                                                                                                                                                  installation of a new compliance computer.
      84.               08.22.2018*                        07.16.2018                             CCL                        Carnival Elation     The starboard BCDB is not displaying the discharged            The TMS technician corrected the fault, verified all        Complete
                                                                                                                                                  quantity of bilge water. A technician will come onboard to     operational settings, and returned the BCDB to service.
                                                                                                                                                  service the BCDB. The BCDB has been placed out of
                                                                                                                                                  service. The second BCDB is operational. Pending cabin
                                                                                                                                                  availability, a technician is planning on boarding the ship
                                                                                                                                                  on 28 July.
      85.               08.22.2018*                        07.04.2018                             CCL                       Carnival Sensation    The Oily Water Separator (OWS) was dismantled                  The ship received the necessary parts and the               Complete
                                                                                                                                                  according to the instruction manual in order to fix a          crewmembers put the OWS back into service.
                                                                                                                                                  continuous alarm signal. Once reassembled, issues were
                                                                                                                                                  still present, so it was dismantled again and two parts (the
                                                                                                                                                  discharge pipe and pairing disc) were found to be
                                                                                                                                                  defective. These two parts, which are not considered
                                                                                                                                                  critical spares, were either defective upon arrival, or
                                                                                                                                                  something went wrong during reassembly. The OWS was
                                                                                                                                                  placed out of service and the defective parts were put
                                                                                                                                                  under reorder and are expected to be onboard 21 July. An
                                                                                                                                                  entry was made in the Oil Record Book. The ship’s second
                                                                                                                                                  OWS remains operational.
      86.               08.22.2018*                        07.13.2018                             CCL                        Carnival Fantasy     A leak was observed on the bottom side of the aeration         The MSD tank was prepared for hot work (cropping and        In Progress
                                                                                                                                                  compartment of one of the onboard Marine Sanitation            renewal), by removing (cleaning) all the paint and
                                                                                                                                                  Devices (MSD). The Chief Engineer immediately                  residuals from the steel after the black water sediment
                                                                                                                                                  instructed that the MSD be taken out of service pending        removal. The work will be complete by the end of
                                                                                                                                                  cleaning and repair. The leak was caused by corrosion of       October. After the steel renovation the MSD will be re-
                                                                                                                                                  the bottom part of the aeration compartment. This did not      coated.
                                                                                                                                                  have an operational impact on the ship because the ship’s
                                                                                                                                                  other two MSDs are operational. Additionally, some of the
                                                                                                                                                  leaked effluent went into the bilge and was processed as
                                                                                                                                                  such, but had no negative impact on the bilge operations.
                                                                                                                                                  The MSD remains out of operation and is currently in the
                                                                                                                                                  process of being cleaned. Ddue [sic] to the difficulty of

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                                                                                                                                                  cleaning the tank, it is projected for this to be completed
                                                                                                                                                  within the next sixeight weeks. [sic] Also recorded as a
                                                                                                                                                  Leak and Overflow into the Bilge.
      87.               08.22.2018*                        07.13.2018                             CCL                         Carnival Glory      A failure of the chain conveyor of the incinerator was          After successful repairs, the incinerator was put back into    Complete
                                                                                                                                                  reported. The broken chain was likely due to age. The           service on July 20, 2018.
                                                                                                                                                  incinerator has been placed out of service and a repair has
                                                                                                                                                  been organized. Repair is currently in progress and is
                                                                                                                                                  projected to be completed by 21 July.
      88.               08.22.2018*                        07.09.2018                         HA Group                       Seabourn Encore      The ship’s can crusher installed in the garbage room is         The ship made repairs to the support plate and returned the    In Progress
                                                                                                                                                  inoperable because a support plate is bent and the welds        can compactor to full service on July 13, 2018. The
                                                                                                                                                  holding the support plate in place are cracked. An internal     company is still working with the shipyard to resolve GFR
                                                                                                                                                  review revealed this equipment failure was caused by            M306-1231 to provide a new can compactor or a better
                                                                                                                                                  flawed design. No aluminum or steel cans can be                 designed support plate for the hydraulic cylinder. A new
                                                                                                                                                  compacted. A Guarantee Failure Report has been                  compactor will be constructed onboard the ship. The
                                                                                                                                                  submitted to the shipyard to rectify the issue. Awaiting        construction is expected to be completed before the end of
                                                                                                                                                  corrective action from shipyard side pending resolution.        October.
                                                                                                                                                  This item is on the high priority list. Extra offloads can be
                                                                                                                                                  expected but the cost will be billed back to the shipyard.
      89.               08.22.2018*                        07.01.2018                         HA Group                         Koningsdam         While the ship was en route to Amsterdam, Netherlands,          The spare parts arrived onboard the ship in early August.      In Progress
                                                                                                                                                  an EGCS system tripped due to an all sensors failure. The       The crewmembers are currently in the process of installing
                                                                                                                                                  corresponding Diesel Generator (DG) was stopped. An             the sensors. The expected completion date for the
                                                                                                                                                  internal review revealed that an electrical failure of the      installation is September 16, 2018.
                                                                                                                                                  sensors was caused by water ingress into the sensor box.
                                                                                                                                                  The manufacturer has been engaged for remote service
                                                                                                                                                  and spare parts delivery. The affected DG will be run on
                                                                                                                                                  MGO until the issue is resolved. Service and repairs pend
                                                                                                                                                  as the required parts are not arriving until September. The
                                                                                                                                                  shoreside technical team is working with supply chain to
                                                                                                                                                  improve the lead time. Log entries were made in the
                                                                                                                                                  EGCS log.
      90.               08.22.2018*                        06.29.2018                         HA Group                          Zuiderdam         While the ship was alongside in Tallinn, Estonia, the           The IMS welder is currently onboard and waiting for            In Progress
                                                                                                                                                  incinerator malfunctioned and could no longer be used. An       additional materials to be delivered to the ship to complete
                                                                                                                                                  initial review of the failure revealed that the distribution    the repair. The delivery of materials expected to be
                                                                                                                                                  ram was in bad condition and could not be repaired by           delivered to the ship on September 13, 2018. The ship’s
                                                                                                                                                  onboard personnel. The ram was damaged by excessive             technical team expects the system will be operational
                                                                                                                                                  contact with the guidance rail, causing the rail to crack,      about a week after the parts arrive. The team made of a
                                                                                                                                                  the ram to bend and causing damage to most of the rollers.      majority of the repairs with the materials that the ship has
                                                                                                                                                  Repairs are scheduled and outside service has also been         received to date.
                                                                                                                                                  arranged. This is the ship’s only incinerator so dry waste
                                                                                                                                                  will need to be landed ashore. Due to lead time of
                                                                                                                                                  material, the ram has not been repaired. Estimated time of
                                                                                                                                                  arrival onboard is 31 July with expected completion of
                                                                                                                                                  repairs by 14 August.
      91.               08.22.2018*                        07.16.2018                             CCL                        Carnival Horizon     While the ship was departing from San Juan, but still           Deck and Engine Officers received instructions to              Complete
                                                                                                                                                  inside VGP waters, it was reported that the main pool,          promptly report any expected list exceeding limits while
                                                                                                                                                  overflowed and the water reached the port side scupper          in port or while sailing in environmental restricted waters.

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                                                                                                                                                  drains, which lead directly overboard. Approximately 100       Limits are included in the Environmental schedules and
                                                                                                                                                  liters of pool water with a chlorine content of 1.4ppm         discussed during the voyage overviews.
                                                                                                                                                  discharged into the sea in violation of the EPA VGP. A
                                                                                                                                                  risk assessment was conducted one day prior to arrival in
                                                                                                                                                  San Juan, however no adverse weather or difficult
                                                                                                                                                  manoeuvring [sic] conditions were anticipated to
                                                                                                                                                  introduce a reasonable likelihood that the ship will list to
                                                                                                                                                  the degree that water could overflow from the pools at
                                                                                                                                                  beach level. At the time the pool was in recirculation
                                                                                                                                                  mode. The overflow occurred because the ship listed 1.8
                                                                                                                                                  degrees to port side due to strong unexpected winds of 30
                                                                                                                                                  knots concurrent with a sharp starboard turn. As the rate of
                                                                                                                                                  the turn was not considered excessive, the pilot’s order
                                                                                                                                                  was not questioned. The ship’s speed is not considered to
                                                                                                                                                  be a contributing factor. As a corrective measure, crew
                                                                                                                                                  members proceeded to sweep the water into the drains
                                                                                                                                                  located around the pool connected to the grey water
                                                                                                                                                  system. The USCG was informed, and they were directed
                                                                                                                                                  to call the NRC. No further pool overflow is anticipated
                                                                                                                                                  based on a review of anticipated upcoming weather and
                                                                                                                                                  manoeuvring [sic] conditions, and there is a decreased
                                                                                                                                                  likelihood that the ship will list to a degree that would
                                                                                                                                                  cause overflow. As future preventive action, despite of
                                                                                                                                                  any weather condition, Ship’s Command decided to lower
                                                                                                                                                  all the pools to the skimmer level, prior to entering any
                                                                                                                                                  restricted area. Napa log entry was made. The ship
                                                                                                                                                  conducted their risk assessment but did not believe that
                                                                                                                                                  they would experience such a severe list and thus kept the
                                                                                                                                                  Recreational Water Facilities (RWF) at the beach level.
                                                                                                                                                  The ship will begin lowering the RWFs that can be
                                                                                                                                                  lowered when operating within restricted waters
                                                                                                                                                  regardless of what the risk assessment says. An operating
                                                                                                                                                  line RWF survey program is ongoing. The survey is
                                                                                                                                                  intended to address all structural vulnerabilities which
                                                                                                                                                  should aid in removing the exposures for the behavioural
                                                                                                                                                  ones. These modifications will include, but may not be
                                                                                                                                                  limited to: re-routing associated drains to grey water,
                                                                                                                                                  installing permanent lines to refill RWFs with fresh water
                                                                                                                                                  for topping off, increasing the return line capacity,
                                                                                                                                                  installing additional containment structures etc. The
                                                                                                                                                  operating line aim to have all ship classes surveyed by the
                                                                                                                                                  end of the month, with a corrective action plan soon to
                                                                                                                                                  follow.
      92.               08.22.2018*                        07.14.2018                         HA Group                        Island Princess     During an external sample event, it was discovered that        The field test results confirm the chlorine was within    Complete
                                                                                                                                                  the total chlorine parameter was above the 0.1mg/L, limit      limits. The test results from August 11-12, 2018 showed
                                                                                                                                                  stipulated on the ship’s Alaskan Discharge Permit (0.12

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                                                                                                                                                  mg/L). The external sample was not overridden and the         the Chlorine level was less than 0.1mg/L, which means it
                                                                                                                                                  incident was reported to the Alaska Department of             was not detectable.
                                                                                                                                                  Environmental Conservation and the USCG as a
                                                                                                                                                  noncompliance notification was submitted. To
                                                                                                                                                  troubleshoot the system and determine if a technical
                                                                                                                                                  intervention was warranted, a series of internal tests were
                                                                                                                                                  conducted and all results showed less than 0.1mg/L total
                                                                                                                                                  chlorine. It was agreed with the Environmental
                                                                                                                                                  Department shoreside that because the parameters are
                                                                                                                                                  within acceptable limits, that the ship could continue
                                                                                                                                                  normal operations and discharges . The ship’s technical
                                                                                                                                                  personnel monitored the total chlorine parameter of the
                                                                                                                                                  marine bio-reactor over the next 48 hours and all samples
                                                                                                                                                  were all within limits (between 0.02 and 0.07 mg/L). The
                                                                                                                                                  next scheduled sampling will be on 11-12 August.
      93.               08.22.2018*                        07.13.2018                         HA Group                          Volendam          While the ship was alongside in Juneau, AK, a permeate        The ship immediately performed a further three sample        Complete
                                                                                                                                                  sampling was performed, which revealed an elevated            tests, which all were below the required limit. These
                                                                                                                                                  chlorine limit of 0.12mg/l, in excess of the required         samples were done to see if there is an issue with the
                                                                                                                                                  <0.1mg/l. The ship immediately performed a further three      AWWTS or it was just a fluctuation which can sometimes
                                                                                                                                                  sample tests, which all were below the required limit.        happen with parameters such as pH or Chlorine. The ship
                                                                                                                                                  These samples were done to see if there is an issue with      continues discharges into Alaska waters based on those
                                                                                                                                                  the AWWTS or it was just a fluctuation which can              compliant results; the cause of the outlier sample is
                                                                                                                                                  sometimes happen with parameters such as pH or                unknown.
                                                                                                                                                  Chlorine. The ship continues discharges into Alaska
                                                                                                                                                  waters based on those compliant results; the cause of the
                                                                                                                                                  outlier sample is unknown. This violation of the Alaska
                                                                                                                                                  Wastewater Permit and the federal requirement for
                                                                                                                                                  maximum chlorine content was reported to the Alaska
                                                                                                                                                  Department of Environmental Conservation and the U.S.
                                                                                                                                                  Coast Guard. This incident was also included in the ship’s
                                                                                                                                                  July Discharge Monitoring Report.
      94.               08.22.2018*                        07.08.2018                         HA Group                          Oosterdam         While the ship was en route to Kotor, Montenegro,             The Fleet Chief Engineer did not conduct an investigation.   In Progress
                                                                                                                                                  approximately 98 cubic meters of untreated sewage were        The shoreside investigations team reviewed the incident
                                                                                                                                                  discharged into Albanian territorial water because the        and generated a report that is currently under review by
                                                                                                                                                  incorrect valve was opened by the EOOW. This MARPOL           the Chief Engineer. The finalized report and action items
                                                                                                                                                  Annex IV violation was caused because the EOOW was            are expected to be completed before the end of September.
                                                                                                                                                  under a heavy workload and time pressure and
                                                                                                                                                  accidentally opened the untreated sewage valve instead of
                                                                                                                                                  the grey water suction valve. The sewage and grey water
                                                                                                                                                  valves are positioned next to each other on the operator
                                                                                                                                                  computer screen. The port agent was informed. A level
                                                                                                                                                  three investigation by a Fleet Chief Engineer is currently
                                                                                                                                                  underway and is expected to be completed within the next
                                                                                                                                                  two weeks. The investigation will look at human factors as
                                                                                                                                                  well as procedural execution, supervision and systems
                                                                                                                                                  layout.

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    95.              08.22.2018*                         07.07.2018                           CCL                            Carnival Horizon     While the ship was alongside in the port of San Juan,          Training was conducted on July 8 and 15, 2018.                 Complete
                                                                                                                                                  Puerto Rico, housekeeping personnel used approximately         Disciplinary action was not taken. This MARPOL Annex
                                                                                                                                                  100 milliliters (three fluid ounces) of a non‐Company‐         V violation was reported to port authorities via the ship’s
                                                                                                                                                  approved chemical to wash the drain channel on an open         agent and was recorded in the Garbage Record Book. The
                                                                                                                                                  deck pool area. The chemical is approved for other             U.S. Coast Guard was also informed and they
                                                                                                                                                  purposes onboard but, in this case, was improperly used        subsequently issued a Notice of Federal Interest. A
                                                                                                                                                  for deck washing. No authorization was provided by the         National Response Coordination Center (NRCC) report
                                                                                                                                                  OOW to commence this washing and it was not a planned          was filed, as requested by the NRCC Prevention Duty
                                                                                                                                                  cleaning operation. The water mixed with the unapproved        Officer. As a preventative measure, a meeting with
                                                                                                                                                  chemical drained directly overboard. The crewmembers           Housekeeping and Hotel Management took place to
                                                                                                                                                  who used the unapproved chemical admitted to being             review proper chemical open deck procedures. Chemicals
                                                                                                                                                  aware that the chemical was not allowed for open deck          have been segregated and secured to avoid future potential
                                                                                                                                                  cleaning and that no washing should commence without           mistakes. Additionally, the OLCM has sent a fleet wide
                                                                                                                                                  authorization from the Bridge. Training was conducted on       email notification on July 7, 2018 sharing lessons learned,
                                                                                                                                                  08 July and 15 July. Disciplinary action was not taken.        while the Environmental Managers have contacted Staff
                                                                                                                                                  This MARPOL Annex V violation was reported to port             Captains across the fleet to follow up on the OLCM’s
                                                                                                                                                  authorities via the ship’s agent and was recorded in the       email.
                                                                                                                                                  Garbage Record Book. The U.S. Coast Guard was also
                                                                                                                                                  informed and they subsequently issued a Notice of Federal
                                                                                                                                                  Interest. A National Response Coordination Center
                                                                                                                                                  (NRCC) report was filed, as requested by the NRCC
                                                                                                                                                  Prevention Duty Officer. As a preventative measure, a
                                                                                                                                                  meeting with Housekeeping and Hotel Management took
                                                                                                                                                  place to review proper chemical open deck procedures.
                                                                                                                                                  Chemicals have been segregated [sic] and secured to avoid
                                                                                                                                                  future potential mistakes. Additionally, the OLCM has
                                                                                                                                                  sent a fleet wide email notification on 07 July sharing
                                                                                                                                                  lessons learned, while the Environmental Managers have
                                                                                                                                                  contacted Staff Captains across the fleet to follow up on
                                                                                                                                                  the OLCM’s email.
      96.               08.22.2018*                        07.19.2018                             CCL                        Carnival Triumph     While the ship was underway from Cozumel to Progresso,         Deck and Engine Officers received instructions to              Complete
                                                                                                                                                  and the ship was inside 12 nautical miles of Mexican           promptly report any expected list exceeding limits while
                                                                                                                                                  water, whirlpools overflowed (whirlpools level cannot be       in port or while sailing in environmental restricted waters.
                                                                                                                                                  lowered) due to ship listing three degree to starboard side.   Limits are included in the Environmental schedules and
                                                                                                                                                  The ship list occurred when the ship took evasive              discussed during the voyage overviews.
                                                                                                                                                  maneuvers to avoid a small fishing vessel that had not
                                                                                                                                                  followed customary marine practices. There were multiple
                                                                                                                                                  small fishing boats along the intended track/channel being
                                                                                                                                                  tracked on radar and visually. Several were a few degrees
                                                                                                                                                  off both the port and starboard bow. One boat began a
                                                                                                                                                  maneuver to attempt to cross ahead of the ship. The ship
                                                                                                                                                  reduced speed, however the boat turned again.
                                                                                                                                                  Approximately one cubic meters from two whirlpool from
                                                                                                                                                  deck nine and one whirlpool from deck ten went
                                                                                                                                                  overboard. The EO along with Housekeeping Manager
                                                                                                                                                  inspected the pool area and found no pool water had

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  Number          Date of Notification                 Date of Incident                      Group                                Vessel                              Description of Incident                               Analysis Summary and Action Plan                 Status of Action Plan
                                                                                                                                                   overflown as prior risk assessment had been conducted
                                                                                                                                                   and the pools were set to ‘skimmer level’. This incident is
                                                                                                                                                   in violation of company procedures. The incident was
                                                                                                                                                   reported to the port authority via the ship’s agent and was
                                                                                                                                                   recorded in the Napa eLog. The port agent and authority
                                                                                                                                                   were also advised on the cause for the overflow. The ship
                                                                                                                                                   had conducted the required risk assessment, but given the
                                                                                                                                                   extreme heeling event (damages suffered in the galleys,
                                                                                                                                                   retail, etc), the water remained in the main pool which had
                                                                                                                                                   been lowered to the ‘skimmer level’ but overflowed from
                                                                                                                                                   two whirlpools which cannot be lowered and still maintain
                                                                                                                                                   USPH standards. An operating line recreational water
                                                                                                                                                   facility survey program is ongoing. The survey is intended
                                                                                                                                                   to address all structural vulnerabilities which should aid in
                                                                                                                                                   removing the exposures for the behavioural ones. These
                                                                                                                                                   modifications will include, but may not be limited to:
                                                                                                                                                   rerouting associated drains to grey water, installing
                                                                                                                                                   permanent lines to refill RWFs with fresh water for
                                                                                                                                                   topping off, increasing the return line capacity, installing
                                                                                                                                                   additional containment structures etc. The operating line
                                                                                                                                                   aim to have all ship classes surveyed by the end of the
                                                                                                                                                   month, with a corrective action plan soon to follow. The
                                                                                                                                                   operating line do not consider this incident as a nautical
                                                                                                                                                   near miss. The CAM understands that this incident was a
                                                                                                                                                   violation of Company requirements and local
                                                                                                                                                   requirements.
      97.               08.22.2018*                        07.13.2018                             CCL                       Carnival Fascination   While the ship was arriving in St Kitts, the ship was           Once the pool water overflow occurred, the pool operation Complete
                                                                                                                                                   heeled over to the sea‐side in order to position the            was immediately closed and the excess water was
                                                                                                                                                   gangway properly. This listing caused approximately two         removed from the deck with towels and a vacuum. It was
                                                                                                                                                   liters of recreational water to go overboard when water         determined that water toys should not be running while the
                                                                                                                                                   from the slides overflowed into the open deck drains.           ship is listed to prevent recurrence of an overflow. This
                                                                                                                                                   Other factors contributing to the overflow included the         incident was reported to the port authorities via the ship’s
                                                                                                                                                   presence of water toys and the inability for the suction of     agent. The Chief Engineer is having all pool valves, filters
                                                                                                                                                   the pool drain to remove most of the water that                 and pumps inspected and tested. Due to the recent
                                                                                                                                                   accumulated on one side of the pool. Once the pool water        incidents, it has been agreed that, while in port, whether
                                                                                                                                                   overflow occurred, the pool operation was immediately           listed or not, the water toys will be stopped in order to
                                                                                                                                                   closed and the excess water was removed from the deck           eliminate the risk of overflow. In addition, the
                                                                                                                                                   with towels and a vacuum. It was determined that water          Housekeeping Manager has informed his team to be alert
                                                                                                                                                   toys should not be running while the ship is listed to          to the possibility of overflow and to alert immediately. An
                                                                                                                                                   prevent recurrence of an overflow. This incident was            Environmental Notice was sent out to the fleet on 02
                                                                                                                                                   reported to the port authorities via the ship’s agent. The      March in regards to conducting risk assessments for
                                                                                                                                                   Chief Engineer is having all pool valves, filters and pumps     lowering of Recreational Water Facilities (RWF). An
                                                                                                                                                   inspected and tested. Due to the recent incidents, it has       email was also sent out to the fleet reiterating the
                                                                                                                                                   been agreed that, while in port, whether listed or not, the     importance of lowering of RWF, checking of return line
                                                                                                                                                   water toys will be stopped in order to eliminate the risk of    drains for debris and to plan listing/heeling actions for
                                                                                                                                                   overflow. In addition, the Housekeeping Manager has             gangway/tendering operations.

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  Number          Date of Notification                 Date of Incident                      Group                                Vessel                             Description of Incident                               Analysis Summary and Action Plan                     Status of Action Plan
                                                                                                                                                  informed his team to be alert to the possibility of overflow
                                                                                                                                                  and to alert immediately. An Environmental Notice was
                                                                                                                                                  sent out to the fleet on 02 March in regards to conducting
                                                                                                                                                  risk assessments for lowering of Recreational Water
                                                                                                                                                  Facilities (RWF). An email was also sent out to the fleet
                                                                                                                                                  reiterating the importance of lowering of RWF, checking
                                                                                                                                                  of return line drains for debris and to plan listing/heeling
                                                                                                                                                  actions for gangway/tendering operations. The CAM
                                                                                                                                                  understands that this incident was a violation of Company
                                                                                                                                                  requirements only.
      98.               08.22.2018*                        07.05.2018                         HA Group                      Nieuw Amsterdam       While the ship was underway towards Vancouver,                 The Chief Engineer held a discussion on July 6, 2018,         In Progress
                                                                                                                                                  Canada, the Bridge requested that the ECR commence             with all the Engineers and Fireman Greasers about this
                                                                                                                                                  grey water discharge once the ship was outside four            valve being hard to close and in general when closing a
                                                                                                                                                  nautical miles. When the grey water pump started, it also      valve to verify that it is indeed closed. The ship replaced
                                                                                                                                                  took the suction from an exhaust gas boiler washwater          the valve handle with a wheel driven gearbox on July 12,
                                                                                                                                                  tank. This was not recognized until there was a low‐level      2018. The gearbox provides greater mechanical
                                                                                                                                                  alarm on the washwater tank. The pump was then stopped         advantage for closing the valve and it also has clear
                                                                                                                                                  immediately but approximately two cubic meters of              indicators showing when the valve is open and closed.
                                                                                                                                                  washwater was discharged during this event in violation of     The new valve is expected to be delivered on December 1,
                                                                                                                                                  ENV‐1001 (EGB wash water is required to be discharged          2018. The sister ship, Eurodam, had this manual suction
                                                                                                                                                  12 NM and > 6 kts). The discharge occurred because the         valve for the boiler washwater tank also fitted with a
                                                                                                                                                  manual suction valve was improperly closed following           wheel driven gearbox.
                                                                                                                                                  discharge the previous day. The lining of the valve has
                                                                                                                                                  hardened, making sealing difficult, and needs to be
                                                                                                                                                  refurbished. A new valve has been ordered. As a
                                                                                                                                                  preventive measure, the engine room staff received
                                                                                                                                                  detailed instruction in the operation of the system and
                                                                                                                                                  additional monitoring will be conducted by senior
                                                                                                                                                  watchkeepers on the valve change over and discharge
                                                                                                                                                  processes. Additionally, the ship replaced the manual
                                                                                                                                                  handle with a wheel driven gearbox. This system has open
                                                                                                                                                  and close indicators which will ensure the crew knows if
                                                                                                                                                  the valve is open or shut as well as assist in the ease of
                                                                                                                                                  closing it. This will also be implemented on the ship’s
                                                                                                                                                  sister vessel. The CAM understands that this incident was
                                                                                                                                                  a violation of Company requirements only.




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                                                                                                                            September 12, 2018 Quarterly Issue Tracker - Environmental Open Reports

    Row                                                 Date of                                               Operating Line /
   Number             Notice Number                   Notification               Date of Incident                 Group                 Vessel                        Description of Incident                     Analysis Summary and Action Plan                   Status of Action Plan
     1.                  #6-2018                      05.20.2018                     05.2018                    HA Group               Seabourn        On May 18, 2018, a web hotline complainant         No evidence of non-compliant fuel use was found by        Complete
                                                                                                                                       Odyssey         reported that the fuel used exceeded 1.5% sulfur   the investigator. The fuel oil loaded on April 28th in
                                                                                                                                                       HFO emission in the EEZ of Spain and France.       Tenerife was found to contain 1.67% Sulfur, after it
                                                                                                                                                                                                          was independently tested by Veritas Petroleum
                                                                                                                                                                                                          Services, and did not match the BDN which stated
                                                                                                                                                                                                          1.5% Sulfur. The Chief Engineer reported this
                                                                                                                                                                                                          discrepancy to the Captain and Environmental
                                                                                                                                                                                                          Officer (EO). The EO asked for guidance from the
                                                                                                                                                                                                          Environmental Operations shore-side. A plan was
                                                                                                                                                                                                          developed to lower the high Sulfur fuel oil. The plan
                                                                                                                                                                                                          required the blending in the settling and service tanks
                                                                                                                                                                                                          the onboard low Sulfur fuel oil (0.94%) with the high
                                                                                                                                                                                                          sulfur fuel oil (1.67%). By using the fuel blend
                                                                                                                                                                                                          calculation tool for these two fuel oils, appropriate
                                                                                                                                                                                                          amounts were transferred, so that the sulfur content
                                                                                                                                                                                                          would not be above 1.5%. The high Sulfur fuel oil
                                                                                                                                                                                                          loaded into tanks HFO 1P and 1 S was subsequently
                                                                                                                                                                                                          blended, so that the Sulfur content used was not
                                                                                                                                                                                                          above 1.5%. During the blending process an error
                                                                                                                                                                                                          was made in the recording of the blended Sulfur
                                                                                                                                                                                                          content in the FO Changeover Record book. The
                                                                                                                                                                                                          book incorrectly recorded the blended fuel oil as
                                                                                                                                                                                                          0.94%, when the entry should have recorded 1.5%.
                                                                                                                                                                                                          The Chief Engineer had the entry corrected. It
                                                                                                                                                                                                          appears not everybody in the Engine Team was fully
                                                                                                                                                                                                          aware of the blending plan and how it was executed.
                                                                                                                                                                                                          Most likely the person who filed the hotline report
                                                                                                                                                                                                          was under the assumption that the fuel would be
                                                                                                                                                                                                          mixed in one of the storage tanks. This together with
                                                                                                                                                                                                          the incorrect recorded Sulfur content of 0.94% in the
                                                                                                                                                                                                          FO Changeover Record book may have triggered this
                                                                                                                                                                                                          person to call the hotline. The non-compliant fuel oil
                                                                                                                                                                                                          was reported to Carnival’s fuel procurement team for
                                                                                                                                                                                                          follow-up with the vendor.




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                                                                                                                      September 12, 2018 Quarterly Issue Tracker - Additional Notifications to Interested Parties

   Row                                                                                   Operating Line /
  Number             Date of Incident                    Date of Notice                      Group                              Vessel                             Summary of Incident                                  Analysis Summary and Action Plan                  Status of Action Plan
    1.                02.09.2017*                         11.29.2017                       HA Group                         Emerald Princess   On November 29, 2017, Maritime New Zealand filed              On June 28, 2018, Princess Cruises entered a plea of        In Progress
                                                                                                                                               criminal charges against Princess Cruise Lines for two        guilty for “caus[ing] or permit[ting] a maritime product,
                                                                                                                                               alleged violations of New Zealand’s Maritime Transport        namely a pressurized nitrogen cylinder forming part of a
                                                                                                                                               Act 1994, sections 65(1)(a) and (2)(a) in connection with a   lifeboat davit stored energy system, to be maintained or
                                                                                                                                               fatal accident on board the Emerald Princess while that       serviced in a manner that caused unnecessary danger or
                                                                                                                                               vessel was docked in Port Chalmers, New Zealand on or         risk to other people.”
                                                                                                                                               about February 9, 2017. In sum, a high-pressure nitrogen
                                                                                                                                               cylinder burst while being re-pressurized, which resulted
                                                                                                                                               in the death of an Emerald Princess crew member
                                                                                                                                               standing nearby. The Transport Accident Investigation
                                                                                                                                               Commission (TAIC) in New Zealand investigated the
                                                                                                                                               incident and issued an interim report on May 10, 2017,
                                                                                                                                               concluding that the burst nitrogen cylinder had suffered
                                                                                                                                               significant corrosion at the point of failure. A
                                                                                                                                               metallurgist’s initial assessment also concluded that the
                                                                                                                                               failure had occurred as a result of overload caused by
                                                                                                                                               corrosion thinning. TAIC issued recommendations to the
                                                                                                                                               Navalimpianti Tecnimpianti Group (manufacturer of the
                                                                                                                                               cylinder), the International Association of Classification
                                                                                                                                               Societies, and to CLIA (Cruise Lines International
                                                                                                                                               Association) regarding inspection and storage
                                                                                                                                               requirements for these cylinders. No recommendations in
                                                                                                                                               the report were directed to Princess Cruise Lines. The
                                                                                                                                               maximum penalty for each of the two alleged violations
                                                                                                                                               cannot exceed NZ $100,000.




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